Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                         Desc: Main
                           Document Page 1 of 92



 UNITED STATES DISTRICT COURT
 DISTRICT OF PUERTO RICO

 In re:                                                           PROMESA
                                                                  Title III
 THE FINANCIAL OVERSIGHT AND
 MANAGEMENT BOARD FOR PUERTO RICO,                                No. 17 BK 3283-LTS

 as representative of                                             (Jointly Administered)

 THE COMMONWEALTH OF PUERTO RICO, et al.,

 Debtors.

 In re:                                                           PROMESA
                                                                  Title III
 THE FINANCIAL OVERSIGHT AND
 MANAGEMENT BOARD FOR PUERTO RICO,                                No. 17 BK 3284-LTS

 as representative of

 PUERTO RICO SALES TAX FINANCING
 CORPORATION,

 Debtor.


                 THIRD AMENDED TITLE III PLAN OF ADJUSTMENT OF
                 PUERTO RICO SALES TAX FINANCING CORPORATION


               PROSKAUER ROSE LLP                         O’NEILL & BORGES LLC
               Eleven Times Square                        250 Muñoz Rivera Ave., Suite 800
               New York, New York 10036                   San Juan, PR 00918-1813
               Telephone: (212) 969-3000                  Telephone: (787) 764-8181
               Facsimile: (212) 969-2900                  Facsimile: (787) 753-8944




                        Attorneys for the Financial Oversight and Management Board
                              as Representative for COFINA in its Title III Case


 Dated: January 9, 2019




 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                                                       Desc: Main
                           Document Page 2 of 92



                                            TABLE OF CONTENTS

 Page

 ARTICLE I            DEFINITIONS ...............................................................................................1

               1.1    AAFAF ...........................................................................................................1
               1.2    Abeyance Stipulation......................................................................................1
               1.3    Acceleration Price...........................................................................................1
               1.4    Actions............................................................................................................1
               1.5    Additional Bonds Test ....................................................................................1
               1.6    Administrative Claim Bar Date ......................................................................2
               1.7    Administrative Expense Claim.......................................................................2
               1.8    Adversary Proceeding.....................................................................................2
               1.9    Affiliate...........................................................................................................2
               1.10   Agents.............................................................................................................2
               1.11   Agreement in Principle...................................................................................2
               1.12   Allowed Administrative Expense Claim ........................................................2
               1.13   Allowed Claim................................................................................................3
               1.14   Allowed General Unsecured Claim................................................................3
               1.15   Allowed GS Derivative Claim........................................................................3
               1.16   Allowed Junior COFINA Bond Claim ...........................................................3
               1.17   Allowed Junior COFINA Bond Claim (Assured) ..........................................3
               1.18   Allowed Junior COFINA Bond Claim (Taxable Election) ............................3
               1.19   Allowed Senior COFINA Bond Claim...........................................................3
               1.20   Allowed Senior COFINA Bond Claim (Ambac) ...........................................3
               1.21   Allowed Senior COFINA Bond Claim (National) .........................................3
               1.22   Allowed Senior COFINA Bond Claim (Taxable Election)............................4
               1.23   Ambac.............................................................................................................4
               1.24   Ambac Action.................................................................................................4
               1.25   Ambac Certificates .........................................................................................4
               1.26   Ambac Insurance Policy.................................................................................4
               1.27   Ambac Insured Bonds ....................................................................................4
               1.28   Ambac Trust ...................................................................................................4
               1.29   Ambac Trust Assets........................................................................................4
               1.30   Appointments Related Litigation ...................................................................4
               1.31   Assets..............................................................................................................5
               1.32   Assured ...........................................................................................................5
               1.33   Assured Insurance Policies.............................................................................5
               1.34   Assured Insured Bonds...................................................................................5
               1.35   Assured New Bonds .......................................................................................5
               1.36   Avoidance Actions .........................................................................................5
               1.37   Ballot Date......................................................................................................5
               1.38   Ballot/Election Forms.....................................................................................5
               1.39   Bankruptcy Code ............................................................................................5
               1.40   Bankruptcy Rules ...........................................................................................5
               1.41   Bar Date..........................................................................................................6


 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                                                       Desc: Main
                           Document Page 3 of 92
                               Table of Contents
                                   (Cont’d)

                                                                                                                                    Page

               1.42   Bar Date Order................................................................................................6
               1.43   BNYM ............................................................................................................6
               1.44   Bond Claim.....................................................................................................6
               1.45   Bondowner .....................................................................................................6
               1.46   Bond Resolution .............................................................................................6
               1.47   Bonistas ..........................................................................................................6
               1.48   Business Day ..................................................................................................6
               1.49   CABs ..............................................................................................................6
               1.50   Cash ................................................................................................................6
               1.51   Causes of Action.............................................................................................6
               1.52   CIBs ................................................................................................................7
               1.53   Claim ..............................................................................................................7
               1.54   Class ...............................................................................................................7
               1.55   COFINA .........................................................................................................7
               1.56   COFINA Agent ..............................................................................................7
               1.57   COFINA Bonds ..............................................................................................7
               1.58   COFINA Cash Available for Distribution......................................................7
               1.59   COFINA Fiscal Plan.......................................................................................8
               1.60   COFINA FY2019 BNYM Deposits ...............................................................8
               1.61   COFINA Operating Expense Account ...........................................................8
               1.62   COFINA Parity Bonds ...................................................................................8
               1.63   COFINA Pledged Taxes.................................................................................8
               1.64   COFINA Portion ............................................................................................8
               1.65   COFINA Pre-FY2019 BNYM Deposits.........................................................9
               1.66   Commonwealth...............................................................................................9
               1.67   Commonwealth Agent....................................................................................9
               1.68   Commonwealth-COFINA Dispute .................................................................9
               1.69   Commonwealth-COFINA Dispute Order.......................................................9
               1.70   Commonwealth-COFINA Dispute Settlement...............................................9
               1.71   Commonwealth Portion..................................................................................9
               1.72   Commonwealth Title III Case ......................................................................10
               1.73   Compounded Amount ..................................................................................10
               1.74   Confirmation Date ........................................................................................10
               1.75   Confirmation Hearing...................................................................................10
               1.76   Confirmation Order ......................................................................................10
               1.77   Consummation Costs....................................................................................10
               1.78   Consummation Cost Party ............................................................................10
               1.79   Creditor.........................................................................................................10
               1.80   Creditors’ Committee ...................................................................................10
               1.81   Debt Service Fund ........................................................................................10
               1.82   Debt Service Savings....................................................................................10
               1.83   Definitive Documents...................................................................................11
               1.84   Disbursing Agent..........................................................................................11
               1.85   Disclosure Statement ....................................................................................11
                                                                ii

 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                                                        Desc: Main
                           Document Page 4 of 92
                               Table of Contents
                                   (Cont’d)

                                                                                                                                     Page

               1.86    Disclosure Statement Hearing ......................................................................11
               1.87    Disclosure Statement Order..........................................................................11
               1.88    Disputed Claim .............................................................................................11
               1.89    Distribution Date ..........................................................................................11
               1.90    Distribution Record Date..............................................................................11
               1.91    Effective Date ...............................................................................................12
               1.92    Entity ............................................................................................................12
               1.93    Exculpated Party...........................................................................................12
               1.94    Executory Contract .......................................................................................12
               1.95    Existing Securities ........................................................................................12
               1.96    Final Order....................................................................................................12
               1.97    First Dollars Funding....................................................................................12
               1.98    Fiscal Plan ....................................................................................................13
               1.99    Fixed Amount ...............................................................................................13
               1.100   FY .................................................................................................................13
               1.101   FY2019 BNYM Deposits .............................................................................13
               1.102   General Unsecured Claim.............................................................................13
               1.103   Government Parties ......................................................................................13
               1.104   Government Released Claims ......................................................................13
               1.105   Government Releasees .................................................................................13
               1.106   GS Derivative Claim ....................................................................................13
               1.107   Insurance Policies .........................................................................................14
               1.108   Interpleader Action .......................................................................................14
               1.109   IRC ...............................................................................................................14
               1.110   IRS ................................................................................................................14
               1.111   Junior COFINA Bond Claim........................................................................14
               1.112   Junior COFINA Bond Claim (Assured) .......................................................14
               1.113   Junior COFINA Bond Claim (Taxable Election) .........................................14
               1.114   Junior COFINA Bond Distribution ..............................................................14
               1.115   Junior Taxable Bond Distribution ................................................................15
               1.116   Lex Claims Action........................................................................................15
               1.117   Lien...............................................................................................................15
               1.118   List of Creditors............................................................................................15
               1.119   Local Bankruptcy Rules ...............................................................................15
               1.120   Maximum Taxable Bond Election Amount..................................................15
               1.121   Motion to Enforce.........................................................................................16
               1.122   National ........................................................................................................16
               1.123   National Certificate Holder ..........................................................................16
               1.124   National Certificates .....................................................................................16
               1.125   National Election ..........................................................................................16
               1.126   National Insurance Policies ..........................................................................16
               1.127   National Insured Bonds ................................................................................16
               1.128   National Trust ...............................................................................................16
               1.129   National Trust Assets ...................................................................................16
                                                                iii

 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                                                        Desc: Main
                           Document Page 5 of 92
                               Table of Contents
                                   (Cont’d)

                                                                                                                                     Page

               1.130   New Banking Services Agreement...............................................................16
               1.131   New Bond Indenture.....................................................................................16
               1.132   New Bond Legislation ..................................................................................17
               1.133   New Collateral..............................................................................................17
               1.134   Oversight Board............................................................................................17
               1.135   Person ...........................................................................................................17
               1.136   Petition Date .................................................................................................17
               1.137   Plan ...............................................................................................................17
               1.138   Plan Supplement ...........................................................................................17
               1.139   Plan Support Agreement...............................................................................17
               1.140   Pre-FY2019 BNYM Deposits ......................................................................17
               1.141   Professional ..................................................................................................18
               1.142   Professional Claim........................................................................................18
               1.143   PROMESA ...................................................................................................18
               1.144   Pro Rata Share ..............................................................................................18
               1.145   PSA Creditors ...............................................................................................18
               1.146   PSTBA..........................................................................................................18
               1.147   Puerto Rico Institution..................................................................................18
               1.148   Puerto Rico Investor .....................................................................................18
               1.149   Related Actions ............................................................................................18
               1.150   Related Persons ............................................................................................18
               1.151   Released Claims ...........................................................................................19
               1.152   Released Parties............................................................................................19
               1.153   Releasing Parties ..........................................................................................19
               1.154   Reorganized COFINA ..................................................................................19
               1.155   Reorganized COFINA By-Laws ..................................................................19
               1.156   Remainder Taxable Bond Election Amount.................................................20
               1.157   Rounding Amount Cash ...............................................................................20
               1.158   Sale Notice....................................................................................................20
               1.159   Sale Proceeds................................................................................................20
               1.160   Sales Tax ......................................................................................................20
               1.161   Section 103 Cash ..........................................................................................20
               1.162   Section 510(b) Subordinated Claim .............................................................20
               1.163   Securities Act................................................................................................20
               1.164   Senior COFINA Bond Claim .......................................................................21
               1.165   Senior COFINA Bond Claim (Ambac) ........................................................21
               1.166   Senior COFINA Bond Claim (National) ......................................................21
               1.167   Senior COFINA Bond Claim (Taxable Election) ........................................21
               1.168   Senior COFINA Bond Distribution..............................................................21
               1.169   Senior Taxable Bond Distribution................................................................21
               1.170   Settlement Agreement ..................................................................................22
               1.171   Settlement Motion ........................................................................................22
               1.172   Settlement Order...........................................................................................22
               1.173   Solicitation Agent .........................................................................................22
                                                                iv

 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                                                        Desc: Main
                           Document Page 6 of 92
                               Table of Contents
                                   (Cont’d)

                                                                                                                                    Page

               1.174   Subordinated Lien Bonds .............................................................................22
               1.175   Taxable Bond Distribution ...........................................................................22
               1.176   Taxable COFINA Bonds ..............................................................................22
               1.177   Taxable Election Cash ..................................................................................22
               1.178   Tax Election Remainder Amount .................................................................22
               1.179   Tax-Exempt COFINA Bonds .......................................................................22
               1.180   Term Sheet....................................................................................................23
               1.181   Title III..........................................................................................................23
               1.182   Title III Case.................................................................................................23
               1.183   Title III Court ...............................................................................................23
               1.184   Trustee Claims..............................................................................................23
               1.185   Trustee Rights...............................................................................................23
               1.186   Trusts ............................................................................................................23
               1.187   Unclaimed Distribution ................................................................................23
               1.188   Unexpired Lease ...........................................................................................23
               1.189   Whitebox ......................................................................................................23
               1.190   Whitebox Actions .........................................................................................23
               1.191   Other Definitions ..........................................................................................23
               1.192   Rules of Interpretation ..................................................................................24

 ARTICLE II            COMPROMISE AND SETTLEMENT OF DISPUTES .............................24

               2.1     Commonwealth-COFINA Dispute ...............................................................24

 ARTICLE III           PROVISIONS FOR PAYMENT OF ADMINISTRATIVE EXPENSE
                       CLAIMS .......................................................................................................27

               3.1     Administrative Expense Claims ...................................................................27
               3.2     Professional Compensation and Reimbursement Claims.............................27
               3.3     Consummation Costs....................................................................................27

 ARTICLE IV            CLASSIFICATION OF CLAIMS ...............................................................28

               4.1     Claims are classified as follows ...................................................................28

 ARTICLE V             PROVISIONS FOR TREATMENT OF SENIOR COFINA BOND
                       CLAIMS (CLASS 1)....................................................................................29

               5.1     Treatment of Senior COFINA Bond Claims ................................................29
               5.2     Right of Election to Senior COFINA Bond Claims (Taxable
                       Election) .......................................................................................................29

 ARTICLE VI            PROVISIONS FOR TREATMENT OF SENIOR COFINA BOND
                       CLAIMS (AMBAC) (CLASS 2) .................................................................29

               6.1     Treatment of Senior COFINA Bond Claims (Ambac).................................29
                                                v

 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                                                     Desc: Main
                           Document Page 7 of 92
                               Table of Contents
                                   (Cont’d)

                                                                                                                                 Page

               6.2    Ambac Insurance Contribution.....................................................................30
               6.3    Non-Commutation/Ambac Trust..................................................................30
               6.4    Deemed Acceleration ...................................................................................31
               6.5    Entitlement to Vote.......................................................................................31

 ARTICLE VII          PROVISIONS FOR TREATMENT OF SENIOR COFINA BOND
                      CLAIMS (NATIONAL) (CLASS 3) ...........................................................31

               7.1    Treatment of Senior COFINA Bond Claims (National)...............................31
               7.2    National Insurance Contribution ..................................................................32
               7.3    Non-Commutation/National Trust................................................................32
               7.4    Entitlement to Vote.......................................................................................32

 ARTICLE VIII         PROVISIONS FOR TREATMENT OF SENIOR COFINA BOND
                      CLAIMS (TAXABLE ELECTION) (CLASS 4) .........................................32

               8.1    Provisions for Treatment of Senior COFINA Bond Claims (Taxable
                      Election) .......................................................................................................32

 ARTICLE IX           PROVISIONS FOR TREATMENT FOR JUNIOR COFINA BOND
                      CLAIMS (CLASS 5)....................................................................................33

               9.1    Treatment of Junior COFINA Bond Claims ................................................33
               9.2    Right of Election to Junior COFINA Bond Claims (Taxable
                      Election) .......................................................................................................33

 ARTICLE X            PROVISIONS FOR TREATMENT FOR JUNIOR COFINA BOND
                      CLAIMS (ASSURED) (CLASS 6) ..............................................................33

               10.1   Treatment of Junior COFINA Bond Claims (Assured)................................33
               10.2   Deemed Acceleration ...................................................................................33
               10.3   Entitlement to Vote.......................................................................................34
               10.4   Remarketing of Assured New Bonds ...........................................................34

 ARTICLE XI           PROVISIONS FOR TREATMENT FOR JUNIOR COFINA BOND
                      CLAIMS (TAXABLE ELECTION) (CLASS 7) .........................................34

               11.1   Treatment for Junior COFINA Bond Claims (Taxable Election) ................34

 ARTICLE XII          PROVISIONS FOR TREATMENT OF GS DERIVATIVE CLAIMS
                      (CLASS 8) ....................................................................................................35

               12.1   Treatment of GS Derivative Claims .............................................................35



                                                              vi

 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                                                  Desc: Main
                           Document Page 8 of 92
                               Table of Contents
                                   (Cont’d)

                                                                                                                              Page

 ARTICLE XIII         PROVISIONS FOR TREATMENT OF GENERAL UNSECURED
                      CLAIMS (CLASS 9)....................................................................................35

               13.1   Treatment of General Unsecured Claims .....................................................35

 ARTICLE XIV          PROVISIONS FOR TREATMENT OF SECTION 510(B)
                      SUBORDINATED CLAIMS (CLASS 10)..................................................35

               14.1   Treatment of Section 510(b) Subordinated Claims ......................................35

 ARTICLE XV           PROVISIONS REGARDING ALLOCATION OF UNSUBSCRIBED
                      TAXABLE ELECTION CASH ...................................................................36

               15.1   Unsubscribed Taxable Election Cash Amount.............................................36
               15.2   Commonwealth/COFINA Expenses ............................................................36

 ARTICLE XVI          PROVISIONS REGARDING COFINA BONDS .......................................36

               16.1   Issuance of COFINA Bonds .........................................................................36
               16.2   Collateral for Repayment of COFINA Bonds ..............................................38
               16.3   Additional Bonds Test for COFINA Parity Bonds.......................................38
               16.4   Call Provisions/Optional Redemption ..........................................................39
               16.5   First Dollars Funding....................................................................................40
               16.6   Covenants for COFINA Bonds and COFINA Parity Bonds ........................40
               16.7   Substitution of Collateral..............................................................................41
               16.8   Debt Service Reserve Fund ..........................................................................42
               16.9   Rights of Acceleration ..................................................................................42

 ARTICLE XVII         THE TRUSTS ..............................................................................................42

               17.1   Terms of Ambac Trust..................................................................................42
               17.2   Terms of National Trusts..............................................................................44
               17.3   Existing Securities/BNYM Obligations .......................................................46

 ARTICLE XVIII        TREATMENT OF EXECUTORY CONTRACTS AND
                      UNEXPIRED LEASES................................................................................46

               18.1   Rejection or Assumption of Remaining Executory Contracts and
                      Unexpired Leases .........................................................................................46
               18.2   Approval of Rejection or Assumption of Executory Contracts and
                      Unexpired Leases .........................................................................................47
               18.3   Inclusiveness.................................................................................................47
               18.4   Cure of Defaults ...........................................................................................47
               18.5   Insurance Policies .........................................................................................47
               18.6   Rejection Damage Claims ............................................................................47
               18.7   Indemnification and Reimbursement Obligations........................................48
                                                        vii

 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                                                       Desc: Main
                           Document Page 9 of 92
                               Table of Contents
                                   (Cont’d)

                                                                                                                                   Page

               18.8    Nonoccurrence of Effective Date .................................................................48
               18.9    Reservation of Rights ...................................................................................48

 ARTICLE XIX           PROVISIONS GOVERNING DISTRIBUTIONS ......................................48

               19.1    Time and Manner of Distribution.................................................................48
               19.2    Timeliness of Payments................................................................................49
               19.3    Distributions by the Disbursing Agent .........................................................49
               19.4    Manner of Payment under the Plan ..............................................................49
               19.5    Delivery of Distributions ..............................................................................49
               19.6    Cancellation of Notes, Instruments, Certificates, and Other
                       Documents ....................................................................................................51
               19.7    Undeliverable/Reserved Distributions..........................................................52
               19.8    Withholding and Reporting Requirements ...................................................52
               19.9    Time Bar to Cash Payments .........................................................................53
               19.10   Distributions After Effective Date................................................................53
               19.11   Setoffs...........................................................................................................53
               19.12   Allocation of Plan Distributions Between Principal and Interest.................53
               19.13   Payment of Trustee Fees and Expenses........................................................54

 ARTICLE XX            RIGHTS AND POWERS OF DISBURSING AGENT ...............................54

               20.1    Exculpation...................................................................................................54
               20.2    Powers of the Disbursing Agent...................................................................54
               20.3    Fees and Expenses Incurred From and After the Effective Date .................55

 ARTICLE XXI           PROCEDURES FOR TREATMENT OF DISPUTED CLAIMS ...............55

               21.1    Objections to Claims; Prosecution of Disputed Claims ...............................55
               21.2    Estimation of Claims ....................................................................................55
               21.3    Payments and Distributions on Disputed Claims .........................................56
               21.4    Authority to Amend List of Creditors ..........................................................56
               21.5    Non-Accrual of Interest ................................................................................57
               21.6    Disallowance of Claims................................................................................57

 ARTICLE XXII          ACCEPTANCE OR REJECTION OF THE PLAN, EFFECT OF
                       REJECTION BY ONE OR MORE CLASSES OF CLAIMS .....................57

               22.1    Impaired Classes to Vote..............................................................................57
               22.2    Acceptance by Class of Creditors.................................................................57
               22.3    Cramdown ....................................................................................................57

 ARTICLE XXIII         IDENTIFICATION OF CLAIMS IMPAIRED BY THE PLAN AND
                       NOT IMPAIRED BY THE PLAN...............................................................57

               23.1    Impaired Classes...........................................................................................57
                                                      viii

 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                                                         Desc: Main
                          Document Page 10 of 92
                               Table of Contents
                                   (Cont’d)

                                                                                                                                     Page

                  23.2      Impaired Classes to Vote..............................................................................58

 ARTICLE XXIV               CONDITIONS PRECEDENT TO CONFIRMATION OF THE PLAN .....58

                  24.1      Conditions Precedent to Confirmation of the Plan.......................................58
                  24.2      Waiver of Conditions Precedent to Confirmation ........................................59

 ARTICLE XXV                CONDITIONS PRECEDENT TO THE EFFECTIVE DATE.....................59

                  25.1      Conditions Precedent to the Effective Date..................................................59
                  25.2      Waiver of Conditions Precedent...................................................................62
                  25.3      Effect of Non-Occurrence of Conditions to Effective Date .........................63

 ARTICLE XXVI               PROSECUTION AND EXTINGUISHMENT OF CLAIMS HELD
                            BY COFINA.................................................................................................63

                  26.1      Prosecution of Claims...................................................................................63

 ARTICLE XXVII MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE
               PLAN............................................................................................................63

                  27.1      Modification of Plan.....................................................................................63
                  27.2      Revocation or Withdrawal............................................................................63
                  27.3      Amendment of Plan Documents...................................................................64
                  27.4      No Admission of Liability............................................................................64

 ARTICLE XXVIII CORPORATE GOVERNANCE AND MANAGEMENT OF
                REORGANIZED COFINA..........................................................................64

                  28.1      Corporate Action ..........................................................................................64
                  28.2      Amendment of By-Laws ..............................................................................65
                  28.3      Directors of the Reorganized COFINA ........................................................65
                  28.4      Officers of Reorganized COFINA................................................................65
                  28.5      Structure for Collection and Application of COFINA Pledged Taxes.........65

 ARTICLE XXIX               RETENTION OF JURISDICTION .............................................................66

                  29.1      Retention of Jurisdiction...............................................................................66

 ARTICLE XXX                MISCELLANEOUS PROVISIONS ............................................................68

                  30.1      Title to Assets ...............................................................................................68
                  30.2      Discharge and Release of Claims and Causes of Action..............................68
                  30.3      Injunction on Claims ....................................................................................70
                  30.4      Integral to Plan .............................................................................................71
                  30.5      Releases by COFINA and Reorganized COFINA .......................................71
                                                                   ix

 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                                                       Desc: Main
                          Document Page 11 of 92
                               Table of Contents
                                   (Cont’d)

                                                                                                                                   Page

               30.6    Injunction Related to Releases .....................................................................71
               30.7    Exculpation...................................................................................................71
               30.8    Appointments Related Litigation .................................................................73
               30.9    Bar Order ......................................................................................................73
               30.10   No Waiver.....................................................................................................74
               30.11   Supplemental Injunction...............................................................................74
               30.12   Preservation of Certain Claims and Causes of Action .................................75
               30.13   Post-Effective Date Fees and Expenses........................................................75
               30.14   Securities Act Exemption .............................................................................75
               30.15   Severability...................................................................................................75
               30.16   Governing Law .............................................................................................75
               30.17   Closing Case .................................................................................................75
               30.18   Section Headings ..........................................................................................76
               30.19   Inconsistencies..............................................................................................76
               30.20   Document Retention .....................................................................................76
               30.21   Immediate Binding Effect ............................................................................76
               30.22   Additional Documents..................................................................................76
               30.23   Reservation of Rights ...................................................................................76
               30.24   Termination of the Oversight Board.............................................................77
               30.25   Successors and Assigns ................................................................................77
               30.26   Notices ..........................................................................................................77
               30.27   Term of Injunctions or Stays ........................................................................78
               30.28   Entire Agreement..........................................................................................78
               30.29   Plan Supplement ...........................................................................................79




                                                                x

 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                     Desc: Main
                          Document Page 12 of 92



        The Financial Oversight and Management Board for Puerto Rico, as representative of the
 Puerto Rico Sales Tax Financing Corporation pursuant to Section 315(b) of the Puerto Rico
 Oversight, Management and Economic Stability Act, hereby proposes the following plan of
 adjustment.

                                           ARTICLE I

                                          DEFINITIONS

        As used in the Plan, the following terms shall have the respective meanings set forth
 below and be equally applicable to the singular and plural of the terms defined:

        1.1    AAFAF: Autoridad de Asesoría Financiera y Agencia Fiscal, a public
 corporation and instrumentality of the Commonwealth, whose name in English is the Puerto Rico
 Fiscal Agency and Financial Advisory Authority.

          1.2    Abeyance Stipulation: That certain Stipulation and Agreed Order Related to
 Commonwealth of Puerto Rico’s Motion Pursuant to Bankruptcy Rule 9019 for Order
 Approving Settlement Between Commonwealth of Puerto Rico and Puerto Rico Sales Tax
 Financing Corporation and Related Matters [Case No. 17-3283, ECF No. 4202], entered by the
 Title III Court in the Commonwealth Title III Case.

         1.3     Acceleration Price: With respect to an Assured Insured Bond accelerated as of
 the Effective Date, an amount equal to (a) with respect to current interest bonds (and convertible
 capital appreciation bonds that converted into current interest bonds as of, up to, but not
 including the Effective Date), the outstanding principal amount of such accelerated bond plus the
 accrued and unpaid interest thereon, and (b) with respect to capital appreciation bonds (and
 convertible capital appreciation bonds that have not converted into current interest bonds as of,
 up to, but not including, the Effective Date), the Compounded Amount for such accelerated
 bond, in each case, as of, up to, but not including the Effective Date.

         1.4      Actions: Collectively, the litigation styled (a) Whitebox Multi-Strategy Partners,
 L.P., et al. v. The Bank of New York Mellon, Adv. Pro. No. 17-AP-143-LTS, currently pending
 in the Title III Court, (b) Whitebox Multi-Strategy Partners, L.P., et al. v. The Bank of New York
 Mellon, Case No. 17-CV-3750-LTS, currently pending in the Title III Court, (c) Ambac
 Assurance Corp. v. The Bank of New York Mellon, Case No. 17-CV-3804-LTS, currently
 pending in the United States District Court for the Southern District of New York, (d) The Bank
 of New York Mellon v. Puerto Rico Sales Tax Financing Corporation, et al., Adv. Pro. No. 17-
 133-LTS, currently pending in the Title III Court, (e) the Lex Claims Action, and (f) Rodriguez-
 Perelló et al. v. Rosselló-Nevares et al., No. 3:17-cv-01566-FAB (D.P.R. 2017), currently
 pending in the United States District Court for the District of Puerto Rico.

         1.5     Additional Bonds Test: The criteria set forth in Section 16.3 hereof required to
 be satisfied prior to the issuance of Subordinated Lien Bonds for the benefit of, and with the
 consent of, the Commonwealth.




 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 13 of 92



         1.6      Administrative Claim Bar Date: Unless otherwise ordered by the Title III
 Court, the date established by the Title III Court and set forth in the Confirmation Order as the
 last day to file proof of Administrative Expense Claims, which date shall be no more than sixty
 (60) days after the Effective Date, after which date, any Administrative Expense Claim, proof of
 which has not been filed, shall be deemed forever barred, and COFINA and Reorganized
 COFINA shall have no obligation with respect thereto; provided, however, that no proof of
 Administrative Expense Claim shall be required to be filed if such Administrative Expense
 Claim shall have been incurred (i) in accordance with an order of the Title III Court or (ii) with
 the written consent of COFINA.

          1.7    Administrative Expense Claim: A Claim against COFINA or its Assets
 constituting a cost or expense of administration of the Title III Case asserted or authorized to be
 asserted, on or prior to the Administrative Claim Bar Date, in accordance with sections 503(b)
 and 507(a)(2) of the Bankruptcy Code arising during the period up to and including the Effective
 Date, including, without limitation, (a) any actual and necessary cost and expense of preserving
 the Assets of COFINA, (b) any actual and necessary cost and expense of operating the business
 of the COFINA, (c) any cost and expense of COFINA for the management, maintenance,
 preservation, sale, or other disposition of any Assets, (d) any cost and expense associated with
 the administration and implementation of the Plan, (e) any cost and expense associated with the
 administration, prosecution, or defense of Claims by or against COFINA and for distributions
 under the Plan, (f) any Claim for compensation and reimbursement of expenses arising during
 the period from and after the Petition Date and prior to the Effective Date and awarded by the
 Title III Court or otherwise in accordance with the provisions of the Plan, whether fixed before
 or after the Effective Date and (g) subject to the occurrence of the Effective Date, Consummation
 Costs.

         1.8    Adversary Proceeding: The litigation styled The Official Committee of
 Unsecured Creditors of the Commonwealth of Puerto Rico, as agent of the Financial Oversight
 and Management Board for Puerto Rico, as representative of the Commonwealth of Puerto Rico
 v. Bettina Whyte, as agent of the Financial Oversight and Management Board for Puerto Rico, as
 representative of the Puerto Rico Sales Tax Financing Corporation, Adv. Proc. No. 17-257-LTS,
 currently pending in the Title III Court.
         1.9     Affiliate: With respect to any specified Entity, any other Person or Entity that
 directly, or indirectly through one or more intermediaries, controls, is controlled by, or is under
 common control with, such Entity.

        1.10    Agents: Collectively, the Commonwealth Agent and the COFINA Agent.

        1.11 Agreement in Principle: That certain Terms and Conditions of Agreement in
 Principle to Resolve Commonwealth-COFINA Dispute, attached as Exhibit “A” [Adv. Proc. No.
 17-257 LTS, Dkt. No. 486-1] to the Joint Informative Motion of Commonwealth Agent and
 COFINA Agent Disclosing Agreement in Principle [Adv. Proc. No. 17-257 LTS, Dkt. No. 486-
 1].

         1.12 Allowed Administrative Expense Claim: An Administrative Expense Claim, to
 the extent it is or has become an Allowed Claim.


                                                   2
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                        Desc: Main
                          Document Page 14 of 92



          1.13 Allowed Claim: A Claim against COFINA or COFINA’s Assets (a) proof of
 which was filed on or before the applicable Bar Date or (b) if no proof of Claim has been timely
 filed, which has been or hereafter is listed by COFINA in the List of Creditors and is not listed
 thereon as “disputed”, “contingent”, or “unliquidated” or (c) allowed pursuant to (i) section
 502(h) of the Bankruptcy Code, applicable to the Title III Case pursuant to Section 301 of
 PROMESA, (ii) the terms of the Plan or (iii) a Final Order; provided, however, that, with respect
 to any Claim described in clause (a) or (b) above, such Claim shall be considered Allowed only
 if, and to the extent that, no objection to the allowance thereof, or action to equitably subordinate
 or otherwise limit recovery with respect thereto, has been interposed within the applicable period
 of limitation fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or a Final Order, or
 as to which an objection has been interposed and such Claim has been allowed in whole or in
 part by a Final Order. For purposes of determining the amount of an “Allowed Claim,” there
 shall be deducted therefrom an amount equal to the amount of any Claim that COFINA may hold
 against the holder thereof, to the extent such Claim may be set off pursuant to applicable
 bankruptcy and non-bankruptcy law. Notwithstanding anything to the contrary herein (x) Claims
 allowed solely for the purpose of voting to accept or reject the Plan pursuant to an order of the
 Title III Court shall not be considered “Allowed Claims” hereunder unless otherwise specified
 herein or by order of the Title III Court, (y) for any purpose under the Plan, “Allowed Claim”
 shall not include interest, penalties, or late charges arising from or relating to the period from and
 after the Petition Date, and (z) “Allowed Claim” shall not include any Claim subject to
 disallowance in accordance with section 502(d) of the Bankruptcy Code.

          1.14 Allowed General Unsecured Claim: A General Unsecured Claim, to the extent
 it is or has become an Allowed Claim.

        1.15 Allowed GS Derivative Claim: The GS Derivative Claim, to the extent it is or
 has become an Allowed Claim.

         1.16 Allowed Junior COFINA Bond Claim: A Junior COFINA Bond Claim, to the
 extent it is or has become an Allowed Claim.

        1.17 Allowed Junior COFINA Bond Claim (Assured): A Junior COFINA Bond
 Claim (Assured), to the extent it is or has become an Allowed Claim.

       1.18 Allowed Junior COFINA Bond Claim (Taxable Election): A Junior COFINA
 Bond Claim (Taxable Election), to the extent it is or has become an Allowed Claim.

         1.19 Allowed Senior COFINA Bond Claim: A Senior COFINA Bond Claim to the
 extent it is or has become an Allowed Claim.

        1.20 Allowed Senior COFINA Bond Claim (Ambac): A Senior COFINA Bond
 Claim (Ambac), to the extent it is or has become an Allowed Claim.

        1.21 Allowed Senior COFINA Bond Claim (National): A Senior COFINA Bond
 Claim (National), to the extent it is or has become an Allowed Claim.




                                                   3
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                    Desc: Main
                          Document Page 15 of 92



       1.22 Allowed Senior COFINA Bond Claim (Taxable Election): A Senior COFINA
 Bond Claim (Taxable Election) to the extent it is or has become an Allowed Claim.

        1.23    Ambac: Ambac Assurance Corporation.

        1.24 Ambac Action: The litigation styled Ambac Assurance Corp. v. The Bank of
 New York Mellon, Case No. 17-cv-3804-LTS, currently pending in the United States District
 Court for the Southern District of New York.

        1.25 Ambac Certificates: The certificates to be issued by the Ambac Trust to
 beneficial holders of Allowed Senior COFINA Bond Claims (Ambac) electing treatment
 pursuant to the terms and provisions of Section 6.1(b) hereof.

         1.26 Ambac Insurance Policy: The existing insurance policy issued by Ambac
 relating to the Ambac Insured Bonds, together with any and all agreements and other documents
 related thereto.

        1.27 Ambac Insured Bonds: The “Senior” Existing Securities issued by COFINA
 and insured by Ambac.

         1.28 Ambac Trust: The trust(s) formed by COFINA on or prior to the Effective Date,
 at the sole cost and expense of Ambac and/or from the Ambac Trust Assets, solely on behalf, and
 for the benefit of, beneficial holders of Allowed Senior COFINA Bond Claims (Ambac) that
 validly elect, in accordance with the approved solicitation procedures, to receive Ambac
 Certificates, not to commute their Ambac Insurance Policy, and not to release and discharge all
 of Ambac’s obligations pursuant to the Ambac Insurance Policy.

         1.29 Ambac Trust Assets: Collectively, (a) the Ambac Insured Bonds of beneficial
 holders of Allowed Senior COFINA Bond Claims (Ambac) electing treatment pursuant to
 Section 6.1(b) hereof, (b) the Senior COFINA Bond Distribution (comprised of Section 103
 Cash, if applicable, COFINA Cash Available for Distribution, COFINA Bonds and Rounding
 Amount Cash, if necessary) allocable to such electing holders of an Allowed Senior COFINA
 Bond Claim (Ambac), and (c) the benefit of the Ambac Insurance Policy.

          1.30 Appointments Related Litigation: Collectively, the litigation styled (a) In Re:
 The Financial Oversight and Management Board for Puerto Rico as Representative of the
 Commonwealth of Puerto Rico, No. 18-1108, currently pending in the United States Court of
 Appeals for the First Circuit, (b) In re: The Financial Oversight and Management Board for
 Puerto Rico as Representative of the Commonwealth of Puerto Rico, No. 18-1746, currently
 pending in the United States Court of Appeals for the First Circuit, (c) Union de Trabajadores de
 la Industria Electrica y Riego (UTIER) v. Puerto Rico Electric Power Authority, et al., Adv. Pro.
 No. 17-AP-228-LTS, currently pending in the Title III Court, (d) René Pinto Lugo, et al. v. The
 Government of the United States of America, et al., Adv. Pro. No. 18-041-LTS, currently
 pending in the Title III Court, (e) Hermanidad De Empleados Del Fondo Del Seguro Del Estado,
 Inc., et al. v. Government of the United States of America, et al., Adv. Pro. No. 18-066-LTS,
 currently pending in the Title III Court, (f) Hon. Rafael Hernandez-Montanez, et al. v. The
 Financial Oversight and Management Board of Puerto Rico, Adv. Pro. No. 18-090-LTS,


                                                 4
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                      Desc: Main
                          Document Page 16 of 92



 currently pending in the Title III Court, and (g) such other litigation as may be currently pending
 or as may be commenced during the period from and after the date hereof up to and including the
 COFINA Effective Date wherein claims or causes of action consistent with or similar to those
 asserted or which could have been asserted in the above-referenced litigations have been
 asserted.

         1.31 Assets: With respect to COFINA, (i) all “property” of COFINA, including,
 without limitation, such property as it may be reflected on COFINA’s books and records and the
 Confirmation Order as of the Effective Date and (ii) all Claims and Causes of Action, and any
 subsequent proceeds thereof, that have been or may be commenced by COFINA or other
 authorized representative for the benefit of COFINA and its Creditors, unless modified or
 released pursuant to the Plan or a Final Order, including, without limitation, any Avoidance
 Action.

        1.32    Assured: Assured Guaranty Municipal Corp.

         1.33 Assured Insurance Policies: The existing insurance policies issued by Assured
 relating to the Assured Insured Bonds, together with any and all agreements and other documents
 related thereto.

       1.34 Assured Insured Bonds: The “First Subordinate” Existing Securities issued by
 COFINA and insured by Assured, including, without limitation, those securities insured by
 Assured through insurance issued in the secondary market.

        1.35 Assured New Bonds: The COFINA Bonds to be issued on the Effective Date,
 and insured by Assured in accordance with the terms and provisions of Article X hereof.

         1.36 Avoidance Actions: Any and all avoidance, recovery, subordination or other
 actions or remedies against any Entity that may be brought by or on behalf of COFINA under
 sections 510, 544, 545, 547, 548, 549, 550, 551, 552 and 553 of the Bankruptcy Code, applicable
 to the Title III Case pursuant to Section 301 of PROMESA, or applicable non-bankruptcy law.

         1.37 Ballot Date: The deadline(s) established by the Title III Court and set forth in the
 Disclosure Statement Order for the submission of Ballots/Election Forms and the election of
 alternative treatments pursuant to the terms and provisions of the Plan.

         1.38 Ballot/Election Forms: The forms distributed to each holder or insurer, as the
 case may be, of an impaired Claim entitled to vote on the Plan, on which form is to be indicated,
 among other things, (a) acceptance or rejection of the Plan and/or (b) to the extent applicable, an
 election of distribution and treatment which may be required in accordance with the provisions
 of the Plan.

         1.39 Bankruptcy Code: The Bankruptcy Reform Act of 1978, as amended, to the
 extent codified in title 11, United States Code, as applicable to the Title III Case.

        1.40 Bankruptcy Rules: The Federal Rules of Bankruptcy Procedure, as promulgated
 by the United States Supreme Court under section 2075 of title 28 of the United States Code, as
 applicable to the Title III case.

                                                  5
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                      Desc: Main
                          Document Page 17 of 92



        1.41 Bar Date: The date established by the Title III Court by which proofs of Claim
 must have been filed with respect to such Claims, pursuant to (a) the Bar Date Order, (b) a Final
 Order of the Title III Court, or (c) the Plan.

          1.42 Bar Date Order: The order of the Title III Court establishing the date by which
 proofs of Claim against COFINA or its Assets must have been filed, including, but not limited
 to, that certain (a) Order (A) Establishing Deadlines and Procedures for Filing Proofs of Claim
 and (B) Approving Form and Manner of Notice Thereof [Case No. 17-3283-LTS, ECF No.
 2521], and (b) Order (A) Extending Deadlines for Filing Proofs of Claim and (B) Approving
 Form and Manner of Notice Thereof [Case No. 17-3283-LTS, ECF No. 3160].

        1.43 BNYM: The Bank of New York Mellon, solely in its capacity as trustee and
 paying agent in connection with the Existing Securities.

         1.44 Bond Claim: A Claim on account of a “Senior” or “First Subordinate” Existing
 Security issued by COFINA, with the amount of such Claim being calculated as (a) with respect
 to current interest bonds and convertible capital appreciation bonds that converted into current
 interest bonds as of, up to, but not including, the Petition Date, the outstanding principal amount
 of such bonds plus any accrued and unpaid interest thereon, in each case, as of, up to, but not
 including, the Petition Date, and (b) with respect to capital appreciation bonds and convertible
 capital appreciation bonds that have not converted into current interest bonds as of, up to, but not
 including, the Petition Date, the Compounded Amount for such bonds, in each case, as of, up to,
 but not including, the Petition Date.

         1.45 Bondowner: Any Person which shall be the registered owner of any Existing
 Securities as set forth in BNYM’s books and records.

         1.46 Bond Resolution: That certain Amended and Restated Sales Tax Revenue Bond
 Resolution, adopted by COFINA on July 13, 2007, as amended and restated on June 19, 2009,
 and as supplemented pursuant to certain supplemental resolutions entered into thereunder or
 adopted pursuant thereto.

        1.47    Bonistas: Bonistas del Patio, Inc.

        1.48 Business Day: A day other than a Saturday, Sunday, or any other day on which
 commercial banking institutions in New York, New York are required to close by law or
 executive order.

         1.49 CABs: Collectively, the series of capital appreciation bonds to be issued pursuant
 to the Plan as components of the COFINA Bonds and to be distributed pursuant to the terms and
 provisions of the Plan.

        1.50 Cash: Lawful currency of the United States, including, but not limited to, bank
 deposits, checks representing good funds, and other similar items.

        1.51 Causes of Action: All claims, actions, causes of action, rights to payment,
 choses in action, suits, debts, dues, sums of money, accounts, reckonings, bonds, bills,


                                                  6
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                     Desc: Main
                          Document Page 18 of 92



 specialties, covenants, contracts, controversies, agreements, promises, variances, trespasses,
 damages, judgments, remedies, rights of set-off, third-party claims, subrogation claims,
 contribution claims, reimbursement claims, indemnity claims, counterclaims, and cross claims
 (including, but not limited to, all claims for breach of fiduciary duty, negligence, malpractice,
 breach of contract, aiding and abetting, fraud, inducement, avoidance, recovery, subordination,
 and all Avoidance Actions) against COFINA or its Assets that are pending or may be asserted
 against any Entity whether arising on or before the Effective Date, based in law or equity,
 including, but not limited to, under the Bankruptcy Code, whether known, unknown, reduced to
 judgment, not reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,
 unmatured, disputed, undisputed, secured or unsecured and whether asserted or assertable
 directly or derivatively, in law, equity or otherwise and whether asserted or unasserted as of the
 Effective Date.

         1.52 CIBs: Collectively, the series of current interest bonds to be issued pursuant to
 the Plan as components of the COFINA Bonds and to be distributed pursuant to the terms and
 provisions of the Plan.

         1.53 Claim: Any right to payment or performance, whether or not such right is
 reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,
 undisputed, legal, equitable, secured, or unsecured, known or unknown or asserted or unasserted;
 or any right to an equitable remedy for breach or enforcement of performance, whether or not
 such right to an equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured,
 disputed, undisputed, secured, or unsecured, and all debts, suits, damages, rights, remedies,
 losses, liabilities, obligations, judgments, actions, causes of action, demands, or claims of every
 kind or nature whatsoever, in law, at equity, or otherwise.

        1.54    Class: A category of holders of Claims set forth in Article IV of the Plan.

        1.55 COFINA: The Puerto Rico Sales Tax Financing Corporation, a public
 corporation and instrumentality of the Commonwealth of Puerto Rico constituting a corporate
 and political entity independent and separate from the Commonwealth of Puerto Rico.

        1.56 COFINA Agent: Bettina M. Whyte, in her capacity as the appointed agent of the
 Oversight Board, as representative of COFINA, to litigate and/or settle the Commonwealth-
 COFINA Dispute on behalf of COFINA pursuant to the Commonwealth-COFINA Dispute
 Order.

         1.57 COFINA Bonds: The securities to be issued by Reorganized COFINA on the
 Effective Date pursuant to the Plan.

         1.58 COFINA Cash Available for Distribution: The amount of Cash available for
 distribution on the Effective Date comprised of the COFINA Pre-FY2019 BNYM Deposits
 minus the sum of (a) Rounding Amount Cash plus (b) Section 103 Cash plus (c) Taxable
 Election Cash plus (d) Consummation Costs as required to be paid by COFINA pursuant to
 Section 3.3 of the Plan plus (e) the amount of Cash, if any, retained by COFINA for the
 COFINA Operating Expense Account or distributed to COFINA pursuant to Section
 2.1(a)(I)(D)(III) of the Plan.


                                                  7
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                     Desc: Main
                          Document Page 19 of 92



        1.59 COFINA Fiscal Plan: That certain Fiscal Plan of COFINA, dated October 18,
 2018, and as certified by the Oversight Board on October 18, 2018, as such Fiscal Plan may be
 amended, restated, supplemented or modified from time to time in accordance with Section 201
 of PROMESA.

        1.60 COFINA FY2019 BNYM Deposits: Fifty-three and sixty-five one hundredths
 percent (53.65%) of the FY2019 BNYM Deposits, plus any earnings thereon.

         1.61 COFINA Operating Expense Account: The account to be established on or
 prior to the Effective Date in accordance with the New Bond Indenture and maintained for the
 purpose of satisfying the operating expenses of Reorganized COFINA in the ordinary course of
 business.

          1.62 COFINA Parity Bonds: The securities which may be issued, on a pari passu
 basis with the COFINA Bonds issued on the Effective Date, by Reorganized COFINA from and
 after the Effective Date, for the purpose of refinancing, in whole or in part, COFINA Bonds or
 securities previously issued to refinance COFINA Bonds, provided that, (a) notwithstanding the
 terms of such securities, COFINA shall not be entitled to an increase of the COFINA Portion; (b)
 the principal and interest payment dates on any such securities shall be the same principal and
 interest payment dates on the COFINA Bonds; (c) the final maturity date on any such securities
 shall not be later than the original scheduled final maturity date of the COFINA Bonds; and (d)
 upon the issuance of any such securities (i) the annual debt service due in the then-current and
 each future fiscal year on all COFINA Bonds and COFINA Parity Bonds outstanding after the
 issuance of the COFINA Parity Bonds shall be equal to or less than the annual debt service due
 in the then-current and each future fiscal year, respectively, on all COFINA Bonds and COFINA
 Parity Bonds outstanding prior to such issuance; (ii) the Debt Service Savings shall only be
 realized in the same fiscal years in which principal of COFINA Bond and COFINA Parity Bonds
 was refunded and/or purchased; (iii) Debt Service Savings in any fiscal year shall be applied
 first, to the repayment of principal and interest on COFINA Bonds or COFINA Parity Bonds
 unpaid from any prior fiscal year; and second, at the option of COFINA, (x) to purchase
 COFINA Bonds and COFINA Parity Bonds in the open market (subject to the limitation in
 subsection (ii) above), (y) to transfer to the COFINA Operating Expense Account to pay
 operating expenses of COFINA or (z) transfer such savings to the Commonwealth; and (iv) any
 Debt Service Savings released to the Commonwealth as set forth in subsection (iii) above shall
 be available for any lawful purpose of the Commonwealth.

        1.63 COFINA Pledged Taxes: The present and future revenues and collections
 generated by the portion of the Sales Tax that corresponds to a tax rate of five and one-half
 percent (5.5%).

          1.64 COFINA Portion: The COFINA Pledged Taxes and all rights thereto, including
 the right to receive the COFINA Pledged Taxes pursuant to the First Dollars Funding, in an
 amount up to fifty-three and sixty-five one hundredths percent (53.65%) of the PSTBA in any
 given fiscal year until the COFINA Bonds and COFINA Parity Bonds have been paid or satisfied
 in full in accordance with their terms.




                                                  8
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                    Desc: Main
                          Document Page 20 of 92



        1.65 COFINA Pre-FY2019 BNYM Deposits: The Pre-FY2019 BNYM Deposits in
 excess of Seventy-Eight Million Three Hundred Fifty-Five Thousand Eight Hundred Thirty-
 Seven Dollars and Sixty-Three Cents ($78,355,837.63).

        1.66    Commonwealth: The Commonwealth of Puerto Rico.

        1.67 Commonwealth Agent: The appointed agent of the Oversight Board, as
 representative of the Commonwealth, to litigate and/or settle the Commonwealth-COFINA
 Dispute on behalf of the Commonwealth pursuant to the Commonwealth-COFINA Dispute
 Order.

         1.68 Commonwealth-COFINA Dispute: The dispute between the Commonwealth
 and COFINA regarding ownership of the sales and use taxes purportedly transferred by the
 Commonwealth to COFINA and pledged by COFINA to secure the repayment of certain
 indebtedness of COFINA, being litigated in the Adversary Proceeding, and to be compromised
 and settled pursuant to the Settlement Order and the Confirmation Order.

          1.69 Commonwealth-COFINA Dispute Order: That certain Stipulation and Order
 Approving Procedure to Resolve Commonwealth-COFINA Dispute [Case No. 17-3283, ECF
 No. 996], as amended from time to time, entered by the Title III Court in the Commonwealth
 Title III Case.

         1.70 Commonwealth-COFINA Dispute Settlement: The compromise and
 settlement of the Commonwealth-COFINA Dispute, based upon the Agreement in Principle, and
 set forth in that certain Settlement Agreement, dated as of October 19, 2018 between the
 COFINA Agent and the Oversight Board.

         1.71 Commonwealth Portion: Collectively, an interest that is second in priority of
 payment, funding and collections, in all circumstances, subject and pursuant to the First Dollars
 Funding, in the COFINA Pledged Taxes and all rights thereto including the right to receive (a)
 the residual amount of the COFINA Pledged Taxes in the amount, if any, in excess of the
 COFINA Portion in any given fiscal year, and (b) all COFINA Pledged Taxes after the COFINA
 Bonds and COFINA Parity Bonds have been paid or satisfied in full in accordance with their
 terms; provided, however, that, under all circumstances, the Commonwealth Portion shall
 exclude in its entirety the COFINA Portion, and the Commonwealth shall have no ownership
 interest in the COFINA Portion; and, provided, further, that (y) subject to the provisions
 regarding the Additional Bonds Test and the First Dollars Funding set forth in Sections 16.3 and
 16.5 hereof, respectively, the Commonwealth shall have no right to receive any revenues or
 collections generated by the COFINA Pledged Taxes for a fiscal year unless and until COFINA
 has received the COFINA Portion and (z) the Commonwealth shall have no right to receive Debt
 Service Savings in any fiscal year unless and until all debt service payments on the COFINA
 Bonds and COFINA Parity Bonds required to be made or set aside in such fiscal year, including
 any overdue debt service payments from all prior fiscal years, are made as required, in
 accordance with the provisions regarding the Additional Bonds Test set forth in Section 16.3
 hereof; and, provided, further, that the COFINA Portion shall not, now or hereafter, be property
 of the Commonwealth, and, in the event of any subsequent Title III case or similar or other



                                                 9
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                    Desc: Main
                          Document Page 21 of 92



 proceedings of the Commonwealth, in any forum, the COFINA Portion shall not be subject to
 the automatic stay in any such Commonwealth proceeding.

        1.72 Commonwealth Title III Case: The Title III case under PROMESA pending for
 the Commonwealth in the Title III Court, captioned as In re Financial Oversight & Management
 Board for Puerto Rico as representative of the Commonwealth of Puerto Rico, Case No. 17-
 3283-LTS (D.P.R.).

        1.73    Compounded Amount: The “Compounded Amount” as defined in the Bond
 Resolution.

       1.74 Confirmation Date: The date on which the Clerk of the Title III Court enters the
 Confirmation Order on the docket.

         1.75 Confirmation Hearing: The hearing conducted by the Title III Court pursuant to
 section 1128(a) of the Bankruptcy Code and Section 314 of PROMESA to consider confirmation
 of the Plan, as such hearing may be adjourned or continued from time to time.

        1.76 Confirmation Order: The order of the Title III Court confirming the Plan in
 accordance with Section 314(b) of PROMESA and section 1129 of the Bankruptcy Code,
 applicable to the Title III Case pursuant to Sections 301 and 314(b)(1) of PROMESA.

         1.77 Consummation Costs: Collectively, the amounts to be paid, in Cash, on the
 Effective Date to Consummation Cost Parties in accordance with the terms and conditions of the
 Plan Support Agreement, the Term Sheet and Article III hereof.

         1.78 Consummation Cost Party: Each of the PSA Creditors set forth on Exhibit “B”
 to the Term Sheet.

        1.79 Creditor: Any Entity holding a Claim against COFINA or COFINA’s Assets or,
 pursuant to section 102(2) of the Bankruptcy Code, against any other property of COFINA,
 including, without limitation, a Claim against COFINA of a kind specified in section 502(g),
 502(h), or 502(i) of the Bankruptcy Code, in each case, solely in such Entity’s capacity as such.

        1.80 Creditors’ Committee: The statutory committee of unsecured creditors
 appointed in, among other cases, the Commonwealth Title III Case, but not the Title III Case.

         1.81 Debt Service Fund: The account to be established pursuant to the New Bond
 Indenture in the name of the trustee for the COFINA Bonds, which account shall be for the
 purpose of receiving, holding and distributing funds for the benefit and payment of debt service
 with respect to the COFINA Bonds and the COFINA Parity Bonds.

         1.82 Debt Service Savings: For each fiscal year, the difference between (a) principal
 and interest due on COFINA Bonds and COFINA Parity Bonds, then outstanding, prior to the
 issuance of COFINA Parity Bonds and/or Reorganized COFINA’s purchase of COFINA Bonds
 and COFINA Parity Bonds in the open market and (b) principal and interest due on COFINA
 Bonds and COFINA Parity Bonds that will remain outstanding after the issuance of such


                                                10
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                     Desc: Main
                          Document Page 22 of 92



 COFINA Parity Bonds and/or Reorganized COFINA’s purchase of such COFINA Bonds and
 COFINA Parity Bonds.

         1.83 Definitive Documents: Collectively, the definitive documents and agreements to
 which COFINA will be a party as contemplated by the Plan, including (a) the Plan and any
 documentation or agreements related thereto, (b) the Confirmation Order and pleadings in
 support of entry thereof, (c) the New Bond Indenture and documents or agreements related
 thereto, (d) the form of bonds for the COFINA Bonds, (e) the New Banking Services Agreement
 and (f) each other document that will comprise the Plan Supplement. The form and substance of
 each document comprising the “Definitive Documents” shall be reasonably acceptable to the
 Government Parties and to the PSA Creditors and Bonistas.

         1.84 Disbursing Agent: As applicable, COFINA or such other Entity designated by
 the Oversight Board and COFINA on or prior to the Effective Date to make or to facilitate
 distributions in accordance with the provisions of the Plan.

         1.85 Disclosure Statement: The disclosure statement relating to the Plan and
 approved by the Title III Court pursuant to section 1125 of the Bankruptcy Code, applicable to
 the Title III Case pursuant to Section 301 of PROMESA.

        1.86 Disclosure Statement Hearing: The hearing to be held by the Title III Court to
 consider the adequacy of the information contained in the Disclosure Statement in accordance
 with section 1125 of the Bankruptcy Code, applicable to the Title III Case pursuant to
 Section 301 of PROMESA.

         1.87 Disclosure Statement Order: The order of the Title III Court approving the
 Disclosure Statement as containing adequate information in accordance with the provisions of
 section 1125 of the Bankruptcy Code, applicable to the Title III Case pursuant to Section 301 of
 PROMESA.

         1.88 Disputed Claim: A Claim against COFINA or its Assets, to the extent the
 allowance of such Claim is the subject of a timely objection or request for estimation in
 accordance with the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Confirmation
 Order, or is otherwise disputed by COFINA in accordance with applicable law, and which
 objection, request for estimation, or dispute has not been withdrawn, with prejudice, or
 determined by a Final Order.

        1.89 Distribution Date: Except as otherwise set forth herein, the date or dates
 determined by COFINA, on or after the Effective Date, upon which the Disbursing Agent shall
 make distributions to holders of Allowed Claims entitled to receive distributions under the Plan.

         1.90 Distribution Record Date: The Ballot Date or such other date as may be
 established by a separate order of the Title III Court, including the Confirmation Order;
 provided, however, that the “Distribution Record Date” shall not apply to any publicly held
 securities that will receive a distribution pursuant to the Plan through The Depository Trust
 Company.



                                                 11
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 23 of 92



         1.91 Effective Date: The first (1st) Business Day on which (i) all of the conditions
 precedent to confirmation of the Plan specified in Section 24.1 of the Plan shall have been
 satisfied or waived, as provided in Section 24.2 of the Plan, and (ii) all the conditions precedent
 to the effectiveness of the Plan specified in Section 25.1 of the Plan shall have been satisfied or
 waived as provided in Section 25.2 of the Plan.

         1.92 Entity: A Person, a corporation, a general partnership, a limited partnership, a
 limited liability company, a limited liability partnership, an association, a joint stock company, a
 joint venture, an estate, a trust, an unincorporated organization, a governmental unit or any
 subdivision thereof, including, without limitation, the office of the United States Trustee, or any
 other entity.

         1.93 Exculpated Party: Collectively, and in each case in its capacity as such: (a)
 COFINA; (b) AAFAF, (c) the Oversight Board and each of its members; (d) each of the PSA
 Creditors and Bonistas, solely in its capacity as a party to the Plan Support Agreement and a
 Creditor and not as a creditor of any other Entity, including, without limitation, the
 Commonwealth; and (e) with respect to each of the foregoing clauses (a) through (d), such
 Entity’s current and former Affiliates, and such Entity’s and its current and former Affiliates’
 current and former Related Persons solely in the capacities referred to above.

       1.94 Executory Contract: A contract to which COFINA is a party that is subject to
 assumption, assumption and assignment, or rejection in accordance with section 365 of the
 Bankruptcy Code, except as provided in Section 311 of PROMESA.

        1.95 Existing Securities: Collectively, the existing “Senior” and “First Subordinate”
 bonds issued by COFINA prior to the Petition Date in accordance with the Bond Resolution.

          1.96 Final Order: An order or judgment of a court of competent jurisdiction that has
 been entered on the docket maintained by the clerk of such court and has not been reversed,
 vacated, or stayed and as to which (i) the time to appeal, petition for certiorari, or move for a new
 trial, reargument, or rehearing has expired and as to which no appeal, petition for certiorari, or
 other proceedings for a new trial, reargument, or rehearing shall then be pending or (ii) if an
 appeal, writ of certiorari, new trial, reargument, or rehearing thereof has been sought, (a) such
 order or judgment shall have been affirmed by the highest court to which such order was
 appealed, certiorari shall have been denied, or a new trial, reargument, or rehearing shall have
 been denied or resulted in no modification of such order and (b) the time to take any further
 appeal, petition for certiorari, or move for a new trial, reargument, or rehearing shall have
 expired; provided, however, that the possibility that a motion under Rule 60 of the Federal Rules
 of Civil Procedure, or any analogous rule under the Bankruptcy Rules or the Local Bankruptcy
 Rules, may be filed relating to such order shall not prevent such order from being a Final Order,
 except as provided in the Federal Rules of Appellate Procedure, the Bankruptcy Rules, or the
 Local Bankruptcy Rules.

         1.97 First Dollars Funding: The allocation of “first dollars” collected from COFINA
 Pledged Taxes, including, without limitation, the criteria set forth in Section 16.5 hereof required
 to be satisfied in order to permit, among other things, quarterly deposits of “first dollars”
 collected from COFINA Pledged Taxes.

                                                  12
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                      Desc: Main
                          Document Page 24 of 92



        1.98    Fiscal Plan: A “Fiscal Plan” as defined by Section 5(10) of PROMESA.

        1.99 Fixed Amount: For FY ending June 30, 2019, Seven Hundred Eighty-Three
 Million One Hundred Ninety-Seven Thousand Two Hundred Fifty-One Dollars
 ($783,197,251.00) and, for each subsequent FY, the Fixed Amount for the prior FY plus four
 percent (4%) thereon, up to an aggregate FY amount of One Billion Eight Hundred Fifty Million
 Dollars ($1,850,000,000.00).

        1.100 FY: A fiscal year of the Commonwealth.

         1.101 FY2019 BNYM Deposits: Collectively, the funds deposited on or after July 1,
 2018 (inclusive of the COFINA FY2019 BNYM Deposits) to the debt service, reserve and such
 other accounts and any earnings thereon held by BNYM, as the COFINA bond trustee.

        1.102 General Unsecured Claim: Any Claim other than an Administrative Expense
 Claim, a Senior COFINA Bond Claim, a Senior COFINA Bond Claim (Ambac), a Senior
 COFINA Bond Claim (National), a Senior COFINA Bond Claim (Taxable Election), a Junior
 COFINA Bond Claim, a Junior COFINA Bond Claim (Assured), a Junior COFINA Bond Claim
 (Taxable Election), or a GS Derivative Claim.

        1.103 Government Parties: Collectively, the Oversight Board, COFINA and AAFAF.

          1.104 Government Released Claims: Collectively, any and all claims, demands,
 rights, liabilities, or causes of action of any and every kind, character or nature whatsoever, in
 law or in equity, known or unknown, whether asserted or unasserted, which any Party, or anyone
 claiming through them, on their behalf or for their benefit have or may have or claim to have,
 now or in the future, against any Government Releasee arising from, related to, or in connection
 with COFINA, the Senior COFINA Bonds, the Senior COFINA Bond Claims, the Junior
 COFINA Bonds, the Junior COFINA Bond Claims and the Actions, and arising prior to the
 COFINA Effective Date; provided, however, that “Government Released Claims” shall not
 include any and all rights, privileges, claims, demands, liabilities, or causes of action of any and
 every kind, character or nature whatsoever (a) against (i) COFINA (or its successor, including
 Reorganized COFINA) arising from or relating to COFINA’s obligations pursuant to the Plan or
 the securities to be issued pursuant to the Plan or (ii) a Government Party unrelated to COFINA
 or (b) arising from or related to any act or omission that constitutes intentional fraud or willful
 misconduct.

          1.105 Government Releasees: Collectively, the Government Parties and the
 Commonwealth, together with their respective current or former board members, directors,
 principals, agents, officers, employees, advisors and professionals, including, without limitation,
 any and all advisors and professionals retained by the Government Parties in connection with the
 Title III Case.

        1.106 GS Derivative Claim: The Claim arising from or relating to that certain ISDA
 Master Agreement, dated as of July 31, 2007, between Goldman Sachs Bank USA (as successor
 to Goldman Sachs Capital Markets, L.P.) and COFINA, as amended by that certain Amendment,
 dated September 24, 2014.


                                                 13
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                    Desc: Main
                          Document Page 25 of 92



        1.107 Insurance Policies: Collectively, the Ambac Insurance Policy, the Assured
 Insurance Policies and the National Insurance Policies.

        1.108 Interpleader Action: The litigation styled The Bank of New York Mellon v.
 Puerto Rico Sales Tax Financing Corporation, et al., Adv. Proc. No. 17-133-LTS, currently
 pending in the Title III Court.

         1.109 IRC: The United States Internal Revenue Code of 1986, as amended from time
 to time.

        1.110 IRS: The Internal Revenue Service, an agency of the United States Department
 of Treasury.

         1.111 Junior COFINA Bond Claim: A Bond Claim, other than a Junior COFINA
 Bond Claim (Assured) or a Junior COFINA Bond Claim (Taxable Election), on account of a
 “First Subordinate” Existing Security.

        1.112 Junior COFINA Bond Claim (Assured): A Bond Claim on account of a “First
 Subordinate” Existing Security, the scheduled repayment of which has been insured by Assured
 in accordance with the terms of the Assured Insurance Policies, including pursuant to a
 secondary market insurance policy.

          1.113 Junior COFINA Bond Claim (Taxable Election): A Bond Claim, other than a
 Junior COFINA Bond Claim (Assured), on account of a “First Subordinate” Existing Security,
 the holder of which has affirmatively elected to receive a Taxable Bond Distribution and the
 holder of which (i) is a Puerto Rico Investor; provided, however, that, if Taxable Bond
 Distributions are elected by Puerto Rico Investors holding Bond Claims in an aggregate amount
 in excess of the Maximum Taxable Bond Election Amount, such Bond Claim shall be a Junior
 COFINA Bond Claim (Taxable Election) up to such Bond Claim’s ratable share of the
 Maximum Taxable Bond Election Amount and the remainder thereof shall be a Junior COFINA
 Bond Claim, or (ii) if there is a Remainder Taxable Bond Election Amount, is a Puerto Rico
 Institution; provided, however, that, if Taxable Bond Distributions are elected by Puerto Rico
 Institutions holding Bond Claims in an aggregate amount in excess of the Remainder Taxable
 Bond Election Amount, such Bond Claim shall be a Junior COFINA Bond Claim (Taxable
 Election) up to such Bond Claim’s ratable share of the Remainder Taxable Bond Election
 Amount and the remainder thereof shall be a Junior COFINA Bond Claim.

         1.114 Junior COFINA Bond Distribution: A distribution of COFINA Bonds, Section
 103 Cash, if applicable, and Rounding Amount Cash, if necessary, allocable to holders of Junior
 COFINA Bond Claims, Junior COFINA Bond Claims (Assured) and Junior COFINA Bond
 Claims (Taxable Election) equal to fifty-six and forty-one one hundredths percent (56.41%) of
 such holders’ aggregate Junior COFINA Bond Claims, Junior COFINA Bond Claims (Assured)
 and Junior COFINA Bond Claims (Taxable Election), plus any incremental value distributable as
 a result of an increase in COFINA Cash Available for Distribution, but solely to the extent of any
 such increase provided as a result of an undersubscription of the Taxable Election Cash in
 accordance with the terms and provisions of Section 2.1(a) hereof; provided, however, that, in
 the event applicable United States law does not permit all COFINA Bonds to be issued on a


                                                14
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                    Desc: Main
                          Document Page 26 of 92



 federally tax-exempt basis, COFINA shall issue Taxable COFINA Bonds as a sub-series of
 COFINA Bonds, which bonds shall be distributed, first, in accordance with the provisions of
 Sections 8.1 and 11.1 hereof and, second, with respect to any remaining Taxable COFINA
 Bonds, ratably to all other recipients of COFINA Bonds in accordance with the Plan, including,
 without limitation, to applicable holders of Allowed Senior COFINA Bond Claims, Allowed
 Senior COFINA Bond Claims (Ambac), Allowed Senior COFINA Bond Claims (National),
 Allowed Junior COFINA Bond Claims and Allowed Junior COFINA Bond Claims (Assured).

        1.115 Junior Taxable Bond Distribution: The distribution to be made to each holder
 of an Allowed Junior COFINA Bond Claim (Taxable Election) in accordance with the terms and
 provisions of Section 11.1 hereof.

         1.116 Lex Claims Action: The litigation styled Lex Claims, LLC v. The
 Commonwealth of Puerto Rico, No. 16-CV-02374-FAB(D.P.R. 2016), currently pending in the
 United States District Court for the District of Puerto Rico, solely with respect to Claims or
 Causes of Action, or portions of Claims or Causes of Action, that plaintiffs have asserted, or
 were required, by applicable law, to assert, which are premised on challenges to COFINA’s
 constitutionality, COFINA’s entitlement to proceeds of the Sales Taxes, if any, transferred by the
 Commonwealth to COFINA, and such other Claims or Causes of Action which may be
 interpreted reasonably to challenge the transactions contemplated by the Term Sheet, the Plan
 and the Settlement Motion.

        1.117 Lien: Any charge against or interest in property to secure payment of a debt or
 performance on an obligation.

        1.118 List of Creditors: The Creditor List (together with all summaries, notes, and
 schedules) attached as Exhibit A to the Notice of Filing of Creditor List for Puerto Rico Sales
 Tax Financing Corporation (“COFINA”) [ECF No. 215] filed in the Title III Case pursuant to
 sections 924 and 925 of the Bankruptcy Code, as such list, summaries, notes, or schedules may
 be amended, restated, supplemented or otherwise modified by COFINA.

         1.119 Local Bankruptcy Rules: The Local Bankruptcy Rules of the United States
 Bankruptcy Court for the District of Puerto Rico and, to the extent applicable to the Title III
 Case, the Local District Court Rules for the District of Puerto Rico, each as amended from time
 to time.

         1.120 Maximum Taxable Bond Election Amount: One Billion Dollars
 ($1,000,000,000.00), provided, however, that, if the amount of Taxable COFINA Bonds exceeds
 the aggregate amount of COFINA Bonds distributable in respect of Allowed Senior COFINA
 Bond Claims (Taxable Election) and Allowed Junior COFINA Bond Claims (Taxable Election)
 each as calculated, for purposes of this proviso, assuming a Maximum Taxable Bond Election
 Amount of One Billion Dollars ($1,000,000,000.00), the Maximum Taxable Bond Election
 Amount shall increase by the amount necessary to provide for the distribution of all Taxable
 COFINA Bonds pursuant to Taxable Bond Distributions; and, provided, further, that in no event
 shall the Maximum Taxable Bond Election Amount exceed Three Billion Dollars
 ($3,000,000,000.00).



                                                15
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                     Desc: Main
                          Document Page 27 of 92



         1.121 Motion to Enforce: The motion which may be filed by the Creditors’ Committee
 and/or the Commonwealth Agent to enforce the Commonwealth-COFINA Dispute Order by
 challenging the Oversight Board’s authority under the Commonwealth-COFINA Dispute Order
 to seek approval of the Settlement Agreement.

        1.122 National: National Public Finance Guarantee Corporation.

        1.123 National Certificate Holder: A holder of a National Certificate.

        1.124 National Certificates: The certificate(s) or receipt(s) to be issued by the
 National Trust to beneficial holders of COFINA Bonds which are deposited into the National
 Trust.

          1.125 National Election: The election to be exercised by National, in writing, prior to
 the commencement of the Disclosure Statement Hearing, pursuant to which National may elect,
 in its sole and absolute discretion, to pay off all National Insured Bonds in accordance with the
 terms and provisions set forth in Section 7.5 hereof and satisfy and discharge all of its
 obligations pursuant to the National Insurance Policies.

         1.126 National Insurance Policies: The existing insurance policies initially issued by
 (a) Financial Guaranty Insurance Company and subsequently novated to National or (b) MBIA
 Insurance Corporation and relating to the National Insured Bonds, together with any and all
 agreements and other documents related thereto.

        1.127 National Insured Bonds: The “Senior” Existing Securities issued by COFINA
 and insured by National, as successor to Financial Guaranty Insurance Company or MBIA
 Insurance Corporation.

         1.128 National Trust: The trust(s) which may be formed, on or prior to the Effective
 Date, by COFINA, the sole cost and expense of which shall be borne by and satisfied by
 National and/or from the National Trust Assets, and for the sole benefit of the holders of Senior
 COFINA Bond Claims (National) that elect not to commute their National Insurance Policies
 and satisfy and discharge all of National’s obligations pursuant to the National Insurance
 Policies.

         1.129 National Trust Assets: Collectively, (a) the National Insured Bonds of a holder
 of Senior COFINA Bond Claims (National) electing treatment pursuant to Section 7.1(b) hereof,
 (b) the Senior COFINA Bond Distribution allocable to such electing holder of a Senior COFINA
 Bond Claim (National), (c) the National Insurance Policies and (d) the Consummation Costs
 allocable to National in accordance with the terms and provisions of Section 3.3 hereof.

        1.130 New Banking Services Agreement: The agreement to be entered into by and
 among, among other parties, Reorganized COFINA and the trustee for the COFINA Bonds
 providing for, among other services, procedures for the collection and deposit of the COFINA
 Pledged Taxes.

        1.131 New Bond Indenture: The trust indenture to be executed as of the Effective
 Date pursuant to which Reorganized COFINA shall issue the COFINA Bonds, as it may be

                                                 16
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 28 of 92



 amended, supplemented or modified from time to time, which such agreement may be contained
 within the New Bond Indenture or may be in a separate agreement by and between Reorganized
 COFINA and the trustee for the COFINA Bonds.

        1.132 New Bond Legislation: The legislation to be enacted on or prior to the Effective
 Date authorizing the transactions contemplated by, and consistent with, the Plan, providing for
 the ownership and collateralization of the COFINA Pledged Taxes and the granting of the New
 Collateral and incorporating such other terms as set forth in Section 25.1(c)(viii) hereof.

         1.133 New Collateral: The collateral which, pursuant to enacted legislation, may be
 substituted by the Commonwealth to replace the COFINA Pledged Taxes, or already substituted
 collateral, as security for the repayment of the COFINA Bonds, subject to satisfaction of the
 requirements set forth in Section 16.7 hereof.

         1.134 Oversight Board: The Financial Oversight and Management Board for Puerto
 Rico established pursuant to Section 101 of PROMESA, as COFINA’s representative in the Title
 III Case pursuant to section 315(b) of PROMESA.

         1.135 Person: An individual, general partnership, limited partnership, corporation,
 limited liability company, limited liability partnership, cooperative, trust, unincorporated
 organization, association, joint stock company, joint venture, estate, government, or agency or
 political subdivision thereof, or any other form of legal entity.

        1.136 Petition Date: May 5, 2017, the date on which the Oversight Board filed a
 voluntary petition for relief for COFINA commencing the Title III Case.

        1.137 Plan: This Third Amended Title III Plan of Adjustment of Puerto Rico Sales Tax
 Financing Corporation, including, without limitation, the exhibits and schedules hereto, as the
 same may be amended, supplemented, or modified from time to time in accordance with the
 provisions of PROMESA, the Bankruptcy Code and the terms hereof.

         1.138 Plan Supplement: A separate volume, to be filed with the Clerk of the Title III
 Court, including, among other documents, forms of the New Bond Indenture, the COFINA
 Bonds, the Reorganized COFINA By-Laws, the New Banking Services Agreement, and, if not
 previously enacted, the draft of the New Bond Legislation, which, in each case, shall be in form
 and substance reasonably satisfactory to the PSA Creditors. The Plan Supplement (containing
 draft or final versions of the foregoing documents shall be filed with the Clerk of the Title III
 Court as soon as practicable (but in no event later than seven (7) days) prior to the Ballot Date, or
 on such other date as the Title III Court establishes. The Plan Supplement shall be deemed
 incorporated into and part of the Plan as if set forth herein in full.

       1.139 Plan Support Agreement: That certain Amended and Restated Plan Support
 Agreement, dated as of September 20, 2018, by and among the Oversight Board, AAFAF,
 COFINA, the PSA Creditors and Bonistas del Patio, Inc.

        1.140 Pre-FY2019 BNYM Deposits: Collectively, the funds on deposit prior to July 1,
 2018 in the debt service, reserve and such other accounts, and any earnings thereon held by
 BNYM as the COFINA bond trustee, for the benefit of holders of Existing Securities.

                                                  17
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                     Desc: Main
                          Document Page 29 of 92



          1.141 Professional: An Entity (a) to be compensated for services rendered prior to or
 on the Effective Date pursuant to Sections 316 and 317 of PROMESA, and (i) employed in the
 Title III Case by COFINA (in COFINA’s and AAFAF’s sole discretion); or (ii) employed in the
 Title III Case by the Oversight Board (in the Oversight Board’s sole discretion); or (b) for which
 compensation and reimbursement has been Allowed by the Title III Court pursuant to section
 503(b)(4) of the Bankruptcy Code.

        1.142 Professional Claim: A Claim by a Professional seeking an award by the Title III
 Court of compensation for services rendered or reimbursement of expenses incurred through and
 including the Confirmation Date under Sections 316 and 317 of PROMESA.

        1.143 PROMESA: The Puerto Rico Oversight, Management, and Economic Stability
 Act, Pub. L. No. 114-187, 130 Stat. 549 (2016), 48 U.S.C. §2101, et. seq.

         1.144 Pro Rata Share: With respect to Allowed Claims (i) within the same Class, the
 proportion that an Allowed Claim bears to the sum of all Allowed Claims within such Class, and
 (ii) among multiple Classes, the proportion that Allowed Claims in any such Class bears to the
 sum of the Allowed Claims in all such Classes.

         1.145 PSA Creditors: Collectively, the parties to the Plan Support Agreement, other
 than the Government Parties and Bonistas del Patio, Inc.

        1.146 PSTBA: The Pledged Sales Tax Base Amount, i.e., the annual dollar amount
 determined for each fiscal year of the Commonwealth in accordance with Section 3 of Act No.
 91-2006 of the Commonwealth, as amended.

         1.147 Puerto Rico Institution: A holder of a Bond Claim, other than a Puerto Rico
 Investor, that is domiciled in Puerto Rico (as determined by the Oversight Board, in its sole and
 absolute discretion); provided, however, that the criteria upon which such holder is determined to
 be a Puerto Rico Institution shall be developed jointly by the Oversight Board and AAFAF in
 their respective reasonable discretion.

         1.148 Puerto Rico Investor: A holder of a Bond Claim that is, or that is wholly owned
 by or the sole beneficial owner of which is, a natural person(s) and resident(s) of the
 Commonwealth of Puerto Rico for purposes of payment of Puerto Rico personal income taxes
 (as determined by the Oversight Board, in its sole and absolute discretion).

           1.149 Related Actions: Collectively, the Adversary Proceeding and the Interpleader
 Action.

         1.150 Related Persons: With respect to any Entity (including for the avoidance of
 doubt, the Commonwealth and the Government Parties), its predecessors, successors and assigns
 (whether by operation of law or otherwise) and their respective current and former Affiliates and
 such Entity’s and its current and former Affiliate’s current and former employees, managers,
 elected or appointed officials, directors, officers, board members, principals, members, equity
 holders (whether such interests are held directly or indirectly), partners, financial advisors,
 attorneys, accountants, consultants, agents and professionals (including, without limitation, any
 and all Professionals retained by COFINA and AAFAF), or other representatives, nominees or

                                                 18
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                        Desc: Main
                          Document Page 30 of 92



 investment managers, each acting in such capacity, and any Entity claiming by or through any of
 them (including their respective officers, directors, managers, shareholders, partners, employees,
 members and professionals), each in its capacity as such.

          1.151 Released Claims: Collectively, (a) with respect to those Entities party to the Plan
 Support Agreement, Claims and Causes of Action released hereunder and in accordance with the
 Plan Support Agreement, (b) Claims and Causes of Action that arise in, are related to or have
 been or could have been asserted against COFINA or its Assets in the Title III Case, (c) Claims
 and Causes of Action that have been or could have been asserted by COFINA (with respect to
 releases given by COFINA) and by Creditors or the Government Parties relating to Claims they
 have against the Released Parties (with respect to releases given by Releasing Parties), and (d)
 Claims that otherwise arise from or relate to the Title III Case, the Actions, the Adversary
 Proceeding, the Interpleader Action, the Plan, the Plan Support Agreement and the compromises
 set forth in the Commonwealth-COFINA Dispute Settlement, including, without limitation, in
 connection with or related to any of the Government Parties, and their respective subsidiaries,
 assets, liabilities, operations, or property; provided, however, that, “Released Claims” is not
 intended to include, nor shall it have the effect of including, Claims or Causes of Action
 unrelated to COFINA or Claims or Causes of Action for gross negligence, willful misconduct or
 intentional fraud asserted, or that could have been asserted, whether sounding in contract or tort,
 against BNYM by Ambac or Whitebox in the Ambac Action and the Whitebox Actions,
 respectively, or any rights, claims, causes of action or defenses that BNYM may have against
 Ambac or Whitebox, as the case may be, in connection with such litigations; and, provided,
 further, that “Released Claims” is not intended to release, nor shall it have the effect of releasing,
 any party from the performance of its obligations in accordance with the Confirmation Order or
 the Plan, including, without limitation, performance of obligations arising from or related to the
 COFINA Bonds and the COFINA Parity Bonds.

         1.152 Released Parties: Collectively, solely to the extent provided in the Plan, (a) the
 Government Parties, (b) the Commonwealth, (c) the COFINA Agent, (d) the PSA Creditors, (e)
 BNYM, (f) upon satisfaction of the conditions set forth in decretal paragraph 3 of the Abeyance
 Stipulation, the Creditors’ Committee, its members, and the Commonwealth Agent, and (g) with
 respect to the foregoing clauses (a) through (f), each of their respective Related Persons.

         1.153 Releasing Parties: Collectively, solely to the extent provided in the Plan, (a) all
 holders of Claims against COFINA or its Assets; (b) such holders’ current and former Affiliates
 and (c) with respect to the foregoing clauses (a) and (b), each such Entity’s current and former
 Related Persons; provided, however, that each Entity described in the foregoing clauses (a)
 through (c) is providing releases pursuant to the Plan solely in such Entity’s capacity as a
 Creditor and not as a creditor of the Commonwealth or any Entity or Affiliate of the
 Commonwealth.

        1.154 Reorganized COFINA: COFINA, from and after the Effective Date.

        1.155 Reorganized COFINA By-Laws: The by-laws adopted by Reorganized
 COFINA’s board of directors, which by-laws shall be in substantially the form included in the
 Plan Supplement and shall be in form and substance reasonably satisfactory to the PSA
 Creditors.

                                                  19
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 31 of 92



        1.156 Remainder Taxable Bond Election Amount: An amount equal to the
 Maximum Taxable Bond Election Amount minus the aggregate amount of Bond Claims held by
 Puerto Rico Investors and for which such holders have affirmatively elected a Taxable Bond
 Distribution.

        1.157 Rounding Amount Cash: The amount of Cash necessary, up to a maximum
 aggregate amount of Twenty-Five Million Dollars ($25,000,000.00), for distribution to holders
 of Senior COFINA Bond Claims, Senior COFINA Bond Claims (Taxable Election), Senior
 COFINA Bond Claims (Ambac) and Senior COFINA Bond Claims (National) and Junior
 COFINA Bond Claims, Junior COFINA Bond Claims (Taxable Election) and Junior COFINA
 Bond Claims (Assured) in the form of rounding amounts to ensure that all holders of Senior
 COFINA Bond Claims, Senior COFINA Bond Claims (Taxable Election), Senior COFINA
 Bond Claims (Ambac) and Senior COFINA Bond Claims (National) and Junior COFINA Bond
 Claims, Junior COFINA Bond Claims (Taxable Election) and Junior COFINA Bond Claims
 (Assured) receive their Pro Rata Share of CIBs, in the minimum bond par denomination of One
 Thousand Dollars ($1,000.00) per COFINA Bond.

        1.158 Sale Notice: The notice which may be delivered by the trustee of the National
 Custodial Trust to National Certificate Holders in accordance with Section 17.2(a) hereof and in
 connection with the proposed sale of all or a portion of the COFINA Bonds held in the National
 Custodial Trust.

        1.159 Sale Proceeds: The Cash proceeds of a sale by the trustee of the National
 Custodial Trust of all or a portion of the COFINA Bonds held by the National Custodial Trust.

        1.160 Sales Tax: The sales and use taxes imposed by the government of Puerto Rico
 pursuant to Sections 4020.01 and 4020.02 of Subchapter D of Act No. 1-2011, as amended, and
 known as the Internal Revenue Code for a New Puerto Rico.

         1.161 Section 103 Cash: The amount of cash deemed necessary by the Oversight
 Board, after consultation with Section 103 tax counsel and the PSA Parties, which amount of
 Cash (a) shall be no less than, and in payment of, the interest accrued and unpaid on the Existing
 Securities as of, and including May 4, 2017 and (b) shall not exceed the amount of Pre-FY2019
 BNYM Deposits minus the amount of Rounding Amount Cash and Consummation Costs, to be
 applied to reduce the amount and number of Taxable COFINA Bonds solely to the extent that the
 COFINA Bonds cannot all be issued as tax-exempt bonds under applicable federal law.

         1.162 Section 510(b) Subordinated Claim: Any Claim, to the extent determined
 pursuant to a Final Order, against COFINA or its Assets arising from or relating to (a) rescission
 of a purchase or sale of an Existing Security, (b) purchase, sale or retention of such a security, or
 (c) reimbursement, indemnification or contribution allowed under section 502 of the Bankruptcy
 Code on account of such Claim.

         1.163 Securities Act: The Securities Act of 1933, 15 U.S.C. §§ 77a–77aa, as amended,
 or any similar federal, state, or local law.




                                                  20
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                     Desc: Main
                          Document Page 32 of 92



        1.164 Senior COFINA Bond Claim: A Bond Claim, other than a Senior COFINA
 Bond Claim (Ambac), a Senior COFINA Bond Claim (National) or a Senior COFINA Bond
 Claim (Taxable Election), on account of a “Senior” Existing Security.

        1.165 Senior COFINA Bond Claim (Ambac): A Bond Claim on account of a
 “Senior” Existing Security, the repayment of which has been insured by Ambac.

        1.166 Senior COFINA Bond Claim (National): A Bond Claim on account of a
 “Senior” Existing Security, the repayment of which has been insured by National.

         1.167 Senior COFINA Bond Claim (Taxable Election): A Bond Claim, other than a
 Senior COFINA Bond Claim (Ambac) or a Senior COFINA Bond Claim (National), on account
 of a “Senior” Existing Security, the holder of which has affirmatively elected to receive a
 Taxable Bond Distribution and the holder of which (i) is a Puerto Rico Investor; provided,
 however, that, if Taxable Bond Distributions are elected by Puerto Rico Investors holding Bond
 Claims in an aggregate amount in excess of the Maximum Taxable Bond Election Amount, such
 Bond Claim shall be a Senior COFINA Bond Claim (Taxable Election) up to such Bond Claim’s
 ratable share of the Maximum Taxable Bond Election Amount and the remainder thereof shall be
 a Senior COFINA Bond Claim, or (ii) if there is a Remainder Taxable Bond Election Amount, is
 a Puerto Rico Institution; provided, however, that, if Taxable Bond Distributions are elected by
 Puerto Rico Institutions holding Bond Claims in an aggregate amount in excess of the Remainder
 Taxable Bond Election Amount, such Bond Claim shall be a Senior COFINA Bond Claim
 (Taxable Election) up to such Bond Claim’s ratable share of the Remainder Taxable Bond
 Election Amount and the remainder thereof shall be a Senior COFINA Bond Claim.

         1.168 Senior COFINA Bond Distribution: A distribution of COFINA Bonds and
 Cash, in the aggregate, allocable to the holders of Senior COFINA Bond Claims, Senior
 COFINA Bond Claims (Ambac), Senior COFINA Bond Claims (National) and Senior COFINA
 Bond Claims (Taxable Election) equal to ninety-three and one one-hundredths percent (93.01%)
 of such holders’ aggregate Senior COFINA Bond Claims, Senior COFINA Bond Claims
 (Ambac), Senior COFINA Bond Claims (National) and Senior COFINA Bond Claims (Taxable
 Election), plus any incremental value distributable as a result of an increase in COFINA Cash
 Available for Distribution; provided, however, that in the event that applicable United States law
 does not permit all COFINA Bonds to be issued on a federally tax-exempt basis, COFINA shall
 issue Taxable COFINA Bonds as a sub-series of COFINA Bonds, which bonds shall be
 distributed, first, in accordance with the provisions of Sections 8.1 and 11.1 hereof, and, second,
 with respect to any remaining Taxable COFINA Bonds, ratably to all other recipients of
 COFINA Bonds in accordance with the Plan, including, without limitation, to applicable holders
 of Allowed Senior COFINA Bond Claims, Allowed Senior COFINA Bond Claims (Ambac),
 Allowed Senior COFINA Bond Claims (National), Allowed Junior COFINA Bond Claims and
 Allowed Junior COFINA Bond Claims (Assured).

        1.169 Senior Taxable Bond Distribution: The distribution to be made to each holder
 of an Allowed Senior COFINA Bond Claim (Taxable Election) in accordance with the terms and
 provisions of Section 8.1 hereof.




                                                 21
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                   Desc: Main
                          Document Page 33 of 92



        1.170 Settlement Agreement: That certain Settlement Agreement, dated as of October
 19, 2018, between the Oversight Board, on behalf of the Commonwealth, and the COFINA
 Agent, on behalf of COFINA.

         1.171 Settlement Motion: The motion filed in the Commonwealth Title III Case
 pursuant to Bankruptcy Rule 9019 seeking entry of an order approving the compromise and
 settlement of the Commonwealth-COFINA Dispute in accordance with the terms and provisions
 of the Settlement Agreement and authorizing and directing the consummation of the transactions
 contemplated therein.

         1.172 Settlement Order: The order by the Title III Court in the Commonwealth Title
 III Case approving the Settlement Motion and the relief requested therein, including, without
 limitation, authorizing the Commonwealth’s entry into the Settlement Agreement and directing
 the consummation of the transactions contemplated therein.

         1.173 Solicitation Agent: Prime Clerk LLC, the notice, claims, and solicitation agent
 retained by COFINA in the Title III Case by District Court order.

       1.174 Subordinated Lien Bonds: Collectively, the additional bonds that may be issued
 by Reorganized COFINA in accordance with the terms and provisions of Section 16.3 hereof, the
 repayment of which shall be secured by subordinated second or more junior Lien on the
 COFINA Pledged Taxes and which, in all respects, shall be subordinated in respect of priority,
 payment funding, and remedies to the COFINA Bonds and the COFINA Parity Bonds.

        1.175 Taxable Bond Distribution: A Senior Taxable Bond Distribution or a Junior
 Taxable Bond Distribution, as applicable.

         1.176 Taxable COFINA Bonds: Collectively, the portion of the COFINA Bonds in the
 aggregate amount deemed necessary by the Oversight Board, after consultation with Section 103
 tax counsel and the PSA Creditors, to be issued as tax exempt under Puerto Rico law, but taxable
 in accordance with Section 103 of the IRC, which COFINA Bonds shall be issued as CIBs with
 an interest rate of four and fifty-five one hundredths percent (4.55%) and having a maturity date
 of July 1, 2040.

        1.177 Taxable Election Cash: The amount of Cash equal to two percent (2.0%) (net of
 any administrative costs of the election process related to the applicable Bond Claims) of the
 aggregate amount of all Senior COFINA Bond Claims (Taxable Election) and Junior COFINA
 Bond Claims (Taxable Election), which amount of Cash shall not exceed Sixty Million Dollars
 ($60,000,000.00).

        1.178 Tax Election Remainder Amount: The difference between Sixty Million
 Dollars ($60,000,000.00) and the Taxable Election Cash distributed pursuant to the Plan.

         1.179 Tax-Exempt COFINA Bonds: Collectively, the portion of the COFINA Bonds
 that are issued on the Effective Date as tax-exempt in accordance with Section 103 of the IRC.




                                                22
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                      Desc: Main
                          Document Page 34 of 92



        1.180 Term Sheet: The term sheet annexed as Exhibit “C” to the Plan Support
 Agreement and which sets forth, among other things, the terms and conditions of the COFINA
 Bonds.

        1.181 Title III: Title III of PROMESA.

          1.182 Title III Case: The Title III case under PROMESA pending for COFINA in the
 Title III Court, captioned as In re Financial Oversight & Management Board for Puerto Rico as
 representative of Puerto Rico Sales Tax Financing Corporation, Case No. 17-3284-LTS (D.P.R.).

        1.183 Title III Court: The United States District Court of the District of Puerto Rico or
 such other court having jurisdiction over the Title III Case.

        1.184 Trustee Claims: Collectively, the Claims, if any, of the trustee arising under
 Section 804 of the Bond Resolution, whether prior or subsequent to the Effective Date; provided,
 however, that, under no circumstances shall “Trustee Claims” include any fees and expenses
 incurred by BNYM from and after the Effective Date arising from or relating to the Ambac
 Action or the Whitebox Actions.

        1.185 Trustee Rights: The lien or other priority rights, if any, of the trustee arising
 under Sections 804 and 1103 of the Bond Resolution and applicable law, subject to the rights of
 any party in interest to contest the entitlement thereof.

        1.186 Trusts: Collectively, the Ambac Trust and the National Trust.

         1.187 Unclaimed Distribution: Any distribution to a Creditor that has not (a) accepted
 a particular distribution or, in the case of distributions made by check, negotiated such check, (b)
 given notice to COFINA of an intent to accept a particular distribution, (c) responded to
 COFINA’s requests for information necessary to facilitate a particular distribution or (d) taken
 any other action necessary to facilitate such distribution.

         1.188 Unexpired Lease: A lease of nonresidential real property to which COFINA is a
 party that is subject to assumption, assumption and assignment, or rejection under section 365 of
 the Bankruptcy Code, except as provided in Section 311 of PROMESA.

       1.189 Whitebox: Whitebox Advisors, LLC and funds managed or affiliated with
 Whitebox Advisors, LLC, including, without limitation, Whitebox Multi-Strategy Partners, L.P.

         1.190 Whitebox Actions: Collectively, the litigation styled (a) Whitebox Multi-
 Strategy Partners, L.P., et al. v. The Bank of New York Mellon, Adv. Pro. No. 17-AP-143-LTS,
 currently pending in the Title III Court, and (b) Whitebox Multi-Strategy Partners, L.P., et al. v.
 The Bank of New York Mellon, Case No. 17-CV-3750-LTS, currently pending in the Title III
 Court.

        1.191 Other Definitions: Unless the context otherwise requires, any capitalized term
 used and not defined herein or elsewhere in the Plan that is defined in PROMESA or the
 Bankruptcy Code shall have the meaning assigned to that term in the PROMESA or Bankruptcy
 Code. Unless otherwise specified, (a) all section, schedule, or exhibit references in the Plan are

                                                  23
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                        Desc: Main
                          Document Page 35 of 92



 to the respective section in, article of, or schedule or exhibit to, the Plan, as the same may be
 amended, waived, or modified from time to time and (b) all references to dollars are to the lawful
 currency of the United States of America. The words, “herein,” “hereof,” “hereto,” “hereunder,”
 and other words of similar import refer to the Plan as a whole and not to any particular section,
 subsection, or clause contained in the Plan. In computing any period of time prescribed or
 allowed by the Plan, unless otherwise expressly provided, the provisions of Bankruptcy Rule
 9006(a) shall apply.

          1.192 Rules of Interpretation: For purposes of the Plan, (a) unless otherwise
 specified, any reference herein to a contract, lease, instrument, release, indenture, or other
 agreement or document being in a particular form or on particular terms and conditions means
 that such document shall be substantially in such form or substantially on such terms and
 conditions; (b) unless otherwise specified, any reference herein to a definition, an existing
 document, schedule, or exhibit, shall mean such document, schedule, or exhibit, as it may have
 been or may be amended, modified, or supplemented, including, without limitation, updated to
 conform to the Definitive Documents; (c) unless otherwise specified, all references herein to
 “Articles” and “Sections” are references to Articles and Sections, respectively, hereof or hereto;
 (d) captions and headings to Articles and Sections are inserted for convenience of reference only
 and are not intended to be a part of or to affect the interpretation of the Plan; (e) unless otherwise
 specified herein, the rules of construction set forth in section 102 of the Bankruptcy Code shall
 apply; (f) unless otherwise specified, references to docket numbers of documents filed in the
 Title III Case are references to the docket numbers under the Title III Court’s CM/ECF system;
 (g) the words “include” and “including,” and variations thereof, shall not be deemed to be terms
 of limitation, and shall be deemed to be followed by the words “without limitation”; and (h) any
 immaterial effectuating provisions may be interpreted by the Oversight Board in such a manner
 that is consistent with the overall purpose and intent of the Plan all without further notice to or
 action, order, or approval of the Title III Court or any other Entity.

                                            ARTICLE II

                     COMPROMISE AND SETTLEMENT OF DISPUTES

         2.1     Commonwealth-COFINA Dispute: Pursuant to sections 105(a), 1123(a)(5) and
 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule 9019, the Plan incorporates and is
 expressly conditioned upon the approval and effectiveness of the compromise and settlement
 between the Oversight Board, on behalf of the Commonwealth, and the COFINA Agent, on
 behalf of COFINA, as set forth in the Settlement Agreement. The Settlement Agreement is
 incorporated into this Plan by reference as if fully set forth herein and, subject to the occurrence
 of the Effective Date, represents a full, final and complete compromise, settlement and release
 of, among other matters, the claims and issues arising from and relating to the Commonwealth-
 COFINA Dispute, including, without limitation, the claims asserted in the Adversary
 Proceeding. The Settlement Agreement will be considered contemporaneously for approval by
 the Title III Court in the Commonwealth Title III Case through submission of the Settlement
 Motion pursuant to Bankruptcy Rule 9019 and, in the Title III Case, through submission of the
 Plan, which full incorporates by reference the Settlement Agreement. Without limiting the
 foregoing, subsections (a) through (e) below describe certain of the principal provisions of the
 Settlement Agreement, but, except with respect to the releases provided in Section 30.6 hereof,

                                                  24
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 36 of 92



 nothing in this Plan shall be construed to, or is intended to, limit or diminish the benefits to be
 received by, or rights of, the parties to the Settlement Agreement or the third party beneficiaries
 thereof. In the event of any inconsistency between the Settlement Order, the Plan or the
 Confirmation Order, the documents shall control in the following order of priority: (i) the
 Settlement Order, (ii) the Confirmation Order, and (iii) the Plan.

                  (a)    Compromise and Settlement/Allocation of Funds: The
 Commonwealth–COFINA Dispute shall be compromised and settled pursuant to the Settlement
 Motion and the Settlement Order, on the one hand, and pursuant to the Plan and the
 Confirmation Order, on the other hand, with (i) COFINA being granted ownership of the
 COFINA Portion, and (ii) the Commonwealth being granted ownership of the Commonwealth
 Portion; provided, however, that, except as expressly set forth in Sections 15.1 and 15.2 hereof,
 (A) one hundred percent (100%) of the Pre-FY2019 BNYM Deposits held by BNYM in
 accordance with the Adversary Proceeding and such other orders entered in connection therewith
 will, on the Effective Date, be the exclusive property of COFINA and be distributed to COFINA
 for purposes of distribution in accordance with the provisions of the Plan; provided, however,
 that, (i) of Seventy-Eight Million Three Hundred Fifty-Five Thousand Eight Hundred and
 Thirty-Seven Dollars and Sixty-Three Cents ($78,355,837.63) of the Pre-FY2019 BNYM
 Deposits, (x) Thirty-Three Million Three Hundred Fifty-Five Thousand Eight Hundred Thirty-
 Seven Dollars and Sixty-Three Cents ($33,355,837.63) shall be distributed to the
 Commonwealth, (y) Five Million Dollars ($5,000,000.00) shall be allocated to the COFINA
 Operating Expense Account to fund an expense fund for COFINA, and (z) Forty Million Dollars
 ($40,000,000.00) shall be allocated to the Taxable Election Cash distributable under the Plan;
 provided, however, that, if the Taxable Election Cash actually distributed under the Plan is less
 than Sixty Million Dollars ($60,000,000.00), then an amount equal to the Tax Election
 Remainder Amount, up to Forty Million Dollars ($40,000,000.00) allocated as Taxable Election
 Cash, shall be distributed (I) first, to further fund the COFINA Operating Expense Account up to
 an additional Ten Million Dollars ($10,000,000.00), and (II) second, to the extent of any further
 remainder, to be distributed evenly to COFINA, on the one hand, to increase the COFINA Cash
 Available for Distribution and increase recoveries to all holders of Bond Claims, and the
 Commonwealth, on the other hand, (B) one hundred percent (100%) of the COFINA FY2019
 BNYM Deposits held by BNYM in accordance with the Adversary Proceeding and such other
 orders entered in connection therewith, will, on the Effective Date, be the exclusive property of
 COFINA and will be distributed to COFINA for purposes of distribution to holders of COFINA
 Bonds in accordance with the Plan, and (C) any FY2019 BNYM Deposits net of the COFINA
 FY2019 BNYM Deposits, shall be distributed in its entirety to the Commonwealth.

                 (b)     Compromise Date: Unless (i) approval of the Settlement Motion is
 denied by the Title III Court or (ii) the Effective Date does not occur, the effective date of the
 compromise and settlement shall be retroactive to July 1, 2018 and, in addition to receipt of the
 Pre-FY2019 BNYM Deposits, net of amounts allocated pursuant to the provisions of Section
 2.1(a) hereof, and the COFINA FY2019 BNYM Deposits on the Effective Date, COFINA will
 own, and will be entitled to receive, the COFINA Portion commencing as of FY2019.

                 (c)     Litigation Dismissal: On the Effective Date, pursuant to the Settlement
 Order and the Confirmation Order, which orders shall amend and supersede such orders of the
 Title III Court entered in the Title III Case, the Commonwealth Title III Case, and the Related

                                                  25
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                        Desc: Main
                          Document Page 37 of 92



 Actions to the extent that such orders are inconsistent therewith, (1) subject to the provisions of
 Section 19.5 hereof, BNYM shall distribute monies in accordance with the terms and provisions
 of Section 2.1(a) hereof, (2) the Adversary Proceeding shall be dismissed, with prejudice, and all
 other Claims and Causes of Action asserted, or that could have been asserted, therein by the
 Commonwealth Agent, the COFINA Agent and the Permitted Intervenors, as defined in the
 Adversary Proceeding, shall be deemed dismissed, with prejudice, and the Oversight Board, the
 Commonwealth Agent and the COFINA Agent and their respective professionals shall be
 deemed to have no further obligations in connection with the Adversary Proceeding and the
 COFINA Agent and, upon satisfaction of the conditions set forth in decretal paragraph 3 of the
 Abeyance Stipulation, the Commonwealth Agent, the Creditors’ Committee and its members,
 together with their respective professionals, shall be deemed to have been released from any and
 all liabilities associated therewith or that otherwise arise from or relate to the Title III Case, the
 Actions, the Adversary Proceeding, the Interpleader Action, the Plan, the Plan Support
 Agreement and the compromises set forth in the Commonwealth-COFINA Dispute Settlement,
 including, without limitation, in connection with or related to any of the Government Parties, and
 their respective subsidiaries, assets, liabilities, operations or property, (3) except with respect to
 (i) any Claims and causes of action asserted or that could have been asserted by BNYM against
 Ambac and Whitebox in the Interpleader Action and (ii) any non-released and non-dismissed
 counterclaims that may be asserted by either Ambac or Whitebox against BNYM therein, all
 other Claims and causes of action asserted, or that could have been asserted, in the Interpleader
 Action shall be deemed dismissed, with prejudice, and the funds deposited in connection
 therewith shall be distributed in accordance with the terms and provisions of the Plan, and (4)
 except with respect to Claims and causes of actions asserted, or that could have been asserted, by
 Ambac or Whitebox, whether sounding in contract or tort, against BNYM in the Ambac Action
 or the Whitebox Actions, respectively, for gross negligence, willful misconduct or intentional
 fraud, and any counterclaims that may be asserted by BNYM against Ambac or Whitebox in the
 Ambac Action or the Whitebox Actions, respectively, the Actions shall be dismissed, with
 prejudice, and Claims and causes of action asserted therein by any party to the Actions shall be
 deemed dismissed, with prejudice.

                 (d)     Allowance of Bond Claims: Solely for purposes of confirmation and
 consummation of the Plan, on the Effective Date, (i) the Senior COFINA Bond Claims, Senior
 COFINA Bond Claims (Taxable Election), Senior COFINA Bond Claims (Ambac) and Senior
 COFINA Bond Claims (National) shall be deemed allowed in the aggregate amount of
 $7,760,871,398.36, (ii) the Junior COFINA Bond Claims, Junior COFINA Bond Claims
 (Taxable Election) and the Junior COFINA Bond Claims (Assured) shall be deemed allowed in
 the aggregate amount of $9,876,235,996.34; provided, however, that, in accordance with the
 solicitation procedures attendant to the Plan, the foregoing amounts shall be deemed allowed for
 voting purposes, and (iii) the holders of Existing Securities shall be deemed secured to the extent
 of the Pre-FY2019 BNYM Deposits, net of amounts allocated pursuant to the provisions of
 Article II hereof, the COFINA FY2019 BNYM Deposits and the COFINA Portion.

                  (e)     Releases, Injunctions and Exculpation: The releases, injunctions and
 exculpation provided in Article XXX herein (and, with respect to the COFINA Agent, this
 Article II) are integral to obtaining the value provided under the Commonwealth-COFINA
 Dispute Settlement and the releases, injunctions and exculpation under this Plan and the Plan


                                                  26
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 38 of 92



 Support Agreement constitute an essential component of the compromises reached and are not
 severable from the other provisions of this Plan.

                                           ARTICLE III

       PROVISIONS FOR PAYMENT OF ADMINISTRATIVE EXPENSE CLAIMS

          In accordance with section 1123(a)(1) of the Bankruptcy Code, made applicable to the
 Title III Case pursuant to Section 301(a) of PROMESA, Administrative Expense Claims and
 Professional Claims have not been classified and thus are excluded from the Classes of Claims
 set forth in Article IV of the Plan.

         3.1     Administrative Expense Claims: On the later to occur of (i) the Effective Date
 and (ii) the date on which an Administrative Expense Claim shall become an Allowed Claim,
 Reorganized COFINA shall (a) pay to each holder of an Allowed Administrative Expense Claim,
 in Cash, the full amount of such Administrative Expense Claim or (b) satisfy and discharge such
 Allowed Administrative Expense Clam in accordance with such other terms no more favorable
 to the claimant than as may be agreed upon by and between the holder thereof and Reorganized
 COFINA; provided, however, that Allowed Administrative Expense Claims representing
 indebtedness incurred in the ordinary course by COFINA shall be paid in full and performed by
 Reorganized COFINA in accordance with the terms and subject to the conditions of any
 agreement governing, investment evidencing, or other document relating to such transactions;
 and, provided, further, that, if any such ordinary course expense is not billed, or a written request
 for payment is not made, within ninety (90) days after the Effective Date, such ordinary course
 expense shall be barred and the holder thereof shall not be entitled to, or receive, a distribution
 pursuant to the Plan.

          3.2     Professional Compensation and Reimbursement Claims: All Entities awarded
 compensation or reimbursement of expenses by the Title III Court shall be paid in full, in Cash,
 in the amounts allowed by the Title III Court (a) as soon as reasonably practicable following the
 later to occur of (i) the Effective Date and (ii) the date upon which the Title III Court order
 allowing such Claims is deemed to be a Final Order or (b) upon such other terms no more
 favorable to the claimant than as may be mutually agreed upon between such claimant and the
 Government Parties; provided, however, that, except as provided herein, each Professional must
 file its application for final allowance of compensation for professional services rendered and
 reimbursement of expenses on or prior to the Administrative Claim Bar Date. Reorganized
 COFINA is authorized to pay compensation for professional services extended and
 reimbursement of expenses incurred after the Effective Date in the ordinary course and without
 the need for Title III Court approval.

         3.3     Consummation Costs: Notwithstanding anything contained in the Plan to the
 contrary, in order to compensate Consummation Cost Parties for the cost of negotiation,
 confirmation and consummation of the Term Sheet and the Plan, and in consideration of (a) the
 negotiation, execution and delivery of the Plan Support Agreement by each Consummation Cost
 Party and (b) the obligations and covenants contained in the Plan Support Agreement, each
 Consummation Cost Party, on the Effective Date, shall receive, based upon such Entity’s
 respective positions (insured or otherwise) as of 5:00 p.m. (EDT) on August 7, 2018, its pro rata

                                                  27
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                  Desc: Main
                          Document Page 39 of 92



 share of Cash in an amount equal to two percent (2.0%), truncated to two decimal points, of (i)
 the aggregate amount of the Senior COFINA Bond Claims, Senior COFINA Bond Claims
 (Ambac), Senior COFINA Bond Claims (National), Junior COFINA Bond Claims, Junior
 COFINA Bond Claims (Assured), Senior COFINA Bond Claims (Taxable Election) and Junior
 COFINA Bond Claims (Taxable Election) (calculated without duplication), minus (ii) One
 Billion Dollars ($1,000,000,000.00); provided, however, that, notwithstanding the foregoing
 provisions of this Section 3.3, amounts due to Aurelius Capital Master, Ltd. and Six PRC
 Investments LLC as a result of being a Consummation Cost Party (i) shall not be taken into
 account in connection with the above-referenced calculations solely with respect to payments to
 other Consummation Cost Parties, which payment to the other Consummation Cost Parties shall
 be made by COFINA or Reorganized COFINA, as the case may be, and (ii) with respect to
 payments to be made to Aurelius Capital Master, Ltd. and Six PRC Investments LLC shall be
 taken into account in connection with the above-referenced calculations for all Consummation
 Cost Parties, which payments to Aurelius Capital Master, Ltd. and Six PRC Investments LLC
 shall be made by the Commonwealth in accordance with the provisions of Section 15.2 hereof;
 and, provided, further, that, with respect to any Senior COFINA Bond Claims (Ambac) and
 Senior COFINA Bond Claims (National), unless otherwise agreed to, in writing, by Ambac and
 National, and subject to the terms and provisions of Article XVII hereof, Ambac or National, as
 the case may be, and not the beneficial holder of such Senior COFINA Bond Claims (Ambac)
 and Senior COFINA Bond Claims (National) regardless of whether such beneficial holder is also
 a Consummation Cost Party, shall receive the amount of Cash that would have otherwise been
 distributed to such other Consummation Cost Party in accordance with the provisions of this
 Section 3.3; and, provided, further, that, with respect to the Junior COFINA Bond Claims
 (Assured), Assured, and not the beneficial holders of the Junior COFINA Bond Claims
 (Assured), shall receive the amount of Cash distributable on account of the Junior COFINA
 Bond Claims (Assured) in accordance with the provisions of this Section 3.3.

                                         ARTICLE IV

                              CLASSIFICATION OF CLAIMS

        4.1    Claims are classified as follows:

                   (a) Class 1:   Senior COFINA Bond Claims

                   (b) Class 2:   Senior COFINA Bond Claims (Ambac)

                   (c) Class 3:   Senior COFINA Bond Claims (National)

                   (d) Class 4:   Senior COFINA Bond Claims (Taxable Election)

                   (e) Class 5:   Junior COFINA Bond Claims

                   (f) Class 6:   Junior COFINA Bond Claims (Assured)

                   (g) Class 7:   Junior COFINA Bond Claims (Taxable Election)

                   (h) Class 8:   GS Derivative Claim

                                               28
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                      Desc: Main
                          Document Page 40 of 92



                    (i) Class 9:   General Unsecured Claims

                    (j) Class 10: Section 510(b) Subordinated Claims

 Notwithstanding the foregoing classification of Claims, but subject to the terms and provisions of
 the Plan Support Agreement, the Oversight Board reserves the right to amend or modify such
 classification, including, without limitation, supplement such classification with additional
 Classes or modify the treatment afforded the holders in Classes 8, 9 and 10, provided that such
 amendment or modification does not adversely impact the treatment afforded to the holders of
 Claims in Classes 1 through 7 above.

                                           ARTICLE V

   PROVISIONS FOR TREATMENT OF SENIOR COFINA BOND CLAIMS (CLASS 1)

         5.1     Treatment of Senior COFINA Bond Claims: On the Effective Date, and
 subject to the right of election set forth in Section 5.2 hereof, each holder of an Allowed Senior
 COFINA Bond Claim shall be entitled to receive, in full satisfaction, release and exchange of
 such holder’s Allowed Senior COFINA Bond Claim, such holder’s Pro Rata Share of the Senior
 COFINA Bond Distribution, consisting of (a) Section 103 Cash, if applicable, (b) COFINA Cash
 Available for Distribution, (c) COFINA Bonds and (d) Rounding Amount Cash, if necessary.

          5.2    Right of Election to Senior COFINA Bond Claims (Taxable Election):
 Notwithstanding the provisions of Section 5.1 of the Plan, any holder of an Allowed Senior
 COFINA Bond Claim that is a Puerto Rico Investor or a Puerto Rico Institution, as applicable,
 shall, at such holder’s option, be entitled to elect to receive distributions pursuant to the terms
 and provisions of Sections 8.1 and 19.1 hereof. Such election must be made on the
 Ballot/Election Form, be received by the Oversight Board and COFINA, or their designee, on or
 prior to the Ballot Date and, if elected, shall be deemed acceptance of the Plan by such holder.
 Any election made after the Ballot Date shall not be binding upon COFINA unless the Ballot
 Date is expressly waived, in writing, by the Oversight Board and COFINA; provided, however,
 that, under no circumstance may such waiver by the Oversight Board and COFINA occur on or
 after the Effective Date.

                                           ARTICLE VI

               PROVISIONS FOR TREATMENT OF SENIOR COFINA BOND
                           CLAIMS (AMBAC) (CLASS 2)

         6.1     Treatment of Senior COFINA Bond Claims (Ambac): Subject to the terms
 and provisions of Sections 6.2, 6.3 and 6.4 hereof, each holder of an Allowed Senior COFINA
 Bond Claim (Ambac) shall have the option to elect on the Ballot/Election Form to receive, on the
 Effective Date, in full satisfaction release and exchange of such holder’s Allowed Senior
 COFINA Bond Claim (Ambac), its Pro Rata Share of (a) (1) the Senior COFINA Bond
 Distribution consisting of (i) Section 103 Cash, if applicable, (ii) COFINA Cash Available for
 Distribution, (iii) COFINA Bonds and (iv) Rounding Amount Cash, if necessary, plus (2)
 consideration, distributable by or at the direction of Ambac, in accordance with the provisions of


                                                 29
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                      Desc: Main
                          Document Page 41 of 92



 Section 6.2 hereof, in full and complete satisfaction, release and discharge of any further
 obligation of Ambac with respect to the Ambac Insurance Policy (and, by making such election,
 the holder shall be deemed to have agreed to commute the Ambac Insurance Policy relating to
 such holder’s Allowed Senior COFINA Bond Claim (Ambac) and such holder shall have no
 other or further rights with respect to the Ambac Insurance Policy, the Ambac Trust or the
 Ambac Certificates), or (b) the Ambac Certificates referred to in Sections 6.3 and 17.1 hereof;
 provided, however, that, in the event that a holder of an Allowed Senior COFINA Bond Claim
 (Ambac) (1) fails to timely elect to receive the Ambac Certificates referred to in Sections 6.3 and
 17.1 hereof or (2) submits an election for less than all of its Class 2 Claims (in which case, such
 election shall be void and of no force or effect), such holder shall be deemed to have elected to
 commute the Ambac Insurance Policy, to release and discharge Ambac’s obligations thereunder,
 and to receive distributions in accordance with the provisions of subsection (a) above. For the
 avoidance of doubt, with respect to any holder of an Allowed Senior COFINA Bond Claim
 (Ambac) that elects (or is deemed to elect) to receive distributions in accordance with the
 provisions of subsection (a) above, (i) such holder shall be deemed to have released Ambac from
 its obligations and liabilities under or related to the Ambac Insurance Policy in respect of such
 holder’s Ambac Insured Bonds, (ii) such holder shall not be entitled to the benefit of the Ambac
 Insurance Policy and shall have no right to make a claim under, or receive payment from, the
 Ambac Insurance Policy, (iii) Ambac shall be released from its obligations under or related to the
 Ambac Insurance Policy in respect of such holder’s Ambac Insured Bonds, and (iv) the Ambac
 Insurance Policy shall be terminated and commuted in full with respect to such holder’s Ambac
 Insured Bonds, no provision of the Ambac Insurance Policy with respect to such Ambac Insured
 Bonds shall survive termination, and such Ambac Insured Bonds shall no longer have the benefit
 of the Ambac Insurance Policy.

         6.2    Ambac Insurance Contribution: In consideration for the releases to be given to
 Ambac, and in accordance with Section 6.1(a) hereof, on the Effective Date, a beneficial holder
 of an Allowed Senior COFINA Bond Claim (Ambac) that does not validly elect to receive
 Ambac Certificates shall receive, in addition to the Senior COFINA Bond Distribution,
 consideration from Ambac in an amount equal to five and one quarter percent (5.25%) times the
 amount of such holder’s Allowed Senior COFINA Bond Claim (Ambac) as of the Petition Date,
 and the beneficial holder thereof shall have no other or further rights under or with respect to the
 Ambac Insurance Policy, the Ambac Trust, or the Ambac Certificates. A holder of an Allowed
 Senior COFINA Bond Claim (Ambac) that does not validly elect to receive Ambac Certificates
 shall be deemed to have had, on or after the Effective Date, the Ambac Insured Bonds, including
 the obligations of Ambac under the related Ambac Insurance Policy, underlying such holder’s
 Allowed Senior COFINA Bond Claim (Ambac) cancelled.

         6.3     Non-Commutation/Ambac Trust: In the event that a holder of a Senior
 COFINA Bond Claim (Ambac) timely elects to receive the distributions set forth in Section
 6.1(b) hereof, on the Effective Date, COFINA shall deposit or be deemed to have deposited,
 among other things, such holder’s Pro Rata Share of the Senior COFINA Bond Distribution and
 the Ambac Insured Bonds allocable to such electing holder into the Ambac Trust and such holder
 shall be deemed to have received its Pro Rata Share of the Senior COFINA Bond Distribution
 and shall receive its pro rata share of Ambac Certificates in consideration therefor.



                                                  30
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                        Desc: Main
                          Document Page 42 of 92



         6.4     Deemed Acceleration: The principal amount (or Compounded Amount in the
 case of capital appreciation bonds) of the Ambac Insured Bonds shall be deemed accelerated and
 immediately due and payable, as of the Effective Date; provided, however, that such deemed
 acceleration shall not affect, nor shall it be construed to affect, any issues regarding the existence
 of a “default” or an “event of default” with respect to the Existing Securities which were pending
 prior to the Effective Date.

        6.5      Entitlement to Vote: Subject to the terms and provisions of the Disclosure
 Statement Order, (a) the solicitation of acceptances and rejections to the Plan by holders of Class
 2 claims shall be made by the Oversight Board to Ambac but, (b) the elections described in
 Sections 6.1(a) and (b) hereof shall be made by the holders of Senior COFINA Bond Claims
 (Ambac).

                                           ARTICLE VII

               PROVISIONS FOR TREATMENT OF SENIOR COFINA BOND
                          CLAIMS (NATIONAL) (CLASS 3)

         7.1      Treatment of Senior COFINA Bond Claims (National): Subject to the terms
 and provisions of Sections 7.2, 7.3, 7.4 and 7.5 hereof, each holder of an Allowed Senior
 COFINA Bond Claim (National) shall have the option to elect on the Ballot/Election Form to
 receive, on the Effective Date, in full satisfaction, release and exchange of such holder’s
 Allowed Senior COFINA Bond Claim (National) (a) (1) its Pro Rata Share of the Senior
 COFINA Bond Distribution consisting of (i) Section 103 Cash, if applicable, (ii) COFINA Cash
 Available for Distribution, (iii) COFINA Bonds and (iv) Rounding Amount Cash, if necessary,
 plus (2) Cash distributable by or at the direction of National, in accordance with the provisions of
 Section 7.2 hereof, in full and complete satisfaction, release and discharge of any further
 obligation of National with respect to the applicable National Insurance Policies (and, by making
 such election, the holder shall be deemed to have agreed to commute the National Insurance
 Policies relating to such holder’s Allowed Senior COFINA Bond Claim (National) and such
 holder shall have no other or further rights with respect to the National Insurance Policies, the
 National Trust or the National Certificates), or (b) the National Certificates referred to in
 Sections 7.3 and 17.2 hereof; provided, however, that, in the event that a holder of an Allowed
 Senior COFINA Bond Claim (National) (1) fails to timely elect to receive the National
 Certificates referred to in Sections 7.3 and 17.2 hereof or (2) submits an election for less than all
 of its Claims 3 Claims (in which case, such election shall be void and of no force or effect), such
 holder shall be deemed to have elected to commute the National Insurance Policies to release and
 discharge National obligations thereunder, and to receive distributions in accordance with
 subsection (a) above. For the avoidance of doubt, with respect to any holder of an Allowed
 Senior COFINA Bond Claim (National) that elects (or is deemed to elect) to receive distributions
 in accordance with the provisions of subsection (a) above, (i) such holder shall be deemed to
 have released National from its obligations and liabilities under or related to the National
 Insurance Policies in respect of such holder’s National Insured Bonds, (ii) such holder shall not
 be entitled to the benefit of the National Insurance Policies and shall have no right to make a
 claim under, or receive payment from, the National Insurance Policies, (iii) National shall be
 released from its obligations under or related to the National Insurance Policies in respect of such
 holder’s National Insured Bonds, and (iv) the National Insurance Policies shall be terminated and

                                                  31
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 43 of 92



 commuted in full with respect to such holder’s National Insured Bonds, no provision of the
 National Insurance Policies with respect to such National Insured Bonds shall survive
 termination, and such National Insured Bonds shall no longer have the benefit of the National
 Insurance Policies.

         7.2     National Insurance Contribution: In consideration for the releases to be given
 to National, and in accordance with the provisions of Section 7.1 hereof, on the Effective Date, a
 beneficial holder of an Allowed Senior COFINA Bond Claim (National) that fails to validly elect
 to receive National Certificates shall receive, in addition to its Pro Rata Share of the Senior
 COFINA Bond Distribution, Cash distributable by or at the direction of National, in an amount
 equal to five and one quarter percent (5.25%) times the amount of such holder’s Allowed Senior
 COFINA Bond Claim (National) as of the Petition Date, and the beneficial holder thereof shall
 have no other or further rights under or with respect to the National Insurance Policies, the
 National Trust, or the National Certificates. The provisions set forth in this Section 7.2 apply
 only to Senior COFINA Bond Claims (National) insured in connection with the issuance of the
 corresponding indebtedness and not for any claims where the holder thereof is or its predecessor
 in interest otherwise purchased or acquired insurance on the secondary market. A holder of an
 Allowed Senior COFINA Bond Claim (National) that fails to validly elect to receive National
 Certificates shall be deemed to have had, on or after the Effective Date, the National Insured
 Bonds, including the obligations of National under the related National Insurance Policies,
 underlying such holder’s Allowed Senior COFINA Bond Claim (National) cancelled.

        7.3     Non-Commutation/National Trust: In the event that a holder of a Senior
 COFINA Bond Claim (National) timely elects to receive the distributions set forth in
 Section 7.1(b) hereof, on the Effective Date, COFINA shall deposit or be deemed to have
 deposited, among other things, such holder’s Pro Rata Share of the Senior COFINA Bond
 Distribution into the National Trust and such holder shall be deemed to have received its Pro
 Rata Share of the Senior COFINA Bond Distribution and shall receive its pro rata share of
 National Certificates in consideration therefor.

        7.4      Entitlement to Vote: Subject to the terms and provisions of the Disclosure
 Statement Order, (a) the solicitation of acceptances and rejections to the Plan by holders of Class
 3 claims shall be made by the Oversight Board to National and (b) the elections described in
 Sections 7.1(a) and (b) hereof shall be made by the holders of Senior COFINA Bond Claims
 (National).

                                          ARTICLE VIII

         PROVISIONS FOR TREATMENT OF SENIOR COFINA BOND CLAIMS
                       (TAXABLE ELECTION) (CLASS 4)

        8.1     Provisions for Treatment of Senior COFINA Bond Claims (Taxable
 Election): On the Effective Date, each holder of an Allowed Senior COFINA Bond Claim
   (Taxable Election) shall be entitled to receive, in full satisfaction, release and exchange of such
  holder’s Allowed Senior COFINA Bond Claim (Taxable Election), its Pro Rata Share of (a) the
   Senior COFINA Bond Distribution consisting of (i) Taxable COFINA Bonds and, if (and to the
       extent that) a balance remains after all Taxable COFINA Bonds have been distributed, tax-

                                                  32
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                      Desc: Main
                          Document Page 44 of 92



       exempt COFINA Bonds and (ii) Rounding Amount Cash, if necessary, and (b) the Taxable
                                                                             Election Cash.

                                           ARTICLE IX

  PROVISIONS FOR TREATMENT FOR JUNIOR COFINA BOND CLAIMS (CLASS 5)

          9.1     Treatment of Junior COFINA Bond Claims: On the Effective Date and subject
 to the right of election set forth in Section 9.2 hereof, each holder of an Allowed Junior COFINA
 Bond Claim shall be entitled to receive, in full satisfaction, release and exchange of such
 holder’s Allowed Junior COFINA Bond Claim, its Pro Rata Share of the Junior COFINA Bond
 Distribution consisting of (a) Section 103 Cash, if applicable, (b) COFINA Bonds and (c)
 Rounding Amount Cash, if necessary.

          9.2    Right of Election to Junior COFINA Bond Claims (Taxable Election):
 Notwithstanding the provisions of Section 9.1 of the Plan, any holder of an Allowed Junior
 COFINA Bond Claim that is a Puerto Rico Investor or a Puerto Rico Institution, as applicable,
 shall, at such holder’s option, be entitled to elect to receive distributions pursuant to Sections
 11.1 and 19.1 hereof. Such election must be made on the Ballot/Election Form, be received by
 the Oversight Board and COFINA, or their designee, on or prior to the Ballot Date and, if
 elected, shall be deemed acceptance of the Plan by such holder. Any election made after the
 Ballot Date shall not be binding upon COFINA unless the Ballot Date is expressly waived, in
 writing, by the Oversight Board and COFINA; provided, however, that, under no circumstance
 may such waiver by the Oversight Board and COFINA occur on or after the Effective Date.

                                            ARTICLE X

               PROVISIONS FOR TREATMENT FOR JUNIOR COFINA BOND
                           CLAIMS (ASSURED) (CLASS 6)

          10.1 Treatment of Junior COFINA Bond Claims (Assured): On the Effective Date,
 (a) each holder of an Allowed Junior COFINA Bond Claim (Assured) shall be entitled to receive,
 in full satisfaction, release and exchange of such holder’s Allowed Junior COFINA Bond Claim
 (Assured) and the Assured Insured Bonds giving rise to Junior COFINA Bond Claims (Assured),
 and Assured shall pay to such holder of an Allowed Junior COFINA Bond Claim (Assured), in
 full, the applicable Acceleration Price as of the Effective Date, and (b) Assured shall receive the
 Section 103 Cash and Rounding Amount Cash, if any, which, in each case, is allocable to Junior
 COFINA Bond Claims (Assured), and Assured New Bonds consisting of the COFINA Bonds
 allocable to holders of Allowed Junior COFINA Bond Claims (Assured), which Assured New
 Bonds may, at Assured’s option and discretion, be guaranteed in accordance with a new
 insurance policy issued by, and on terms acceptable to, Assured (collectively, the “Insured
 Bonds”). Payment of the applicable Acceleration Price with respect to any Assured Insured
 Bond in accordance with this Section 10.1 shall satisfy and discharge all of Assured’s obligations
 under the Assured Insurance Policies with respect to such Assured Insured Bond.

         10.2 Deemed Acceleration: The principal amount (or Compounded Amount in the
 case of capital appreciation bonds) of the Assured Insured Bonds shall be deemed accelerated

                                                  33
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                        Desc: Main
                          Document Page 45 of 92



 and immediately due and payable, as of the Effective Date; provided, however, that such deemed
 acceleration shall not affect, nor shall it be construed to affect, any issues regarding the existence
 of a “default” or an “event of default” with respect to the Existing Securities which were pending
 prior to the Effective Date.

        10.3 Entitlement to Vote: Subject to the terms and provisions of the Disclosure
 Statement Order, the solicitation of acceptances and rejections to the Plan by holders of Class 6
 claims shall be made by the Oversight Board to Assured.

          10.4 Remarketing of Assured New Bonds: On or prior to the Effective Date,
 COFINA shall (a) enter into an agreement to remarket, which agreement to remarket shall be in
 form and substance acceptable to COFINA and Assured and be filed with the Title III Court on
 or prior to the commencement of the hearing to consider confirmation of the Plan and be
 incorporated into the Plan Supplement and (b) agree with Assured and the applicable
 underwriter(s) on a form of bond purchase agreement, subject to confirmation by Reorganized
 COFINA. The agreement to remarket shall provide that, (1) no later than sixty (60) days after
 the Effective Date (unless such date is either (i) extended, in writing, by Reorganized COFINA
 and Assured or (ii) waived, in writing, by Assured), the Assured New Bonds, at the option of
 Assured, shall be subject to a mandatory tender for purchase by Reorganized COFINA, the
 tender price for which shall be paid from the proceeds of the remarketing of the Assured New
 Bonds and (2) Reorganized COFINA shall use commercially reasonable efforts to remarket the
 Assured New Bonds as Insured Bonds pursuant to an “offering” within the meaning, and in
 compliance with the requirements, of Rule 15c-12 adopted by the Securities and Exchange
 Commission under the Securities Exchange Act, as amended, by one or more underwriters on a
 “firm commitment basis”. The principal amounts, maturities and interest rates on the remarketed
 Assured New Bonds shall be determined by the applicable underwriter(s), such that the interest
 rates on the remarketed Assured New Bonds shall be the lowest interest rates necessary for such
 Assured New Bonds to be remarketed with adjusted par amounts and adjusted terms that
 otherwise result in the Assured New Bonds being remarketed at the lowest aggregate yield;
 provided, however, that (y) the debt service requirements on the remarketed Assured New Bonds
 due in any Fiscal Year shall not be greater than the debt service requirements due in such Fiscal
 Year on the Assured New Bonds prior to such remarketing and (z) the remarketed Assured New
 Bonds may mature later than the Assured New Bonds prior to the remarketing, but in no event
 later than FY2058; and, provided, further, that such remarketed Assured New Bonds shall be
 subject to optional redemption at the same times and at the same redemption prices as the
 Assured New Bonds prior to such remarketing. If, at any time, Assured determines that the
 Assured New Bonds cannot be remarketed on terms acceptable to Assured, Assured may elect, in
 its sole discretion, to retain the Assured New Bonds for its own account.

                                            ARTICLE XI

               PROVISIONS FOR TREATMENT FOR JUNIOR COFINA BOND
                      CLAIMS (TAXABLE ELECTION) (CLASS 7)

         11.1 Treatment for Junior COFINA Bond Claims (Taxable Election): On the
 Effective Date, each holder of an Allowed Junior COFINA Bond Claim (Taxable Election) shall
 be entitled to receive, in full satisfaction, release and exchange of such holder’s Allowed Junior

                                                  34
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 46 of 92



 COFINA Bond Claim (Taxable Election), its Pro Rata Share of (a) the Junior COFINA Bond
 Distribution consisting of (i) Taxable COFINA Bonds and, if, and to the extent that, a balance
 remains after all Taxable COFINA Bonds have been distributed, tax-exempt COFINA Bonds
 and (ii) Rounding Amount Cash, if necessary and (b) the Taxable Election Cash.

                                           ARTICLE XII

       PROVISIONS FOR TREATMENT OF GS DERIVATIVE CLAIMS (CLASS 8)

         12.1 Treatment of GS Derivative Claims: On the Effective Date, the holder of the
 GS Derivative Claim shall, to the extent that the termination value of the GS Derivative Claim is
 (a) greater than the amount of the collateral in such holder’s possession, be entitled to retain such
 collateral and, with respect to the balance of the GS Derivative Claim, (1) to the extent that
 rejection damages, if any, associated with such GS Derivative Claim is a Parity Obligation, as
 defined in the Bond Resolutions, such holder’s Pro Rata Share of the Senior COFINA Bond
 Distribution, consisting of (i) COFINA Cash Available for Distribution, (ii) COFINA Bonds and
 (iii) Rounding Amount Cash, if necessary, and (2) to the extent that rejection damages, if any,
 associated with such GS Derivative Claim is a not a Parity Obligation, such holder shall not
 receive a distribution pursuant to the Plan, or (b) less than the amount of collateral in such
 holder’s possession, the holder of the GS Derivative Claim shall liquidate such collateral in full
 and complete satisfaction of the GS Derivative Claim and return the balance of such collateral
 value to Reorganized COFINA.

                                          ARTICLE XIII

  PROVISIONS FOR TREATMENT OF GENERAL UNSECURED CLAIMS (CLASS 9)

         13.1 Treatment of General Unsecured Claims: In the event that Class 9 votes to
 accept the Plan, each holder of an Allowed General Unsecured Claim shall be entitled to receive
 its Pro Rata Share of One Hundred Thousand Dollars ($100,000.00); provided, however, that, in
 the event that Class 9 votes to reject the Plan, holders of Allowed General Unsecured Claim shall
 not receive a distribution pursuant to the Plan.

                                           ARTICLE XIV

   PROVISIONS FOR TREATMENT OF SECTION 510(B) SUBORDINATED CLAIMS
                             (CLASS 10)

       14.1 Treatment of Section 510(b) Subordinated Claims: Allowed Section 510(b)
 Subordinated Claims shall not receive a distribution pursuant to the Plan and each holder of an
 Allowed Section 510(b) Subordinated Claim shall be deemed to have rejected the Plan.




                                                  35
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                      Desc: Main
                          Document Page 47 of 92



                                           ARTICLE XV

      PROVISIONS REGARDING ALLOCATION OF UNSUBSCRIBED TAXABLE
                           ELECTION CASH

         15.1 Unsubscribed Taxable Election Cash Amount: On the Effective Date, the
 amount, up to Sixty Million Dollars ($60,000,000.00), allocated for distributions to holders of
 Allowed Senior COFINA Bond Claims (Taxable Election) and Allowed Junior COFINA Bond
 Claim (Taxable Election) in Classes 4 and 7, respectively, but not distributed based upon
 elections made or not made, as the case may be, then the Taxable Election Remainder Amount
 shall be reallocated and distributed as follows: if such amount is (a) equal to or less than Forty
 Million Dollars ($40,000,000.00), such amount shall be allocated (i) first, if the aggregate
 amount of Taxable Election Cash distributable under the Plan is greater than Twenty Million
 Dollars ($20,000,000.00), to be distributed as Taxable Election Cash in accordance with the
 Plan, (ii) second, to the extent of any remainder, to further fund the COFINA Operating Expense
 Account up to an additional Ten Million Dollars ($10,000,000.00), and (iii) third, to the extent of
 any further remainder, to be distributed evenly to COFINA, on the one hand, to increase the
 COFINA Cash Available for Distribution and the Commonwealth, on the other hand, and (b)
 greater than Forty Million Dollars ($40,000,000.00), such amount up to Forty Million Dollars
 ($40,000,000.00) shall be allocated as described in subsection (a) above and such amounts above
 Forty Million Dollars ($40,000,000.00) shall be added to the COFINA Cash Available for
 Distribution and allocated to holders of all Allowed Bond Claims in accordance with the terms
 and provisions of the Plan.

         15.2 Commonwealth/COFINA Expenses: Notwithstanding anything contained in
 the Plan to the contrary all expenses, including Allowed Administrative Expense Claims and
 Allowed Professional Claims, incurred by the Commonwealth or COFINA, as the case may be,
 in connection with the development, negotiation, confirmation and consummation of the Plan
 and the compromise and settlement of the Commonwealth-COFINA Dispute shall be paid to the
 extent available from the funds distributable to the Commonwealth in accordance with the
 provisions of Sections 2.1 and 15.1 hereof and otherwise by the Commonwealth.

                                          ARTICLE XVI

                        PROVISIONS REGARDING COFINA BONDS

         16.1 Issuance of COFINA Bonds: On the Effective Date, Reorganized COFINA
 shall issue the COFINA Bonds consisting of CIBs and CABs, as more particularly described
 herein. The maturities, interest rates and amortization schedules for COFINA Bonds are
 annexed hereto as Exhibit “A”. All debt service on COFINA Bonds and COFINA Parity Bonds
 which is not paid when due, whether at or prior to final scheduled maturity, shall remain due and
 outstanding until paid in full and shall be paid, with accrued interest on the unpaid amount, first,
 in each FY from the balance, if any, of the COFINA Portion remaining after the payment of debt
 service on the COFINA Bonds and COFINA Parity Bonds then due and payable in such FY;
 second, in each fiscal year, from the Debt Service Savings, if any; and third, to the extent not
 paid pursuant to first or second, following the final scheduled maturity of all COFINA Bonds
 and COFINA Parity Bonds. Interest shall accrue on such overdue debt service at the regular

                                                  36
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                   Desc: Main
                          Document Page 48 of 92



 coupon rate or accretion rate, as applicable, compounding semiannually, until the applicable
 COFINA Bonds or COFINA Parity Bonds are paid or satisfied in full in accordance with their
 terms. Interest on the COFINA Bonds shall be calculated on a 30/360 basis. The Government
 Parties shall use their commercially reasonable best efforts to obtain ratings on the COFINA
 Bonds, including promptly responding in good faith to documentary or other requests, as soon as
 reasonably practicable as determined solely by the Government Parties, following consultation
 with a designee of the PSA Creditors, including based upon the Government Parties’ judgment
 with respect to expected benefits. After the Government Parties determine which rating agencies
 to apply for ratings from, the Government Parties shall use their commercially reasonable best
 efforts to obtain the best possible ratings.

          (a)     CIBs: Subject to any adjustments provided for herein, CIBs shall have the
 original principal amount, interest rate and maturity date as follows: (a) Three Hundred Seventy-
 Five Million Ninety Thousand Dollars ($375,090,000.00), four and five-tenths percent (4.5%),
 and July 1, 2034; (b) Two Billion Nine Hundred Ninety-Six Million One Hundred Fifteen
 Thousand Dollars ($2,996,115,000.00), four and fifty-five one hundredths percent (4.55%), and
 July 1, 2040; (c) One Billion Four Hundred Fifty-One Million One Hundred Thirty-Five
 Thousand Dollars ($ 1,451,135,000.00), four and seventy-five one hundredths percent (4.75%),
 and July 1, 2053; and (d) Four Billion Two Hundred Ninety-Seven Million Eighty Thousand
 Dollars ($4,297,080,000.00), five percent (5.0%), and July 1, 2058. CIBs shall not carry any
 default rate of interest, provided that interest shall accrue on all overdue debt service at the
 regular coupon rate, compounding semiannually, until paid or satisfied in full in accordance with
 their terms.

         (b)     CABs: Subject to any adjustments provided for herein, CABs shall have the
 original principal amount, accretion rate and maturity date as follows: (a) One Hundred Sixty-Six
 Million Eight Hundred Eighteen Thousand Nine Hundred Fifty-Four Dollars and Fifty Cents
 ($166,818,954.50), four and one quarter percent (4.250%), and July 1, 2024, (b) Two Hundred
 Forty-Six Million Three Hundred Forty-Six Thousand Five Hundred Ninety-Seven Dollars and
 Ninety-Five Cents ($246,346,597.95), four and three eighths percent (4.375%), and July 1, 2027,
 (c) Two Hundred Twenty Million One Hundred Ninety Thousand Four Hundred Eighty-Five
 Dollars and Fifty Cents ($220,190,485.50), four and three eighths percent (4.375%), and July 1,
 2029, (d) Two Hundred Fifty-Six Million One Hundred Sixty-Two Thousand Nine Hundred
 Seventy-One Dollars and Fifty Cents ($256,162,971.50), four and one-half percent (4.50%), and
 July 1, 2031, (e) Two Hundred Sixty-Three Million Seven Hundred Fifty-Two Thousand Four
 Hundred Twenty-Eight Dollars and Eighty Cents ($263,752,428.80), four and one-half percent
 (4.50%), and July 1, 2033, (f) One Billion One Hundred Eight Million Nine Hundred Ninety-
 One Thousand Three Hundred Fifteen Dollars and Ten Cents ($1,108,991,315.10), five and three
 eighths percent (5.375%), and July 1, 2046, and (g) Six Hundred Thirty-Nine Million Six
 Hundred Thirty-Nine Thousand Sixty-Four Dollars ($639,639,064.00), five and five eighths
 percent (5.625%), and July 1, 2051. CABs shall not carry any default rate of interest, provided
 that interest shall accrue on all overdue debt service at the regular accretion rate, compounding
 semiannually, until paid or satisfied in full in accordance with their terms.

         (c)     Deemed Issuance Date: Notwithstanding the timing of the Effective Date,
 interest on the COFINA Bonds shall commence to accrue or accrete, as the case may be, as of
 August 1, 2018, which date shall be designated as the “dated” date of the COFINA Bonds. On

                                                37
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 49 of 92



 the Effective Date, COFINA FY2019 BNYM Deposits shall be deposited into the Debt Service
 Fund established in the New Bond Indenture for the benefit of holders of COFINA Bonds in
 accordance with the terms and provisions of the Plan.

          16.2 Collateral for Repayment of COFINA Bonds: Subject to enactment of the
 New Bond Legislation, and to the extent set forth in such New Bond Legislation, repayment of
 the COFINA Bonds and COFINA Parity Bonds from the COFINA Portion will automatically,
 upon the issuance of such COFINA Bonds and COFINA Parity Bonds, be secured by a statutory
 first Lien on all of Reorganized COFINA’s right, title and interest in and to the COFINA
 Pledged Taxes, including any monies, income, revenues, accounts, contract rights or general
 intangibles derived therefrom. Such Lien shall (a) remain in effect and (b) be closed until, in
 each case, the COFINA Bonds and the COFINA Parity Bonds have been paid or satisfied in full
 in accordance with their terms. Such Lien, as set forth in the New Bond Legislation, and
 pursuant to the Confirmation Order, will be judicially confirmed and the Reorganized COFINA
 Bonds shall be judicially determined to be legal, valid, binding and enforceable obligations of
 COFINA by the Title III Court. Notwithstanding anything contained herein to the contrary,
 repayment of the COFINA Bonds and COFINA Parity Bonds shall not be secured by, or have
 recourse to, any obligation or property of the Commonwealth.

         16.3 Additional Bonds Test for COFINA Parity Bonds: Except with respect to the
 issuance of COFINA Parity Bonds upon the terms and conditions described herein, Reorganized
 COFINA may not issue any securities on a pari passu or higher priority basis than the COFINA
 Bonds issued on the Effective Date. Notwithstanding the foregoing and subject to compliance
 with the provisions of the Additional Bonds Test set forth in this Section 16.3, Reorganized
 COFINA may issue Subordinated Lien Bonds for the benefit of, and with the consent of, the
 Commonwealth and for any lawful purpose of the Commonwealth, provided that (a) repayment
 of such additional bonds shall be secured by a second Lien that is subordinated in all respects,
 including, without limitation, in respect of payment, funding and remedies to the COFINA
 Bonds and COFINA Parity Bonds, with repayment of Subordinated Lien Bonds being secured by
 a subordinated second or more junior Lien on the COFINA Pledged Taxes; provided, however,
 that, notwithstanding anything contained in the Plan to the contrary, repayment of the
 Subordinated Lien Bonds shall not be payable from the COFINA Portion and (b) prior to the
 issuance thereof, the Commonwealth and Reorganized COFINA shall deliver a jointly executed
 certificate to the New Bond Indenture trustee certifying that the following conditions are each
 satisfied: (i) (1) the projected COFINA Pledged Taxes ((y) which, in the event that Subordinated
 Lien Bonds are being issued prior to FY2024, are calculated assuming the preceding FY’s
 collection of the COFINA Pledged Taxes grow annually at the “sales and use tax” growth rates
 set forth for those subsequent years in the Commonwealth’s certified fiscal plan, dated April 18,
 2018, or (z) in the event that Subordinated Lien Bonds are being issued during FY2024 or
 thereafter, are calculated assuming that preceding fiscal year’s collection of the COFINA
 Pledged Taxes grow thereafter at a rate equal to the average annual “sales and use tax” growth
 rate for the preceding five (5) fiscal years) equals or exceeds (2) one and one-half times (1.5x), in
 any succeeding fiscal year, of the annual aggregate debt service due on the COFINA Bonds,
 COFINA Parity Bonds and Subordinated Lien Bonds to remain outstanding after the issuance of
 such Subordinated Lien Bonds (including the Subordinated Lien Bonds to be issued); (ii) the
 preceding fiscal year’s collections from the COFINA Pledged Taxes is equal to or greater than
 one and one-tenth times (1.10x) coverage of the maximum annual aggregate debt service due in

                                                  38
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                   Desc: Main
                          Document Page 50 of 92



 any succeeding fiscal year on all COFINA Bonds, COFINA Parity Bonds and Subordinated Lien
 Bonds to remain outstanding after the issuance of such Subordinated Lien Bonds (including the
 Subordinated Lien Bonds to be issued); and (iii) the Subordinated Lien Bonds have a maturity
 not later than FY2058; provided, however, that, subsequent to June 30, 2028, and subject to
 compliance with the foregoing Additional Bonds Test, final maturity beyond FY2058 shall be
 permissible for future Subordinated Lien Bonds.

         16.4 Call Provisions/Optional Redemption: The COFINA Bonds shall be callable,
 in whole or in part, in any order of maturity, at par plus accrued interest thereon or accreted
 value, as applicable, upon thirty (30) day’s prior written notice as follows:

                         2034 CIBs: Par-Call Commencing FY2025 (7 year call)
                         2040 CIBs: Par Call Commencing FY2028 (10 year call)
                         2053 CIBs: Par Call Commencing FY2028 (10 year call)
                         2058 CIBs: Par Call Commencing FY2028 (10 year call)

                         2024/2027 CABs: Non-Call
                         2029 CABs: Call Commencing FY 2028 at the following prices:
                                    Fiscal Year        Price
                                    2028               103% of Accreted Value
                                    2029               100% of Accreted Value

                         2031 CABs: Call Commencing FY 2028 at the following prices:
                                    Fiscal Year        Price
                                    2028               105% of Accreted Value
                                    2029-2030          103% of Accreted Value
                                    2031               100% of Accreted Value

                         2033 CABs: Call Commencing FY2028 at the following prices:
                                    Fiscal Year       Price
                                    2028-2030         107.5% of Accreted Value
                                    2031              105% of Accreted Value
                                    2032              103% of Accreted Value
                                    2033              100% of Accreted Value

                         2046/2051 CABs: Call Commencing FY2028 at the following call
                         prices:
                                    Fiscal Year        Price
                                    2028-2032          107.5% of Accreted Value
                                    2033-2037          105% of Accreted Value
                                    2038-2042          103% of Accreted Value
                                    2043-2051          100% of Accreted Value


                                                39
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                     Desc: Main
                          Document Page 51 of 92




 If less than all of the COFINA Bonds of a particular series are called for prior redemption,
 Reorganized COFINA will select the maturity or maturities of such series of the COFINA Bonds
 to be redeemed, and Depository Trust Company, on behalf of the trustee for the COFINA Bonds,
 will select the COFINA Bonds within the same maturity of such series to be redeemed by means
 of a random lottery.

          16.5 First Dollars Funding: Until the COFINA Bonds and COFINA Parity Bonds
 have been paid or satisfied in full in accordance with their terms, and subsequent to the funding
 of reasonable and necessary Reorganized COFINA operating expenses into the COFINA
 Operating Expense Account, including, without limitation, Reorganized COFINA board member
 fees and expenses, the COFINA Portion shall be funded annually from “first dollars” collected
 from the COFINA Pledged Taxes; provided, however, that, notwithstanding the foregoing, from
 and after FY2024, and solely in the event that (a) for any date of determination at which time the
 Oversight Board or any successor to its budgetary function is in existence, (1) the prior and then-
 current FY budgets are balanced, as determined by the Oversight Board (or its successor in
 interest), and (2) the Commonwealth is current on its continuing disclosure requirements relating
 to its audited financial statements, (b) quarterly bucketing of twenty-five percent (25%) of the
 then-current FY’s COFINA Portion is shown to be necessary to avoid intra-FY tax revenue
 anticipation notes borrowing and (c) collection of prior fiscal year COFINA Pledged Taxes
 provided a two times (2x) coverage of the COFINA Portion, then, in each quarter, until the
 COFINA Bonds and COFINA Parity Bonds have been paid or satisfied in full in accordance
 with their terms, (x) the “first dollars” collected from the COFINA Pledged Taxes up to twenty-
 five percent (25%) of the then-current FY’s COFINA Portion shall be deposited into the “Debt
 Service Fund” held by the New Bond Indenture trustee for the benefit and payment of debt
 service with respect to the COFINA Bonds and the COFINA Parity Bonds, and (y) thereafter, the
 remaining quarterly collection from the COFINA Pledged Taxes shall be deposited in
 accordance with the “Flow of Funds” established in the New Bond Indenture; provided,
 however, that, in any quarter in which there is a shortfall in the amounts required to be deposited
 by the preceding clause (x), then such shortfall shall be added to the amount required to be paid
 in accordance with clause (x) in the following quarter until the entire amount of the cumulative
 shortfall has been deposited into the Debt Service Fund held by the trustee for the benefit and
 payment of debt service with respect to the COFINA Bonds and the COFINA Parity Bonds.

         16.6 Covenants for COFINA Bonds and COFINA Parity Bonds: On the Effective
 Date, the Definitive Documents, including the New Bond Legislation, will contain customary
 terms, conditions and covenants for similarly structured and supported bonds, including, without
 limitation, the following covenants with respect to the COFINA Bonds and the COFINA Parity
 Bonds:

                (a)     Sales Tax Covenant: Subject to the terms and provisions of Section 16.7
 hereof, the Commonwealth will covenant for the benefit of all initial and subsequent holders of
 the COFINA Bonds and COFINA Parity Bonds, that, until all obligations with respect thereto
 have been paid or satisfied in full in accordance with their terms, the rate of the COFINA
 Pledged Taxes from which the Fixed Amount is derived shall not be reduced to a rate less than
 five and one-half percent (5.5%) unless, on each such occasion prior to such reduction, at least


                                                 40
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                     Desc: Main
                          Document Page 52 of 92



 two (2) of the following four (4) nationally recognized statistical rating organizations then in
 existence and rating any of the COFINA Bonds or COFINA Parity Bonds: S&P Global Ratings,
 Moody’s Investor Service, Inc., Fitch Ratings and Kroll Bond Rating Agency Inc., or their
 respective successors, with one (1) of such organizations being S&P Global Ratings or Moody’s
 Investor Service, Inc., or its respective successor, confirm that ratings of the COFINA Bonds and
 the COFINA Parity Bonds will not be downgraded and (without regard to bond insurance or
 other third party credit enhancement) will be rated at least A2/A category or higher following
 such reduction; provided, however, that, notwithstanding the foregoing, until all obligations with
 respect to the COFINA Bonds and COFINA Parity Bonds have been paid or satisfied in full in
 accordance with their terms, if the rate of the COFINA Pledged Taxes is reduced below three
 percent (3%), then such reduction shall constitute a “Substitution of Collateral” and shall be
 subject to the terms and provisions of Section 16.7 hereof.

                  (b)     Non-Impairment Covenant: The Commonwealth will covenant for the
 benefit of all initial and subsequent holders of COFINA Bonds and COFINA Parity Bonds, that,
 until all obligations with respect thereto have been paid or satisfied in full in accordance with
 their terms, the Commonwealth will take no action that would (1) impair Reorganized
 COFINA’s right to receive the COFINA Portion, (2) limit or alter the rights vested in COFINA
 or Reorganized COFINA in accordance with the Plan and the Confirmation Order to fulfill the
 terms of any agreements with the holders of COFINA Bonds and COFINA Parity Bonds, (3)
 materially adversely impair the collection of COFINA Pledged Taxes in any FY, or (4) impair
 the rights and remedies of the holders of the COFINA Bonds or COFINA Parity Bonds or the
 collateral security thereof.

                  (c)     Tax-Exemption Covenant: Reorganized COFINA will covenant for the
 benefit of all initial and subsequent holders of federally tax-exempt COFINA Bonds and
 federally tax-exempt COFINA Parity Bonds that, until all obligations with respect thereto have
 been paid or satisfied in full in accordance with their terms, Reorganized COFINA will do and
 perform all acts and things permitted by law and reasonably necessary or desirable to assure that
 interest paid to the holders of any federally tax-exempt COFINA Bonds or federally tax-exempt
 COFINA Parity Bonds shall be and remain excludable from gross income for federal income tax
 purposes.

                 (d)    Rating Agency Covenant: In connection with a “Substitution of
 Collateral” pursuant to the provisions of Section 16.7 hereof, Reorganized COFINA will
 covenant to use its reasonable best efforts and work in good faith to obtain the best rating
 possible on the then-outstanding COFINA Bonds and COFINA Parity Bonds, including, but not
 limited to, responding to requests for documents.

         16.7 Substitution of Collateral: Notwithstanding anything contained in the Plan or in
 the Definitive Documents to the contrary, the Commonwealth may enact legislation that permits
 a Commonwealth revenue stream to replace the COFINA Pledged Taxes as security for the
 repayment of the COFINA Bonds and COFINA Parity Bonds; provided, however, that the
 substitution of New Collateral may occur only upon, and on each such occasion, satisfaction of
 the following conditions: (a) such New Collateral is all or a portion of a tax of general
 applicability throughout the Commonwealth that is being enacted in full substitution of the then-
 existing island-wide sales and use tax or otherwise constitutes like or comparable security for the

                                                 41
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 53 of 92



 COFINA Bonds and COFINA Parity Bonds and such legislation provides (i) for the irrevocable
 transfer of, including ownership of, such New Collateral to Reorganized COFINA, (ii) for an
 automatic mandatory statutory lien on such New Collateral in favor of holders of COFINA
 Bonds and COFINA Parity Bonds, and (iii) that, following such transfer, such New Collateral is
 not, and shall not constitute, “available resources” or “available revenues” of the Government of
 Puerto Rico, as used in Section 8 of Article VI of the Puerto Rico Constitution or as otherwise
 used in the Puerto Rico Constitution (whether construed pursuant to the Spanish or English
 version of the Puerto Rico Constitution), and is otherwise owned by Reorganized COFINA in the
 same manner and to the same extent as the COFINA Portion, (b) upon substitution of the New
 Collateral, that rating confirmations are received from at least two (2) of the following four (4)
 nationally recognized statistical rating organizations then in existence and rating the COFINA
 Bonds: S&P Global Ratings, Moody’s Investor Service, Inc., Fitch Ratings and Kroll Bond
 Rating Agency Inc., with one (1) of such organizations being either S&P Global Ratings or
 Moody’s Investor Service, Inc., prior to such collateral substitution confirming that ratings for all
 COFINA Bonds and COFINA Parity Bonds (without regard to bond insurance or other third
 party credit enhancement) will not be downgraded and will be at least A2/A category or higher
 following such collateral substitution, (c) the Commonwealth shall continue to provide the non-
 impairment covenant referred to in Section 16.6(b) hereof with respect to such New Collateral
 and (d) such other documents as may be required pursuant to applicable law and bond
 resolutions.

        16.8 Debt Service Reserve Fund: The COFINA Bonds and the COFINA Parity
 Bonds shall not have a debt service reserve fund.

       16.9 Rights of Acceleration: The COFINA Bonds, the COFINA Parity Bonds and
 Subordinated Lien Bonds, if any, shall not have rights of acceleration.

                                          ARTICLE XVII

                                           THE TRUSTS

        17.1    Terms of Ambac Trust:

                 (a)     General Terms: On or prior to the Effective Date, COFINA shall
 establish the Ambac Trust, solely on behalf, and for the benefit, of beneficial holders of Allowed
 Senior COFINA Bond Claims (Ambac) that validly elect to receive the Ambac Certificates in
 accordance with the approved solicitation procedures pursuant to the Disclosure Statement Order
 and set forth on the Ballot/Election Form. On the Effective Date, the following Ambac Trust
 Assets shall be deposited (or deemed deposited) into the Ambac Trust: (1) the Ambac Insured
 Bonds allocable to such electing holders of Allowed Senior COFINA Bond Claims (Ambac), (2)
 the Senior COFINA Bond Distribution (consisting of Section 103 Cash, if applicable, COFINA
 Cash Available for Distribution, COFINA Bonds and Rounding Amount Cash, if necessary)
 allocable to such electing holders of Allowed Senior COFINA Bond Claims (Ambac) and (3) the
 benefit of the Ambac Insurance Policy. The COFINA Bonds shall consist of Taxable COFINA
 Bonds and Tax-Exempt COFINA Bonds. Notwithstanding the deposit of such holders’ Ambac
 Insured Bonds in the Ambac Trust, such Ambac Insured Bonds shall not be cancelled and all
 rights and remedies under and in accordance with such Ambac Insured Bonds, the Bond

                                                  42
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                      Desc: Main
                          Document Page 54 of 92



 Resolution (other than with respect to the payment and other obligations of COFINA and the
 Commonwealth thereunder) and the Ambac Insurance Policy shall be preserved and remain in
 full force and effect. The Ambac Trust shall be the owner of any Ambac Insured Bonds
 deposited therein, provided that all rights with respect to such Ambac Insured Bonds shall be
 subject to the terms of the trust agreement.

 Upon deposit of the Ambac Trust Assets, the trustee shall issue two series of Ambac Certificates,
 (i) a series with a mandatory redemption date of August 1, 2047, and (ii) a series with a
 mandatory redemption date of August 1, 2054 (“Series 2054”), to the holders of Allowed Senior
 COFINA Bond Claims (Ambac) that validly elected to receive the Ambac Certificates. The
 Ambac Certificates shall provide for payments in accordance with the scheduled sinking fund
 payments with respect to Series 2054 and the maturity date of such holder’s Ambac Insured
 Bonds. The scheduled sinking fund payment dates for Series 2054 shall be August 1, 2048,
 August 1, 2049, August 1, 2050, August 1, 2051, August 1, 2052 and August 1, 2053. Subject to
 the terms of the trust agreement, each series of Ambac Certificates shall bear unique CUSIPs and
 be freely tradeable and transferrable through The Depository Trust Company. Each class of
 Ambac Certificates will have its own class accretion schedule that sets forth the accreted
 payment amounts as of any date. Ambac shall not insure any payments on the Ambac
 Certificates, shall not be required to pay any default or other interest amounts with respect to the
 Ambac Insured Bonds, and is only required to pay its obligations under the Ambac Insurance
 Policy as provided therein and in the trust agreement. In addition, Ambac shall have the right,
 but not any obligation, to make payments in whole or in part under the Ambac Insurance Policy
 prior to the applicable mandatory redemption date for a class of Ambac Certificates. To the
 extent Ambac determines, in its sole discretion, to make any earlier payment under the Ambac
 Insurance Policy, upon such payment, the remaining obligations of Ambac with respect to such
 Ambac Insurance Policy shall result in the recalibration of the related class accretion schedules.
 Upon repayment or redemption of all Ambac Certificates, Ambac shall be entitled to receive all
 remaining assets in the Ambac Trust.

 Other than with respect to their differing mandatory redemption dates and accretion schedules,
 each class of the Ambac Certificates shall have substantially the same terms and entitle the
 holder thereof to its pro rata share of distributions made by the Ambac Trust. Each distribution
 on the Ambac Certificates (whether or not taxable to a holder or reduced by withholding or tax
 payments made by the Ambac Trust) shall reduce the related obligation of Ambac under the
 Ambac Insurance Policy, shall be deemed to reduce the amount outstanding on the Ambac
 Insured Bonds, and shall result in the recalibration of the related class accretion schedules. The
 Ambac Trust will distribute all payments received on the Tax-Exempt COFINA Bonds to
 holders of the Ambac Certificates promptly following receipt thereof in accordance with the trust
 agreement. Ambac may elect, in its sole discretion, to distribute from time to time payments
 received on account of the Taxable COFINA Bonds to holders of the Ambac Certificates or to
 reinvest such payments in investments permitted by the terms of the trust agreement; provided,
 however, that the Ambac Trust shall have no obligation to distribute such payments prior to the
 applicable mandatory redemption date for a series. In addition, Ambac may, in its sole and
 absolute discretion, direct the Ambac Trust to sell all or any portion of the COFINA Bonds held
 by the Ambac Trust in accordance with the terms of the trust agreement and thereafter, if such
 COFINA Bonds are Tax-Exempt COFINA Bonds, direct the Ambac Trust to distribute the
 proceeds of such sale to the holders of the Ambac Certificates and, if such COFINA Bonds are

                                                 43
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                      Desc: Main
                          Document Page 55 of 92



 Taxable COFINA Bonds, direct the Ambac Trust to distribute the proceeds of such sale to the
 holders of Ambac Certificates or retain the proceeds of such sale in the Ambac Trust. Ambac
 may, in its sole and absolute discretion, distribute Ambac Trust Assets held by the Ambac Trust
 to the holders of the Ambac Certificates, at a market value calculated in accordance with the
 terms and provisions of the trust agreement, and, upon such distribution, the applicable portion
 of each holder’s Ambac Certificates shall be cancelled. Ambac shall be deemed the sole holder
 of the COFINA Bonds in the Ambac Trust with respect to voting, amendment, acceleration,
 events of default and election and direction of rights and remedies, including, without limitation,
 in connection with insolvency proceedings. Taxes on any investment earnings, shall be paid out
 of the Ambac Trust Assets.

 The Ambac Trust agreement will provide that (a) all rights of a holder of COFINA Bonds held
 by the Ambac Trust (whether as to amendments and consents, direction of remedies or
 otherwise) shall be exercisable solely by Ambac and no holder of the Ambac Certificates shall be
 entitled to any right with respect to the COFINA Bonds and (b) Ambac may, at its option, elect
 to direct a distribution of a proportional percentage of the underlying COFINA Bonds to
 individual holders of Ambac Certificates upon the release of such holder’s claims on the related
 Ambac Insurance Policy and against the Ambac Trust. Such distribution and release shall not
 give rise to any other holder of Ambac Certificates asserting a right to receive the same
 treatment.

 On the Effective Date, unless otherwise agreed to by Ambac, the position at the Depository Trust
 Company with respect to each Ambac Insured Bond deposited, or deemed deposited, into the
 Ambac Trust pursuant to the terms and provisions of the Plan shall become zero and the Ambac
 Trust shall be deemed the sole holder of such Ambac Insured Bonds.

                 (b)    Costs and Expenses: All fees, costs and expenses incurred in connection
 with transactions contemplated pursuant to Section 17.1 hereof, including, without limitation,
 fees and expenses associated with the formation and maintenance of the Ambac Trust and the
 fees and expenses incurred by the trustee of the Ambac Trust, shall be the sole obligation and
 responsibility of Ambac (solely with respect to the formation of the Ambac Trust) and the
 Ambac Trust, and not COFINA or Reorganized COFINA, as the case may be, and the failure of
 Ambac (solely with respect to the formation of the Ambac Trust) or the Ambac Trust to satisfy
 any such obligations shall release and discharge COFINA and Reorganized COFINA, as the case
 may be, from fulfilling any further obligations in connection with the Ambac Trust.

          17.2 Terms of National Trusts: In the event that National declines to exercise the
 National Election, on or prior to the Effective Date, the National Trust shall be formed on behalf
 of, and for the sole benefit of beneficial holders of, National Insured Bonds that (a) elect to
 receive National Certificates on the Ballot/Election Form distributed in connection with the
 solicitation of acceptances and rejections of the Plan and (b) have not otherwise agreed to
 commute the National Insurance Policies on or prior to the Effective Date. The trustee of the
 National Trust shall be an entity that is a nationally recognized U.S. domiciled financial
 institution and fiduciary regularly acting as trustee in the municipal finance market. On the
 Effective Date, the National Trust Assets, consisting of (1) the National Insured Bonds that have
 not been commuted, (2) other than the portion distributable to commuting holders, all of the
 Senior COFINA Bond Distribution in respect of Senior COFINA Bond Claims (National) in

                                                 44
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 56 of 92



 accordance with the terms of Section 7.1 (b) hereof, (3) the National Insurance Policies and (4)
 the consideration to be distributed to National in accordance with Section 3.3 hereof, shall be
 deposited into the National Trust. The costs, including fees and expenses and any obligation
 arising under the Term Sheet or the Plan, associated with the formation and operation of the
 National Trust shall be paid out of the National Trust Assets. Notwithstanding the deposit
 therein, the National Insured Bonds shall not be cancelled and all rights and remedies under and
 in accordance with National Insured Bonds, the Bond Resolution (other than with respect to the
 payment obligations of COFINA) and the National Insurance Policies shall be preserved and
 remain in full force and effect. Upon deposit of the National Trust Assets, on a pro rata basis,
 the trust shall issue one or more series of National Certificates to the beneficial holders of Senior
 COFINA Bond Claims (National) whose allocable shares of the Senior COFINA Bond
 Distribution are deposited into the National Trust.

 The National Certificates shall entitle a National Certificate Holder to its pro rata share of value
 in and any distribution of Cash from the respective National Trust, which distribution shall (1) in
 all cases, occur promptly upon receipt thereof by the National Trust and (2) automatically reduce
 the obligation outstanding under the National Insurance Policies as of the date of such
 distribution to National Certificate Holders in the amount of such distribution. For the avoidance
 of doubt, National’s obligation to pay the scheduled Compounded Amount of the underlying
 National Insured Bonds as and when due shall, in all cases, continue to compound as scheduled
 to the date that the trustee of the National Trust actually makes payment to the National
 Certificate Holders. Each series of National Certificates shall bear unique CUSIPs and shall be
 freely tradable and transferable through the Depository Trust Company.

                 (a)     Sale of COFINA Bonds: So long as National (i) is not in default under
 the National Insurance Policies and (ii) has not agreed to and has not become subject to
 regulatory supervision, rehabilitation or liquidation (or similar) proceedings, National (a) shall be
 deemed the sole holder of the COFINA Bonds in the National Trust with respect to voting,
 amendment, acceleration, events of default and election and direction of rights and remedies,
 including, without limitation, in connection with insolvency proceedings, and (b) may, at any
 time prior to dissolution of the National Trust, deliver or direct the trustee to deliver a Sale
 Notice to all National Certificate Holders, through Depository Trust Company or any similar
 means, setting forth its intention to sell, for Cash, all or a portion of the COFINA Bonds held in
 the National Trust. The Sale Proceeds of such a sale shall be promptly distributed to National
 Certificate Holders on a pro rata basis and, upon such distribution, shall automatically reduce the
 obligation outstanding under the National Insurance Policies as of the date and in the amount of
 such distribution to National Certificate Holders; provided, however, that each National
 Certificate Holder may elect (within a reasonable specified period of time to be negotiated) after
 delivery of the Sale Notice to receive its pro rata share of the COFINA Bonds for sale pursuant
 to the Sale Notice in lieu of its allocable share of the Sale Proceeds and, in accordance with such
 election, the obligation outstanding under the National Insurance Policies as of the date of such
 distribution shall be reduced automatically in an amount equal to the portion of the Sale Proceeds
 that would have been attributable to such COFINA Bonds if sold. Documentation related to the
 National Trust shall (i) be negotiated in good faith, (ii) be in form and substance acceptable to
 National and reasonably acceptable to the holders of National Insured Bonds that accepted the
 restructuring terms proposed by the Oversight Board and AAFAF on August 7, 2018 and are
 party to the Plan Support Agreement, and (iii) be included in a Plan Supplement.

                                                  45
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 57 of 92



 To the extent that a holder of a Senior COFINA Bond Claim (National) agrees to commute the
 National Insurance Policies on or prior to the Effective Date, such holder shall receive a
 distribution from National and the holder thereof shall have no rights with respect to the National
 Insurance Policies, the National Trust or the National Certificates.

                 (b)     Costs and Expenses: All fees, costs and expenses incurred in connection
 with transactions contemplated pursuant to Section 17.2 hereof, including, without limitation,
 fees and expenses associated with the formation and maintenance of the National Trust and the
 fees and expenses incurred by the trustee of the National Trust, shall be the sole obligation and
 responsibility of National and not COFINA or Reorganized COFINA, as the case may be, and
 failure of National or the National Trust to satisfy any such obligations shall release and
 discharge COFINA and Reorganized COFINA, as the case may be, from fulfilling any further
 obligations in connection with the National Trust.

        17.3 Existing Securities/BNYM Obligations: Notwithstanding anything contained in
 the Plan to the contrary, including, without limitation, the provisions of this Article XVII,
 BNYM shall have no duties or responsibilities with respect to any Existing Securities that may
 be held by the Trusts from and after the Effective Date.

                                          ARTICLE XVIII

       TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

          18.1 Rejection or Assumption of Remaining Executory Contracts and Unexpired
 Leases: Pursuant to sections 365(b)(2) of the Bankruptcy Code, applicable to the Title III Case
 pursuant to Section 301 of PROMESA, and subject to the provisions of Sections 18.5 and 18.7
 hereof, all Executory Contracts and Unexpired Leases that exist between COFINA and any
 Entity, and which have not expired by their own terms on or prior to the Confirmation Date, shall
 be deemed rejected by COFINA as of the Effective Date, except for any Executory Contract and
 Unexpired Lease that (a) has been assumed and assigned or rejected pursuant to an order of the
 Title III Court entered prior to the Effective Date or (b) is specifically designated as a contract or
 lease to be assumed or assumed and assigned on the schedules to the Plan Supplement; provided,
 however, that COFINA reserves the right, on or prior to the Confirmation Date, to amend such
 schedules to delete any Executory Contract and Unexpired Lease therefrom or add any
 Executory Contract and Unexpired Lease thereto, in which event such Executory Contract(s) and
 Unexpired Lease(s) shall be deemed to be, as the case may be, either rejected, assumed, or
 assumed and assigned as of the Effective Date. COFINA shall serve (y) notice of any Executory
 Contract and Unexpired Lease to be assumed or assumed and assigned through the operation of
 this Section 18.1, by including a schedule of such contracts and leases in the Plan Supplement
 and (z) notice of any Executory Contract and Unexpired Lease to be rejected through the
 operation of this Section 18.1, by serving a separate notice to the relevant counterparties to such
 agreements. To the extent there are any amendments to such schedules, COFINA shall provide
 notice of any such amendments to the parties to the Executory Contract and Unexpired Lease
 affected thereby. The listing of a document on the schedules to the Plan Supplement or in any
 separate notice shall not constitute an admission by COFINA that such document is an Executory
 Contract and Unexpired Lease or that COFINA has any liability thereunder.


                                                  46
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                        Desc: Main
                          Document Page 58 of 92



        18.2 Approval of Rejection or Assumption of Executory Contracts and Unexpired
 Leases: Entry of the Confirmation Order by the Title III Court shall constitute approval,
 pursuant to sections 365(a) and 1123(b)(2) of the Bankruptcy Code, of the rejection, assumption,
 or assumption and assignment, as the case may be, of an Executory Contract and an Unexpired
 Lease pursuant to Section 18.1 of the Plan.

         18.3 Inclusiveness: Unless otherwise specified on the schedules to the Plan
 Supplement, each Executory Contract and Unexpired Lease listed or to be listed therein shall
 include any and all modifications, amendments, supplements, restatements, or other agreements
 made directly or indirectly by any agreement, instrument, or other document that in any manner
 affects such Executory Contract and Unexpired Lease, without regard to whether such
 agreement, instrument, or other document is listed on such schedule.

         18.4 Cure of Defaults: Except to the extent that different treatment has been agreed to
 by the non-debtor party or parties to any Executory Contract and Unexpired Lease to be assumed
 or assumed and assigned pursuant to Section 18.1 of the Plan, COFINA shall, pursuant to the
 provisions of section 1123(a)(5)(G) and 1123(b)(2) of the Bankruptcy Code and consistent with
 the requirements of section 365 of the Bankruptcy Code, within at least twenty (20) days prior to
 the Confirmation Hearing, file with the Title III Court and serve by first class mail on each non-
 COFINA party to such Executory Contracts and Unexpired Leases to be assumed pursuant to
 Section 18.1 of the Plan, a notice, which shall list the cure amount as to each executory contract
 or unexpired lease to be assumed or assumed and assigned. The parties to such Executory
 Contracts and Unexpired Leases will have twenty (20) days from the date of service of such
 notice to file and serve any objection to the cure amounts listed by COFINA. If there are any
 objections filed, the Title III Court shall hold a hearing on a date to be set by the Title III Court.
 Notwithstanding Section 18.1 of the Plan, COFINA shall retain its rights to reject any of its
 Executory Contracts and Unexpired Leases that are subject to a dispute concerning amounts
 necessary to cure any defaults through the Effective Date.

         18.5 Insurance Policies: Subject to the terms and provisions of Section 18.7 hereof,
 each of COFINA’s Insurance Policies and any agreements, documents, or instruments relating
 thereto, are treated as Executory Contracts under the Plan. Unless otherwise provided in the Plan
 and to the extent executory in nature, on the Effective Date, COFINA shall, first, deposit all
 Insurance Policies and any agreements, documents and instruments relating to coverage of all
 insured Bond Claims into the applicable Trusts and, second, be deemed to have rejected all such
 Insurance Policies and any agreements, documents, and instruments relating to coverage of all
 insured Claims; provided, however, that, such rejection shall not, and shall not be construed to,
 discharge or relieve any of Ambac, Assured or National with respect to their respective
 obligations to holders of Allowed Senior COFINA Bond Claims (Ambac), Allowed Junior
 COFINA Bond Claims (Assured) and Allowed Senior COFINA Bond Claims (National),
 respectively, that have elected to receive the relevant trust certificates hereunder pursuant to the
 applicable Insurance Policy. For the avoidance of doubt, nothing contained herein shall
 prejudice any subrogation, reimbursement, or similar rights of an insured against the applicable
 Trust or the assets thereof.

       18.6 Rejection Damage Claims: If the rejection of an Executory Contract and
 Unexpired Lease by COFINA hereunder results in damages to the other party or parties to such

                                                  47
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 59 of 92



 contract or lease, any claim for such damages, if not heretofore evidenced by a filed proof of
 Claim, shall be forever barred and shall not be enforceable against COFINA, or its properties or
 agents, successors, or assigns, including, without limitation, Reorganized COFINA, unless a
 proof of Claim is filed with the Title III Court and served upon attorneys for the Oversight Board
 and Reorganized COFINA, as the case may be, on or before thirty (30) days after the late to
 occur of (i) the Confirmation Date, and (ii) the date of entry of an order by the Title III Court
 authorizing rejection of a particular Executory Contract and Unexpired Lease.

          18.7 Indemnification and Reimbursement Obligations: For purposes of the Plan,
 (i) to the extent executory in nature, the obligations of COFINA, including, without limitation,
 directors and officers insurance policies, to indemnify and reimburse its directors or officers that
 were directors or officers, respectively, on or prior to the Petition Date shall be deemed assumed
 as of the Effective Date and (ii) indemnification obligations of COFINA arising from conduct of
 officers and directors during the period from and after the Petition Date shall be Administrative
 Expense Claims.

         18.8 Nonoccurrence of Effective Date: In the event that the Effective Date does not
 occur, the Title III Court shall retain jurisdiction with respect to any request to extend the
 deadline for assuming or rejecting Executory Contracts and Unexpired Leases pursuant to
 section 365(d)(4) of the Bankruptcy Code, unless such deadline(s) have expired.

         18.9 Reservation of Rights: Nothing contained in the Plan or the Plan Supplement
 shall constitute an admission by COFINA, Reorganized COFINA or any other party that any
 such contract or lease is in fact an Executory Contract and Unexpired Lease or that COFINA has
 any liability thereunder. If there is a dispute regarding whether a contract or lease is or was
 executory or unexpired at the time of assumption, COFINA or Reorganized COFINA shall have
 forty-five (45) days following entry of a Final Order resolving such dispute to alter their
 treatment of such contract or lease.

                                          ARTICLE XIX

                        PROVISIONS GOVERNING DISTRIBUTIONS

        19.1 Time and Manner of Distribution: Except as otherwise provided herein,
 including, without limitation, in Articles X and XVII hereof, distributions under the Plan shall be
 made to each holder of an Allowed Claim as follows:

                 (a)     Distributions to Holders of Bond Claims: Except as otherwise provided
 herein, within ten (10) Business Days following the Effective Date, and subject to the terms and
 provisions of Section 19.5 hereof regarding distributions to Ambac and Whitebox on account of
 the pendency of the Ambac Action and the Whitebox Actions, respectively, the Disbursing
 Agent shall distribute, or cause to be distributed, to each holder of an Allowed Senior COFINA
 Bond Claim, an Allowed Senior COFINA Bond Claim (Ambac), an Allowed Senior COFINA
 Bond Claim (National), an Allowed Senior COFINA Bond Claim (Taxable Election), an
 Allowed Junior COFINA Bond Claim, an Allowed Junior COFINA Bond Claim (Assured) and
 an Allowed Junior COFINA Bond Claim (Taxable Election), in each case consistent with the
 terms hereof, such Creditor’s Pro Rata Share, if any, of Section 103 Cash, COFINA Cash


                                                  48
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                         Desc: Main
                          Document Page 60 of 92



 Available for Distribution, Rounding Amount Cash, Taxable Election Cash, Consummation
 Costs, if applicable, and COFINA Bonds, together with, where applicable, the consideration
 described in Sections 6.1 and 7.1 hereof, or, in lieu of all of the foregoing, certificates in the
 applicable Trust.

                (b)    Distributions with Respect to GS Derivative Claim: Within (10)
 Business Days following the Effective Date, and solely to the extent that the holder of the
 Allowed GS Derivative Claim is entitled to a distribution in excess of the value of the collateral
 retained by such holder, the Disbursing Agent shall distribute, or cause to be distributed, to the
 holder of the Allowed GS Derivative Claim, such Creditor’s share, if any, of Section 103 Cash,
 COFINA Cash Available for Distribution, Rounding Amount Cash and COFINA Bonds.

                (c)     Distributions with Respect to General Unsecured Claims: Within ten
 (10) Business Days following the Effective Date, and solely to the extent that Class 9 votes to
 accept the Plan, the Disbursing Agent shall distribute or cause to be distributed to each holder of
 an Allowed General Unsecured Claim such Creditor’s Pro Rata Share, if any, of One Hundred
 Thousand Dollars ($100,000.00).

                 (d)     Distribution of Cash to Holders of Certain Other Claims: Except as
 otherwise provided herein, on or as soon as practicable after the later of (i) the Effective Date
 and (ii) the date on which such Claim becomes an Allowed Claim, the Disbursing Agent shall
 distribute, or cause to be distributed, to each holder of an Allowed Administrative Expense
 Claim, Cash in the amount of such Allowed Claim.

         19.2 Timeliness of Payments: Any payment or distribution to be made pursuant to
 the Plan shall be deemed to be timely made if made within ten (10) days after the date specified
 in the Plan. Whenever any distribution to be made under this Plan shall be due on a day other
 than a Business Day, such distribution shall instead be made, without interest, on the
 immediately succeeding Business Day, but shall be deemed to have been made on the date due,
 including, without limitation, deeming distributions made pursuant to Section 19.1(a) hereof to
 have been made on the Effective Date.

          19.3 Distributions by the Disbursing Agent: Except as otherwise provided herein,
 all distributions under the Plan shall be made by the Disbursing Agent. The Disbursing Agent
 shall be deemed to hold all property to be distributed hereunder in trust for the Entities entitled to
 receive the same. The Disbursing Agent shall not hold an economic or beneficial interest in such
 property.

         19.4 Manner of Payment under the Plan: Unless the Entity receiving a payment
 agrees otherwise, any payment in Cash to be made by the Disbursing Agent shall be made, at the
 election of the payor, by check drawn on a domestic bank or by wire transfer from a domestic
 bank; provided, however, that no Cash payment shall be made to a holder of an Allowed Claim
 until such time, if ever, as the amount payable thereto is equal to or greater than Ten Dollars
 ($10.00).

       19.5 Delivery of Distributions: Subject to the provisions of Rule 9010 of the
 Bankruptcy Rules, and except as provided herein, distributions and deliveries to holders of

                                                   49
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                    Desc: Main
                          Document Page 61 of 92



 Allowed Claims shall be made at the address of each such holder as set forth on the Schedules
 filed with the Court, unless superseded by the address set forth on proofs of Claim filed by such
 holders, or at the last known address of such holder if no proof of Claim is filed or if COFINA
 has been notified in writing of a change of address; provided, however, that initial distributions
 of Cash by the Disbursing Agent for the benefit of holders of Allowed Senior COFINA Bond
 Claims, Allowed Senior COFINA Bond Claims (Ambac), Allowed Senior COFINA Bond
 Claims (National), Allowed Bond Claims (Taxable Election), Allowed Junior COFINA Bond
 Claims, Allowed Junior COFINA Bond Claims (Assured) and Allowed Junior COFINA Bond
 Claims (Taxable Election), as applicable, shall be made to BNYM, as trustee for the Existing
 Securities (or BNYM’s designee) under the respective governing documents for such
 obligations; and, provided, further, that the Disbursing Agent may make distributions of
 Consummation Costs in Cash to a Consummation Cost Party in a manner mutually agreed upon
 between the Consummation Cost Party and the Disbursing Agent. BNYM (or BNYM’s
 designee) shall, in turn, in accordance with the terms and provisions of the Plan, distribute and
 deliver Cash and COFINA Bonds, as applicable, to Bondowners as of the Distribution Record
 Date, in the manner provided for in the applicable governing documents; provided, however,
 that, to the extent a holder of a Bond Claim elects to receive the trust certificate hereunder,
 BNYM will deposit such holder’s distribution into the applicable Trust. BNYM may
 conclusively rely upon the distribution instructions received from COFINA or its agents with
 respect to the delivery of distributions in accordance with the terms and provisions of this
 Section 19.5, including the contra-CUSIP positions and escrow positions set up by COFINA or
 its agents with the Depository Trust Company, and BNYM shall close and terminate the original
 CUSIPs after making initial distributions of COFINA Cash Available for Distribution,
 Section 103 Cash and Rounding Cash Amount and shall have no further distribution obligations
 thereafter. BNYM shall not be required to give any bond or surety or other security for the
 performance of its duties, unless otherwise ordered by the Title III Court. BNYM shall only be
 required to make the distributions and deliveries described in this Section 19.5 and shall only be
 required to make such distributions and deliveries in accordance with the terms of the
 Confirmation Order and the Plan and shall have no liability for actions reasonably taken in
 accordance with the Confirmation Order, the Plan or in reasonable reliance upon information
 provided to BNYM by COFINA or its agents in accordance with the Confirmation Order, the
 Plan or in connection with distributions to be made hereunder and thereunder, except for
 liabilities resulting from its own gross negligence or willful misconduct. Notwithstanding the
 foregoing, all distributions are subject to the Trustee Rights; provided, however, that,
 notwithstanding the foregoing or anything contained in the Plan to the contrary, including,
 without limitation, Sections 19.6(iii) and 19.13 hereof, except as set forth in the following
 proviso, BNYM shall not exercise Trustee Rights on account of Trustee Claims that may arise
 from and after the Effective Date and no distribution to be made pursuant to the Plan, either
 through the Disbursing Agent or BNYM as trustee of the Existing Securities, shall be withheld as
 a result of, or on account of, the claims, causes of action and damages being asserted, or which
 could have been asserted, in the Ambac Action and the Whitebox Actions; and provided, further,
 that, with respect to Trustee Claims that may arise from and after the Effective Date as a result
 of, or on account of, the Ambac Action and the Whitebox Actions, respectively, at the
 Confirmation Hearing, the Title III Court shall determine (a) what amount, if any, shall be either
 (i) withheld by the Disbursing Agent or BNYM as trustee for the Existing Securities from
 distributions to be made to Ambac and Whitebox or (ii) posted by Ambac and Whitebox as


                                                50
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                      Desc: Main
                          Document Page 62 of 92



 collateral for the reimbursement of fees and expenses which may be incurred by BNYM in
 connection with the defense of the Ambac Action and the Whitebox Actions, and (b) whether
 BNYM shall be reimbursed by Ambac and Whitebox for the incurrence of any such fees and
 expenses from either the holdback amount or collateral posted and referred to in the preceding
 subsection (a) on a current basis or upon entry of a Final Order in connection with the Ambac
 Action and the Whitebox Actions, in each case, such determination and the fulfillment of any
 obligations of Ambac and Whitebox as a result thereof shall satisfy in full any obligations of
 COFINA and any rights of BNYM under the Bond Resolution and applicable law with regard to
 the payment of BNYM’s fees and expenses and indemnification arising from or relating to the
 Ambac Action or the Whitebox Actions. COFINA, its agents and servicers, the Disbursing
 Agent and BNYM shall have no obligation to recognize any transfer of Bond Claims after the
 Distribution Record Date; provided, however, that COFINA Bonds will be transferable and
 recognized if made in accordance with the terms and conditions of the New Bond Indenture.

         19.6 Cancellation of Notes, Instruments, Certificates, and Other Documents:
 Except (a) as provided in any contract, instrument or other agreement or document entered into
 or delivered in connection with the Plan, (b) for purposes of evidencing a right to distribution
 under the Plan, or (c) as specifically provided otherwise in the Plan (including any rejection of
 Executory Contracts or Unexpired Leases pursuant to Section 18.1 hereof), on the Effective
 Date, the “Senior” and “First Subordinate” Existing Securities and all instruments and
 documents related thereto will be deemed automatically cancelled, terminated and of no further
 force or effect against COFINA without any further act or action under any applicable
 agreement, law, regulation, order or rule, with COFINA and BNYM having no continuing
 obligations or duties and responsibilities thereunder and the obligations of the parties to
 COFINA, as applicable, under the Existing Securities and all instruments and documents related
 thereto shall be discharged; provided, however, that, notwithstanding anything contained herein
 to the contrary, the “Senior” and “First Subordinate” Existing Securities and such other
 instruments and documents shall continue in effect solely (i) to allow the Disbursing Agent to
 make any distributions as set forth in the Plan and to perform such other necessary administrative
 or other functions with respect thereto, (ii) to allow holders of Allowed Bond Claims to receive
 distributions in accordance with the terms and provisions of the Plan, (iii) for any trustee, agent,
 contract administrator or similar entity under all instruments and documents related thereto,
 including BNYM, to perform necessary functions, including making distributions, in accordance
 with the Plan and to have the benefit of all the rights and protections and other provisions of such
 instruments and documents, as applicable, and all other related agreements, including, without
 limitation, the right to payment of the Trustee Claims and the Trustee Rights, (iv) to set forth the
 terms and conditions applicable to parties to such documents and instruments other than
 COFINA, (v) to allow BNYM to appear in the Title III Case or any other proceeding in which
 BNYM is or becomes a party with respect to clauses (i) through (iv) above, as applicable, or
 otherwise in connection with BNYM’s role as trustee under the Bond Resolution, or (vi) as may
 be necessary to preserve any claims under the respective Insurance Policies by (1) the applicable
 holders of Allowed Senior COFINA Bond Claims (Ambac) that validly elected to receive
 Ambac Certificates or (2) the applicable holders of Allowed Senior COFINA Bond Claims
 (National) that validly elected to receive National Certificates; and, provided, further, that
 BNYM shall have no duties or responsibilities with respect to any Existing Securities that may
 be held by the Trusts from and after the Effective Date. Notwithstanding the foregoing, and
 except as otherwise expressly provided in the Plan, such bonds or bond documents as remain

                                                 51
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                      Desc: Main
                          Document Page 63 of 92



 outstanding shall not form the basis for the assertion of any Claim against COFINA or
 Reorganized COFINA, as the case may be.

        19.7    Undeliverable/Reserved Distributions:

                 (a)     Holding of Undeliverable Distributions by the Disbursing Agent: If
 any distribution to any holder is returned to the Disbursing Agent as undeliverable, no further
 distribution shall be made to such holder unless and until the Disbursing Agent is notified, in
 writing, of such holder’s then-current address. Subject to the terms and provision of Section
 19.7(b) hereof, undeliverable distributions shall remain in the possession of the Disbursing Agent
 until such time as a distribution becomes deliverable. All Entities ultimately receiving
 previously undeliverable Cash shall not be entitled to any interest or other accruals of any kind.
 Nothing contained in the Plan shall require the Disbursing Agent to attempt to locate any holder
 of an Allowed Claim.

                  (b)    Failure to Claim Undeliverable Distributions: If (i) a check is sent, by
 the Disbursing Agent to a holder in respect of distributions and such check is not negotiated
 within one hundred twenty (120) days following the date on which such check was issued, or (ii)
 any other form of distribution to a holder is otherwise undeliverable, the Disbursing Agent (or its
 duly authorized agent) shall, on or prior to the date that is one hundred eighty (180) days from (i)
 the Effective Date, with respect to all Allowed Claims as of the Effective Date, and (ii) the date
 that a distribution is made with respect to any Disputed Claim that becomes an Allowed Claim
 subsequent to the Effective Date, file a list with the Title III Court setting forth the names of
 those Entities for which distributions have been made hereunder that have not been negotiated or
 have been returned as undeliverable as of the date thereof. Any holder of an Allowed Claim on
 such list that does not identify itself and assert its rights pursuant to the Plan to receive a
 distribution within six (6) months from the date so listed shall have its entitlement to such
 undeliverable distribution discharged and shall be forever barred from asserting any entitlement
 pursuant to the Plan, against Reorganized COFINA, the trustees, or their respective
 professionals, agents, or property, and any (1) Cash in the possession of the Disbursing Agent or
 the trustee with respect to Existing Securities, as the case may be, shall be released to
 Reorganized COFINA for use to discharge operating expenses of Reorganized COFINA and (2)
 COFINA Bonds in the possession of the Disbursing Agent or trustee with respect to Existing
 Securities, as the case may be, shall be released to Reorganized COFINA for cancellation or
 deposit into the treasury of Reorganized COFINA, as determined by Reorganized COFINA in its
 sole and absolute discretion.

         19.8 Withholding and Reporting Requirements: Any party issuing any instrument
 or making any distribution under the Plan shall comply with all applicable withholding and
 reporting requirements imposed by any United States federal, state or local tax law or Tax
 Authority, and all distributions under the Plan shall be subject to any such withholding or
 reporting requirements. Notwithstanding the above, each holder of an Allowed Claim that is to
 receive a distribution under the Plan shall have the sole and exclusive responsibility for the
 satisfaction and payment of any Taxes imposed on such holder by any governmental unit,
 including income, withholding and other tax obligations, on account of such distribution. Any
 party issuing any instrument or making any distribution under the Plan has the right, but not the
 obligation, to not make a distribution until such holder has made arrangements satisfactory to

                                                 52
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                        Desc: Main
                          Document Page 64 of 92



 such issuing or disbursing party for payment of any such withholding tax obligations and, if any
 party issuing any instrument or making any distribution under the Plan fails to withhold with
 respect to any such holder’s distribution, and is later held liable for the amount of such
 withholding, the holder shall reimburse such party. The Disbursing Agent may require, as a
 condition to the receipt of a distribution, that the holder complete the appropriate Form W-8 or
 Form W-9, as applicable to each holder. If the holder fails to comply with such a request within
 one year, such distribution shall be deemed an Unclaimed Distribution.

         19.9 Time Bar to Cash Payments: Checks issued by the Disbursing Agent on
 account of Allowed Claims shall be null and void if not negotiated within one hundred twenty
 (120) days from and after the date of issuance thereof. Requests for reissuance of any check
 shall be made directly to the Disbursing Agent by the holder of the Allowed Claim with respect
 to which such check originally was issued. Any claim in respect of such a voided check shall be
 made on or before the later of (i) the first (1st) anniversary of the Effective Date or (ii) ninety
 (90) days after the date of issuance of such check, if such check represents a final distribution
 hereunder on account of such Claim. After such date, all Claims in respect of voided checks
 shall be discharged and forever barred and the Disbursing Agent shall retain all monies related
 thereto for the sole purpose of redistribution to holders of Allowed Claims in accordance with
 the terms and provisions hereof.

        19.10 Distributions After Effective Date: Distributions made after the Effective Date
 to holders of Claims that are not Allowed Claims as of the Effective Date, but which later
 become Allowed Claims, shall be deemed to have been made in accordance with the terms and
 provisions of Article XIX of the Plan.

         19.11 Setoffs: Except as otherwise provided in the Plan or in the Confirmation Order,
 the Disbursing Agent may, pursuant to applicable bankruptcy or non-bankruptcy law, set off
 against any Allowed Claim and the distributions to be made pursuant to the Plan on account
 thereof (before any distribution is made on account of such Claim by the Disbursing Agent), the
 claims, rights, and causes of action of any nature that COFINA or Reorganized COFINA may
 hold against the holder of such Allowed Claim; provided, however, that neither the failure to
 effect such a setoff nor the allowance of any Claim hereunder shall constitute a waiver or release
 by COFINA or Reorganized COFINA of any such claims, rights, and causes of action that
 COFINA or the Reorganized COFINA may possess against such holder; and, provided, further,
 that nothing contained herein is intended to limit the ability of any Creditor to effectuate rights of
 setoff or recoupment preserved or permitted by the provisions of sections 553, 555, 559, or 560
 of the Bankruptcy Code or pursuant to the common law right of recoupment; and, provided,
 further, that nothing in this Section 19.11 shall affect the releases and injunctions provided in
 Article XXX of the Plan.

         19.12 Allocation of Plan Distributions Between Principal and Interest: To the
 extent that any Allowed Claim entitled to a distribution under the Plan consists of indebtedness
 and other amounts (such as accrued but unpaid interest thereon), such distribution shall be
 allocated first to the principal amount of the Claim (as determined for federal income tax
 purposes) and then, to the extent the consideration exceeds the principal amount of the Claim, to
 such other amounts; provided, however, that COFINA or Reorganized COFINA’s treatment of


                                                  53
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 65 of 92



 any distributions for its tax purposes will not be binding on any Creditor as to the treatment of
 such distributions for any regulatory, tax or other purposes.

         19.13 Payment of Trustee Fees and Expenses: No later than five (5) days prior to the
 Effective Date, BNYM shall provide invoice summaries and supporting documentation (subject
 to redaction to preserve attorney-client privilege) to the Oversight Board and AAFAF, on behalf
 of COFINA, relating to all incurred and unpaid Trustee Claims as of such date, together with an
 estimate of Trustee Claims to be incurred from such date up to and including the Effective Date.
 Within three (3) Business Days thereof, COFINA shall notify BNYM, in writing, of any dispute
 relating to the reasonableness of any portion of the Trustee Claims. Any portion of the Trustee
 Claims that is not disputed by COFINA shall be paid by COFINA on the Effective Date without
 further application to, or approval of, the Title III Court; provided, however, that, upon
 notification of a dispute, BNYM (a) shall submit an application to the Title III Court seeking a
 resolution of such dispute by the Title III Court or (b) waive, in writing, payment of such
 disputed amount; and, provided, further, that, upon the entry of an order of the Title III Court
 authorizing payment of any disputed amount, upon notice and a hearing, unless otherwise stayed,
 COFINA shall pay such allowed portion of such Trustee Claims. To the extent any Trustee
 Claim is incurred from and after the Effective Date and does not relate to either the Ambac
 Action or the Whitebox Actions, Reorganized COFINA shall be responsible and, upon
 presentation of supporting documentation in form and substance satisfactory to Reorganized
 COFINA (subject to redaction to preserve attorney-client privilege), shall satisfy such post-
 Effective Date Trustee Claims; provided, however, that, under no circumstance shall the
 Disbursing Agent, COFINA or Reorganized COFINA be responsible for any indemnification
 obligation, cost, or expense of BNYM associated with the gross negligence, intentional fraud or
 willful misconduct of BNYM in making any distribution pursuant to the Plan.
                                           ARTICLE XX

                      RIGHTS AND POWERS OF DISBURSING AGENT

         20.1 Exculpation: From and after the Effective Date, the Disbursing Agent shall be
 exculpated by all Entities, including, without limitation, holders of Claims and other parties in
 interest, from any and all claims, causes of action, and other assertions of liability arising out of
 the discharge of the powers and duties conferred upon such Disbursing Agent by the Plan or any
 order of the Title III Court entered pursuant to or in furtherance of the Plan, or applicable law,
 except for actions or omissions to act arising out of the gross negligence or willful misconduct of
 such Disbursing Agent. No holder of a Claim or other party in interest shall have or pursue any
 claim or cause of action against the Disbursing Agent for making payments in accordance with
 the Plan or for implementing the provisions of the Plan.

         20.2 Powers of the Disbursing Agent: Except as may be provided otherwise
 hereunder, the Disbursing Agent shall be empowered to (a) take all steps and execute all
 instruments and documents necessary to effectuate the Plan, (b) make distributions contemplated
 by the Plan, (c) comply with the Plan and the obligations thereunder, and (d) exercise such other
 powers as may be vested in the Disbursing Agent pursuant to order of the Title III Court,
 pursuant to the Plan, or as deemed by the Disbursing Agent to be necessary and proper to
 implement the provisions of the Plan.

                                                  54
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                     Desc: Main
                          Document Page 66 of 92



        20.3 Fees and Expenses Incurred From and After the Effective Date: Except as
 otherwise ordered by the Title III Court, the amount of any reasonable fees and expenses
 incurred by the Disbursing Agent from and after the Effective Date and any reasonable
 compensation and expense reimbursement claims, including, without limitation, reasonable fees
 and expenses of counsel, incurred by the Disbursing Agent, shall be paid in Cash without further
 order of the Title III Court.

                                          ARTICLE XXI

                PROCEDURES FOR TREATMENT OF DISPUTED CLAIMS

         21.1 Objections to Claims; Prosecution of Disputed Claims: Except with respect to
 Allowed Claims, Reorganized COFINA shall object to, and shall assume any pending objection
 filed by COFINA to, the allowance of Claims filed with the Title III Court with respect to which
 it disputes liability, priority or amount, including, without limitation, objections to Claims that
 have been assigned and the assertion of the doctrine of equitable subordination with respect
 thereto. All objections, affirmative defenses and counterclaims shall be litigated to Final Order;
 provided, however, that Reorganized COFINA shall have the authority to file, settle,
 compromise or withdraw any objections to Claims, without approval of the Title III Court.
 Unless otherwise ordered by the Title III Court, to the extent not already objected to by
 COFINA, Reorganized COFINA shall file and serve all objections to Claims as soon as
 practicable, but, in each instance, not later than one hundred twenty (120) days following the
 Effective Date or such later date as may be approved by the Title III Court. Notwithstanding
 anything contained in the Plan to the contrary, on the Effective Date, any Bond Claim filed by
 any Entity, other than the Bond Claims filed by BNYM, as trustee with respect to the Existing
 Securities, for amounts due under Existing Securities, shall be deemed disallowed and expunged
 and the Oversight Board shall instruct Prime Clerk LLC, its court-appointed representative, to
 remove such Bond Claims from the claims registry maintained for the benefit of the Title III
 Court.

         21.2 Estimation of Claims: Except with respect to Allowed Claims, on and after the
 Effective Date, and unless otherwise limited by an order of the Title III Court, Reorganized
 COFINA may at any time request the Title III Court to estimate for final distribution purposes
 any contingent, unliquidated or Disputed Claim pursuant to section 502(c) of the Bankruptcy
 Code regardless of whether COFINA previously objected to or sought to estimate such Claim,
 and the Title III Court will retain jurisdiction to consider any request to estimate any Claim at
 any time during litigation concerning any objection to any Claim, including, without limitation,
 during the pendency of any appeal relating to any such objection. Unless otherwise provided in
 an order of the Title III Court, in the event that the Title III Court estimates any contingent,
 unliquidated or Disputed Claim, the estimated amount shall constitute either the allowed amount
 of such Claim or a maximum limitation on such Claim, as determined by the Title III Court;
 provided, however, that, if the estimate constitutes the maximum limitation on such Claim,
 Reorganized COFINA may elect to pursue supplemental proceedings to object to any ultimate
 allowance of such Claim; and, provided, further, that the foregoing is not intended to limit the
 rights granted by section 502(j) of the Bankruptcy Code. All of the aforementioned Claims
 objection, estimation and resolution procedures are cumulative and not necessarily exclusive of
 one another.

                                                 55
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                      Desc: Main
                          Document Page 67 of 92



        21.3    Payments and Distributions on Disputed Claims:

                 (a)     Disputed Claims Holdback: From and after the Effective Date, and until
 such time as each Disputed Claim has been compromised and settled, estimated by the Title III
 Court in an amount constituting the allowed amount, or allowed or disallowed by Final Order of
 the Title III Court, Reorganized COFINA shall retain, for the benefit of each holder of a
 Disputed Claim, COFINA Cash Available for Distribution, Section 103 Cash, Rounding Amount
 Cash and COFINA Bonds, and, to the extent elected by such holder, the applicable trust
 certificates, and any dividends, gains or income attributable in respect of any of the foregoing, in
 an amount equal to the Pro Rata Share of distributions that would have been made to the holder
 of such Disputed Claim if it were an Allowed Claim in an amount equal to the lesser of (i) the
 liquidated amount set forth in the filed proof of Claim relating to such Disputed Claim, (ii) the
 amount in which the Disputed Claims shall be estimated by the Title III Court pursuant to section
 502 of the Bankruptcy Code constitutes and represents the maximum amount in which such
 Claim may ultimately become an Allowed Claim, and (iii) such other amount as may be agreed
 upon by the holder of such Disputed Claim and Reorganized COFINA; provided, however, that
 the recovery by any holder of a Disputed Claim shall not exceed the lesser of (i), (ii) and (iii)
 above. Any COFINA Cash Available for Distribution, Section 103 Cash, Rounding Amount
 Cash and COFINA Bonds retained and held for the benefit of a holder of a Disputed Claim shall
 be treated as payment and reduction on account of such Disputed Claim for purposes of
 computing any additional amounts to be paid in Cash distributed in COFINA Bonds in the event
 the Disputed Claim ultimately becomes an Allowed Claim. Such Cash and any dividends, gains
 or income paid on account of the COFINA Bonds (if any) retained for the benefit of holders of
 Disputed Claims shall be retained by Reorganized COFINA for the benefit of such holders
 pending determination of their entitlement thereto under the terms of the Plan. To the extent that
 Reorganized COFINA retains COFINA Bonds on behalf of Disputed Claims holders, until such
 time as such COFINA Bonds are distributed, Reorganized COFINA shall exercise voting or
 consent rights with respect to such bonds.

                  (b)    Allowance of Disputed Claims: At such time as a Disputed Claim
 becomes, in whole or in part, an Allowed Claim, Reorganized COFINA shall distribute to the
 holder thereof the distributions, if any, to which such holder is then entitled under the Plan,
 together with any earnings that have accrued on the amount of COFINA Cash Available for
 Distribution, Section 103 Cash, Rounding Amount Cash and COFINA Bonds so retained (net of
 any expenses, including any taxes, relating thereto), but only to the extent that such earnings are
 attributable to the amount of the Allowed Claim. Such distribution, if any, shall be made as soon
 as practicable after the date that the order or judgement of the Title III Court allowing such
 Disputed Claim becomes a Final Order, but in no event more than ninety (90) days thereafter.
 The balance of any COFINA Cash Available for Distribution, Section 103 Cash, Rounding
 Amount Cash and COFINA Bonds previously retained but not distributed to a Disputed Claim
 holder shall be included in future distributions with respect to COFINA Bonds.

         21.4 Authority to Amend List of Creditors: Except with respect to Bond Claims,
 COFINA shall have the authority to amend the List of Creditors with respect to any Claim and to
 make distributions based on such amended List of Creditors without approval of the Title III
 Court. If any such amendment to the List of Creditors reduces the amount of a Claim or changes
 the nature or priority of a Claim, COFINA will provide the holder of such Claim with notice of

                                                 56
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                        Desc: Main
                          Document Page 68 of 92



 such amendment and such holder will have twenty (20) days to file an objection to such
 amendment with the Title III Court. If no such objection is filed, the Disbursing Agent may
 proceed with distributions based on such amended List of Creditors without approval of the Title
 III Court.

         21.5 Non-Accrual of Interest: Unless otherwise specifically provided for herein or
 by order of the Title III Court, post-petition interest shall not accrue or be paid on Claims,
 Allowed or otherwise, and no holder of a Claim, Allowed or otherwise, shall be entitled to
 interest accruing on or after the Petition Date on any Claim or right. Additionally, and without
 limiting the foregoing, interest shall not accrue or be paid on any Disputed Claim with respect to
 the period from the Effective Date to the date a final distribution is made on account of such
 Disputed Claim, if and when such Disputed Claim becomes an Allowed Claim.

         21.6 Disallowance of Claims: All Claims of any Entity from which property is sought
 by COFINA under sections 550, or 553 of the Bankruptcy Code or that COFINA alleges is a
 transferee of a transfer that is avoidable under sections 544, 545, 547, 548, or 549 of the
 Bankruptcy Code shall be disallowed if: (a) the Entity, on the one hand, and COFINA, on the
 other hand, agree or the Title III Court has determined by Final Order that such Entity or
 transferee is liable to turn over any property or monies under any of the aforementioned sections
 of the Bankruptcy Code; and (b) such Entity or transferee has failed to turn over such property
 by the date set forth in such agreement or Final Order.

                                           ARTICLE XXII

  ACCEPTANCE OR REJECTION OF THE PLAN, EFFECT OF REJECTION BY ONE
                    OR MORE CLASSES OF CLAIMS

         22.1 Impaired Classes to Vote: Except as otherwise provided pursuant to the
 Disclosure Statement Order, each holder, as of the voting record date established in the
 Disclosure Statement Order, of a Claim in an impaired Class not otherwise deemed to have
 rejected or accepted the Plan shall be entitled to vote separately to accept or reject the Plan.

         22.2 Acceptance by Class of Creditors: An impaired Class of holders of Claims shall
 have accepted the Plan if the Plan is accepted by at least two-thirds (2/3) in dollar amount and
 more than one-half (1/2) in number of the Allowed Claims of such Class that have affirmatively
 voted to accept or reject the Plan.

         22.3 Cramdown: In the event that any impaired Class of Claims shall fail to accept,
 or be deemed to reject, the Plan in accordance with section 1129(a) of the Bankruptcy Code, the
 Oversight Board reserves the right to request that the Title III Court confirm the Plan in
 accordance with section 1129(b) of the Bankruptcy Code.

                                          ARTICLE XXIII

 IDENTIFICATION OF CLAIMS IMPAIRED BY THE PLAN AND NOT IMPAIRED BY
                             THE PLAN

        23.1    Impaired Classes: Claims in Classes 1 through 10 are impaired under the Plan.

                                                  57
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 69 of 92



         23.2 Impaired Classes to Vote: The Claims in Classes 1 through 9 are impaired and
 receiving distributions pursuant to the Plan, and are therefore entitled to vote to accept or reject
 the Plan; provided, however, that, based upon the elections made on the Ballot/Election Form,
 Classes 4 and 7 are deemed to have accepted the Plan. The Claims in Class 10 are impaired and
 not receiving a distribution pursuant to the Plan and, therefore, Class 10 is deemed to have
 rejected the Plan.

                                          ARTICLE XXIV

               CONDITIONS PRECEDENT TO CONFIRMATION OF THE PLAN

         24.1 Conditions Precedent to Confirmation of the Plan: Confirmation of the Plan is
 subject to satisfaction of the following conditions precedent:

                 (a)     Fiscal Plan Certification: The Oversight Board shall have determined
 that the Plan is consistent with the COFINA Fiscal Plan and shall have certified the submission
 of the Plan, and any modifications to the Plan through the Confirmation Date, in accordance with
 Sections 104(j) and 313 of PROMESA.

                (b)     Required Orders: The Clerk of the Title III Court shall have entered an
 order or orders (including, without limitation, the Disclosure Statement Order, the Confirmation
 Order and the Settlement Order providing for the following:

               (i)     Approving the Disclosure Statement as containing “adequate information”
        pursuant to section 1125 of the Bankruptcy Code;

                 (ii)   Authorizing the solicitation of votes and elections with respect to the Plan;

               (iii) Determining that all votes and elections or deemed elections are binding
        and have been properly tabulated;

               (iv)    Confirming and giving effect to the terms and provision of the Plan,
        including the releases set forth in Article XXX of the Plan;

               (v)     Approving the Settlement Agreement in accordance with its terms,
        including, but not limited to, the releases of the Agents and their respective
        representatives, professionals and advisors;

               (vi)    Determining that all applicable tests, standards and burdens in connection
        with the Plan have been duly satisfied and met by the Oversight Board, COFINA and the
        Plan;

              (vii) Approving the documents in the Plan Supplement, other than the New
        Bond Legislation (to the extent included in the Plan Supplement) and the Reorganized
        COFINA By-Laws;

              (viii) Authorizing Reorganized COFINA to execute, enter into, and deliver the
        documents in the Plan Supplement, and to execute, implement and take all actions

                                                  58
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 70 of 92



        otherwise necessary or appropriate to give effect to the transactions contemplated by the
        Plan, the documents in the Plan Supplement, and the Settlement Agreement;

               (ix)   Determining that the compromises and settlements set forth in the
        Settlement Agreement and the Plan are appropriate, reasonable and approved; and

                 (x)    The deemed acceleration of the Existing Securities on the Effective Date
        (i) in connection with the treatment of Junior COFINA Bond Claims (Assured) and (ii) if
        requested by Ambac and/or National prior to the commencement of the Disclosure
        Statement Hearing, in connection with the Senior COFINA Bond Claims (Ambac) and
        the National Election, respectively; provided, however, that, such deemed acceleration
        shall not affect, nor shall it be construed to affect, any issues regarding the existence of a
        “default” or an “event of default” with respect to the Existing Securities which were
        pending prior to the Effective Date.

                (c)    Form of Orders: The Confirmation Order, the Settlement Order and the
 Plan are each in form and substance reasonably acceptable to the Oversight Board, AAFAF,
 COFINA, the PSA Creditors and Bonistas.

                (d)     Confirmation Order: The Confirmation Order includes (i)
 determinations that all of the settlements and compromises contained in the Plan and the
 Settlement Agreement satisfy applicable standards under sections 365, 1123(b)(3) and 1129 of
 the Bankruptcy Code and Bankruptcy Rule 9019, to the extent applicable, (ii) the releases,
 exculpations and injunctions set forth in Article XXX of the Plan and (iii) the provisions set forth
 in Section 25.1(c) hereof.

        24.2 Waiver of Conditions Precedent to Confirmation: To the extent practicable
 and legally permissible, each of the conditions precedent in Section 24.1 hereof may be waived,
 in whole or in part, by the Oversight Board, subject to the prior written consent of AAFAF,
 COFINA, the PSA Creditors and Bonistas, which consent shall not be unreasonably withheld.
 Any such waiver of a condition precedent may be effected at any time by filing a notice thereof
 with the Title III Court executed by the Oversight Board.

                                          ARTICLE XXV

                 CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

        25.1 Conditions Precedent to the Effective Date. The occurrence of the Effective
 Date and the substantial consummation of the Plan are subject to satisfaction of the following
 conditions precedent:

                 (a)    Satisfaction of Certain Settlement Agreement Conditions: The
 satisfaction of the “Conditions to Effective Date” set forth in Section 4 of the Settlement
 Agreement.

                 (b)     Fiscal Plan Certification: The Oversight Board shall have determined
 that the Plan is consistent with COFINA Fiscal Plan and shall have certified the submission of


                                                 59
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                    Desc: Main
                          Document Page 71 of 92



 the Plan, and any modifications to the Plan through the Confirmation Date, in accordance with
 Sections 104(j) and 313 of PROMESA.

                (c)    Entry of the Confirmation Order: The Clerk of the Title III Court shall
 have entered the Confirmation Order in accordance with Section 314 of PROMESA and section
 1129 of the Bankruptcy Code, made applicable to the Title III Case pursuant to Section 301 of
 PROMESA, which shall be in form and substance reasonably acceptable to the Oversight Board,
 AAFAF, COFINA, the PSA Creditors and Bonistas, and the Confirmation Order shall provide
 for the following:

                (i)     Authorize COFINA and Reorganized COFINA, as the case may be, to
        take all actions necessary to enter into, implement, and consummate the contracts,
        instruments, releases, leases, indentures, and other agreements or documents created in
        connection with the Plan;

              (ii)    Decree that the provisions of the Confirmation Order and the Plan are
        nonseverable and mutually dependent;

               (iii) Authorize COFINA and Reorganized COFINA, as the case may be, to (1)
        make all distributions and issuances as required under the Plan and (2) enter into any
        agreements and transactions, as set forth in the Plan Supplement;

               (iv)    Authorize the implementation of the Plan in accordance with its terms.

                (v)     The COFINA Bonds and the covenants by COFINA Reorganized
        COFINA and the Commonwealth, as applicable, for the benefit of the holders of the
        COFINA Bonds and COFINA Parity Bonds (including the Sales Tax, non-impairment,
        substitution of collateral and tax-exemption covenants set forth in Article XVI hereof), as
        provided in the New Bond Legislation and the New Bond Indenture, constitute valid,
        binding, legal and enforceable obligations of COFINA, Reorganized COFINA and the
        Commonwealth, as applicable, under Puerto Rico and federal law, and the COFINA
        Portion (and any substitution of New Collateral on the terms and conditions provided for
        herein) is the property of Reorganized COFINA, free and clear of all liens, claims,
        encumbrances, and other interests of creditors of COFINA, Reorganized COFINA, the
        Commonwealth, or any instrumentality of the Commonwealth, other than liens and
        claims afforded to holders of COFINA Bonds under the Plan and the Confirmation Order
        and shall not be “available resources” or “available revenues” of the Government of
        Puerto Rico, as used in Section 8 of Article VI of the Puerto Rico Constitution or as
        otherwise used in the Puerto Rico Constitution (whether construed pursuant to the
        Spanish or English version of the Puerto Rico Constitution);

                 (vi)  Pursuant to the New Bond Legislation, the COFINA Bonds and COFINA
        Parity Bonds have been granted and are secured by a statutory first lien as described in
        Section 16.2 hereof, which Lien shall remain in full force and effect until the COFINA
        Bonds and COFINA Parity Bonds have been paid or satisfied in full in accordance with
        their terms;



                                                60
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 72 of 92



                (vii) The statutory lien on the COFINA Pledged Taxes as provided in the New
        Bond Legislation, as applicable, and all other provisions made to pay or secure payment
        of the COFINA Bonds and COFINA Parity Bonds are valid, binding, legal, and
        enforceable; including, without limitation, covenants not to impair such property,
        maintain available tax exemption and provide for the conditions regarding substitution of
        New Collateral (including, without limitation, the statutory lien thereon) as adequate
        protection for the property rights conferred under the Plan and the Confirmation Order;

                (viii) New Bond Legislation has been enacted to amend (or repeal and replace)
        the existing COFINA legislation to, among other things, (i) establish the independent
        COFINA board of directors referred to in Section 28.3 hereof, (ii) permit the Sales Tax,
        tax exemption, substitution of New Collateral and non-impairment provisions referred to
        herein and (iii) grant such other authorizations, if any, which may be required to
        implement the transactions contemplated herein, including, without limitation, (a) a
        determination that COFINA is the owner of the COFINA Portion under applicable law,
        (b) a grant of a statutory Lien on the COFINA Portion to secure the payment obligations
        with respect to the COFINA Bonds and COFINA Parity Bonds, in whole or in part, or
        otherwise in accordance with the Additional Bonds Test, (c) enhanced financial
        reporting, (d) events of default and imposition of certain measures upon an event of
        default, (e) submission of any disputes under the New Bond Indenture to the jurisdiction
        of the Title III Court, and (f) other customary terms, conditions, and covenants for
        similarly structured and supported municipal bonds that are acceptable to the PSA
        Creditors. To the extent applicable, the foregoing terms and such other terms as may be
        agreed upon shall be included in the New Bond Indenture;

                (ix)    The transfer of the COFINA Portion (and any substitution of New
        Collateral on the terms and conditions provided for herein) pursuant to the Plan is
        appropriate and binding and specifically enforceable against Reorganized COFINA and
        the Commonwealth, their respective creditors and all parties in interest in accordance
        with the Plan, including, without limitation, because the transfer of the COFINA Portion
        created in Reorganized COFINA an ownership interest in such property (and any
        substitution of New Collateral on the terms and conditions provided for herein) and is a
        valid provision made to pay or secure payment of the COFINA Bonds;

                 (x)    The deemed acceleration of the Existing Securities on the Effective Date
        (i) in connection with the treatment of Junior COFINA Bond Claims (Assured) and (ii) if
        requested by Ambac and/or National prior to the commencement of the Disclosure
        Statement Hearing, in connection with the Senior COFINA Bond Claims (Ambac) and
        the National Election, respectively; provided, however, that, such deemed acceleration
        shall not affect, nor shall it be construed to affect, any issues regarding the existence of a
        “default” or an “event of default” with respect to the Existing Securities which were
        pending prior to the Effective Date;

               (xi)    The Confirmation Order is full, final, complete, conclusive and binding
        upon and shall not be subject to collateral attack or other challenge in any court or other
        forum by (1) COFINA, (2) Reorganized COFINA, (3) the Commonwealth, (4) each
        Person or Entity asserting claims or other rights against COFINA, the Commonwealth or

                                                 61
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 73 of 92



        any of its other instrumentalities, including each holder of a Bond Claim and each holder
        of a beneficial interest (directly or indirectly, as principal, agent, counterpart, subrogee,
        insurer or otherwise) in respect of bonds issued by COFINA, the Commonwealth, or any
        of its other instrumentalities or with respect to any trustee, any collateral agent, any
        indenture trustee, any fiscal agent, and any bank that receives or holds funds related to
        such bonds, whether or not such claim or other rights of such person or entity are
        impaired pursuant to the Plan and, if impaired, whether or not such person or entity
        accepted the Plan, (5) any other Person or Entity, and (6) each of the foregoing’s
        respective heirs, successors, assigns, trustees, executors, administrators, officers,
        directors, agents, representative, attorneys, beneficiaries or guardians; and

               (xii) The Plan is consistent with the COFINA Fiscal Plan and satisfied Section
        314(b)(7) of PROMESA.

                (d)     No Injunction: The Confirmation Order shall be effective and not be
 stayed in any respect.

                  (e)     Authorizations: All (1) authorizations, consents, regulatory approvals,
 rulings, or documents, if any, that are necessary to implement and effectuate the Plan, including,
 without limitation, the New Bond Legislation, have been obtained or enacted and not revoked,
 and (2) except to the extent expressly provided herein and not inconsistent with any other
 provision of the Plan, unless otherwise permitted or required by PROMESA or similar authority,
 completion of any other required legislative or other governmental action required to
 consummate the Plan, including, without limitation, Commonwealth legislation and court orders,
 if any, required to (i) ensure that the payment obligations of COFINA cannot in the future be
 modified or altered without the consent of the requisite holders of COFINA Bonds as set forth in
 a New Bond Indenture, (ii) ensure the validity, enforceability, liens and priority of the COFINA
 obligations contemplated by the Plan and (iii) except as otherwise permitted in connection with
 the substitution of collateral, ensure that the COFINA Pledged Taxes not be modified or altered
 prior to the satisfaction of COFINA’s obligations thereunder.

                  (f)    Execution of Documents; Other Actions: All actions and all contracts,
 instruments, settlements, releases and other agreements or documents, including Definitive
 Documents, necessary to implement the terms and provisions of the Plan, including the
 Definitive Documents, are effected or executed and delivered, as applicable, in form and
 substance reasonably satisfactory to the Government Parties, the PSA Creditors and Bonistas,
 and are in full force and effect.

                 (g)   Opinions: Usual and customary legal opinions for issuances of the type
 similar to the COFINA Bonds by outside counsel to COFINA covering matters not expressly
 addressed in the Confirmation Order, in form and substance reasonably acceptable to the PSA
 Creditors, have been delivered to the applicable trustee or other parties regarding the Definitive
 Documents and the Plan.

         25.2 Waiver of Conditions Precedent: Subject to the provisions of the Plan Support
 Agreement, the Oversight Board may waive any of the conditions to the Effective Date set forth
 in Section 25.1 hereof at any time without any notice to any other parties in interest, other than


                                                 62
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                     Desc: Main
                          Document Page 74 of 92



 the PSA Creditors and Bonistas, and without any further notice to or action, order, or approval of
 the Title III Court, and without any formal action other than proceeding to confirm and
 consummate the Plan.

         25.3 Effect of Non-Occurrence of Conditions to Effective Date: If prior to the
 Effective Date, the Confirmation Order is vacated pursuant to a Final Order, then, except as
 provided in any order of the Title III Court vacating the Confirmation Order, the Plan will be null
 and void in all respects, and nothing contained in the Plan or Disclosure Statement shall: (a)
 constitute a waiver or release of any Claims, or Causes of Action; (b) prejudice in any manner
 the rights of COFINA, the Oversight Board, or any other Entity; or (c) constitute an admission,
 acknowledgment, offer, or undertaking of any sort by COFINA, the Oversight Board, or any
 other Entity.

                                         ARTICLE XXVI

       PROSECUTION AND EXTINGUISHMENT OF CLAIMS HELD BY COFINA

         26.1 Prosecution of Claims: Except as settled and released herein, from and after the
 Effective Date, Reorganized COFINA shall have the exclusive right and power to litigate any
 Claim or Cause of Action that constituted an Asset of COFINA, including, without limitation,
 any Avoidance Action, and any other Cause of Action, right to payment, or Claim that may be
 pending on the Effective Date or instituted by COFINA or Reorganized COFINA thereafter, to a
 Final Order, and may compromise and settle such claims, without approval of the Title III Court.

                                        ARTICLE XXVII

          MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

        27.1 Modification of Plan: Subject to (a) Sections 104(j) and 313 of PROMESA and
 sections 942 and 1127(d) of the Bankruptcy Code, applicable to the Title III Case pursuant to
 Section 301 of PROMESA, and (b) the terms and provisions of the Plan Support Agreement, the
 Oversight Board may alter, amend or modify the Plan or the Exhibits at any time prior to or after
 the Confirmation Date but prior to the Effective Date. A holder of a Claim that has accepted the
 Plan shall be deemed to have accepted the Plan as altered, amended or modified so long as the
 proposed alteration, amendment or modification does not materially and adversely change the
 treatment of the Claim of such Holder.

        27.2    Revocation or Withdrawal:

               (a)    Subject to the terms and provisions of the Plan Support Agreement, the
 Plan may be revoked or withdrawn prior to the Confirmation Date by the Oversight Board.

                (b)    If the Plan is revoked or withdrawn prior to the Confirmation Date, or if
 the Plan does not become effective for any reason whatsoever, then the Plan shall be deemed null
 and void. In such event, nothing contained herein shall be deemed to constitute a waiver or
 release of any claim by COFINA or any other Entity, or to prejudice in any manner the rights of
 COFINA or any other Entity in any further proceeding involving COFINA.


                                                 63
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 75 of 92



         27.3 Amendment of Plan Documents: From and after the Effective Date, the
 authority to amend, modify, or supplement the Plan Supplement, the Exhibits to the Plan
 Supplement and the Exhibits to the Plan, and any document attached to any of the foregoing,
 shall be as provided in such Plan Supplement, Exhibit to the Plan Supplement, or Exhibit to the
 Plan and their respective attachments, as the case may be.

        27.4    No Admission of Liability:

                 (a)    The submission of this Plan is not intended to be, nor shall it be construed
 as, an admission or evidence in any pending or subsequent suit, action, proceeding or dispute of
 any liability, wrongdoing, or obligation whatsoever (including as to the merits of any claim or
 defense) by any Entity with respect to any of the matters addressed in this Plan.

                   (b)    None of this Plan (including, without limitation, the Exhibits hereto), or
 any settlement entered, act performed or document executed in connection with this Plan: (i) is
 or may be deemed to be or may be used as an admission or evidence of the validity of any claim,
 or any allegation made in any of the Related Actions or of any wrongdoing or liability of any
 Entity; (ii) is or may be deemed to be or may be used as an admission or evidence of any
 liability, fault or omission of any Entity in any civil, criminal or administrative proceeding in any
 court, administrative agency or other tribunal; (iii) is or may be deemed to be or used as an
 admission or evidence against Reorganized COFINA, COFINA, or any other Person or Entity
 with respect to the validity of any Claim. None of this Plan or any settlement entered, act
 performed or document executed in connection with this Plan shall be admissible in any
 proceeding for any purposes, except to carry out the terms of this Plan, and except that, once
 confirmed, any Entity may file this Plan in any action for any purpose, including, but not limited
 to, in order to support a defense or counterclaim based on the principles of res judicata, collateral
 estoppel, release, good faith settlement, judgment bar or reduction or any other theory of claim
 preclusion or issue preclusion or similar defense of counterclaim.

                                        ARTICLE XXVIII

                           CORPORATE GOVERNANCE AND
                        MANAGEMENT OF REORGANIZED COFINA

         28.1 Corporate Action: On the Effective Date, all matters provided for under the
 Plan that would otherwise require approval of the directors of COFINA or Reorganized
 COFINA, including, without limitation, the authorization to issue or cause to be issued the
 COFINA Bonds, the authorization to enter into the Definitive Documents, the adoption of
 Reorganized COFINA By-Laws, and the election or appointment, as the case may be, of
 directors and officers of Reorganized COFINA pursuant to the Plan, as applicable, shall be
 authorized and approved in all respects, in each case, in accordance with the New Bond
 Legislation and the new corporate governance documents, as applicable, and without further
 action by any Person or Entity under any other applicable law, regulation, order, or rule. Other
 matters provided under the Plan involving the corporate structure of the Reorganized COFINA
 or corporate action by Reorganized COFINA, as applicable, shall be deemed to have occurred,
 be authorized, and shall be in effect in accordance with the New Bond Legislation and the new
 corporate governance documents, as applicable, and without requiring further action by any

                                                  64
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                     Desc: Main
                          Document Page 76 of 92



 Person or Entity under any other applicable law, regulation, order, or rule. Without limiting the
 foregoing, from and after the Confirmation Date, COFINA and Reorganized COFINA shall take
 any and all actions deemed appropriate in order to consummate the transactions contemplated
 herein in accordance with the New Bond Legislation and the new corporate governance
 documents, as applicable.

       28.2 Amendment of By-Laws: The by-laws of Reorganized COFINA shall be
 amended as of the Effective Date to provide substantially as set forth in the Reorganized
 COFINA By-Laws.

         28.3 Directors of the Reorganized COFINA: On the Effective Date, and pursuant to
 the terms and provisions of Section 25.1(c) hereof, the Reorganized COFINA By-Laws shall
 provide that the board of directors of Reorganized COFINA shall consist of three (3) persons
 appointed by the Governor of the Commonwealth all of whom shall meet the independence and
 qualification standards set forth in the Definitive Documents, including, without limitation, that
 the independent director may not be an officer, employee, or director of the government of
 Puerto Rico or instrumentality thereof (other than COFINA), must have executive experience in
 finance or with respect to securities similar to the COFINA Bonds and shall otherwise be
 qualified to serve on the board of directors. The initial directors shall be disclosed prior to the
 Confirmation Hearing. In the event that, during the period from the Confirmation Hearing up to
 and including the Effective Date, circumstances require the substitution of one (1) or more
 persons selected to serve on the boards of directors of Reorganized COFINA, the Governor of
 the Commonwealth shall choose a substitute consistent with the independence and qualification
 standards set forth above and COFINA shall file a notice thereof with the Title III Court and, for
 purposes of section 1129 of the Bankruptcy Code, any such replacement person, designated in
 accordance with the requirements of the immediately preceding sentence, shall be deemed to
 have been selected and disclosed prior to the Confirmation Hearing. Notwithstanding the
 foregoing, (a) the holders of Senior COFINA Bond Claims, Ambac and National (in consultation
 with the holders of Junior COFINA Bond Claims and Assured) may collectively submit up to
 three (3) recommendations for the Governor’s consideration regarding the initial appointment of
 independent directors; provided, however, that the Governor shall be under no obligation to
 appoint any such recommended persons as directors and (b) to the extent permitted by applicable
 law, COFINA’s corporate governance documents shall be amended to be consistent with all of
 the foregoing. COFINA’s amended corporate governance documents shall provide that all board
 members shall owe a fiduciary duty to COFINA as consistent with Puerto Rico law and its
 Constitution.

         28.4 Officers of Reorganized COFINA: To the extent applicable, the board of
 directors of Reorganized COFINA shall elect officers of Reorganized COFINA as of or after the
 Effective Date.

        28.5 Structure for Collection and Application of COFINA Pledged Taxes: The
 COFINA Bonds shall be issued by Reorganized COFINA pursuant to the New Bond Legislation
 and the New Bond Indenture, which entity shall be a “bankruptcy remote,” single purpose,
 municipal agency, public corporation or entity to the fullest extent permitted under applicable
 law, with no operations or liabilities other than as set forth in the Plan and as reflected in the
 Term Sheet. Reorganized COFINA shall be authorized, but not required, to enter into one or

                                                 65
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                        Desc: Main
                          Document Page 77 of 92



 more agreements, including, without limitation, the New Banking Services Agreement,
 providing for the collection and deposit of the COFINA Pledged Taxes, which agreement or
 agreements may provide, among other things, that the COFINA Portion, net of COFINA
 operating expenses, shall be (a) promptly after collection, kept in segregated bank accounts
 maintained in one or more mainland U.S. banks and in the name of the trustee appointed under
 the New Bond Indenture and (b) designed to ensure that COFINA is the unconditional owner of
 the COFINA Portion, now existing or hereafter collected, under Puerto Rico and other applicable
 law.

                                          ARTICLE XXIX

                                RETENTION OF JURISDICTION

         29.1 Retention of Jurisdiction: The Title III Court shall retain and have exclusive
 jurisdiction over any matter arising under PROMESA, arising in or related to, the Title III Case
 and the Plan, or that relates to the following:

                 (a)    to allow, disallow, determine, liquidate, classify, estimate, or establish the
 priority, secured or unsecured status, or amount of any Claim, including, without the limitation,
 the resolution of any request for payment of any Claim and the resolution of any and all
 objections to the secured or unsecured status, priority, amount, or allowance of Claims;

                (b)     to resolve any matters related to Executory Contracts or Unexpired
 Leases, including, without limitation, (a) the assumption or assumption and assignment of any
 Executory Contract or Unexpired Lease to which COFINA is party or with respect to which
 COFINA may be liable and to hear, determine, and, if necessary, liquidate, any Claims arising
 therefrom, including pursuant to section 365 of the Bankruptcy Code; (b) any potential
 contractual obligation under any Executory Contract or Unexpired Lease that is assumed or
 assumed and assigned; and (c) any dispute regarding whether a contract or lease is or was
 executory or expired;

                 (c)     to ensure that distributions to holders of Allowed Claims are accomplished
 pursuant to the provisions of the Plan and adjudicate any and all disputes arising from or relating
 to distributions under the Plan;

                 (d)    to adjudicate, decide, or resolve any motions, adversary proceedings,
 contested or litigated matters, and any other matters, and grant or deny any applications
 involving COFINA or Reorganized COFINA that may be pending on the Effective Date or
 brought thereafter;

                (e)     to decide and resolve all matters related to the granting and denying, in
 whole or in part, any applications for allowance of compensation or reimbursement of expenses
 to Professionals authorized pursuant to PROMESA, the Plan or orders entered by the Title III
 Court;

                (f)     to enter and implement such orders as may be necessary or appropriate to
 execute, implement, or consummate the provisions of (a) contracts, instruments, releases,
 indentures, and other agreements or documents approved by Final Order in the Title III Case and

                                                  66
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                     Desc: Main
                          Document Page 78 of 92



 (b) the Plan, the Confirmation Order, and contracts, instruments, releases, indentures, and other
 agreements or documents created in connection with the Plan, including, without limitation,
 orders pertaining to the substitution of New Collateral for COFINA Pledged Taxes to secure
 repayment of the COFINA Bonds and COFINA Parity Bonds;

                 (g)    to resolve any cases, controversies, suits, disputes or other challenges of
 any kind that may arise in connection with the consummation, interpretation or enforcement of
 the Plan, the Confirmation Order, or any contract, instrument, release or other agreement or
 document that is entered into or delivered pursuant to the Plan or any Entity’s rights arising from
 or obligations incurred in connection with the Plan or such documents;

                (h)     to approve any modification of the Plan or approve any modification of
 the Confirmation Order or any contract, instrument, release or other agreement or document
 created in connection with the Plan or the Confirmation Order, or remedy any defect or omission
 or reconcile any inconsistency in any order, the Plan, the Confirmation Order or any contract,
 instrument, release or other agreement or document created in connection with the Plan or the
 Confirmation Order, or enter any order in aid of confirmation pursuant to sections 945 and
 1142(b) of the Bankruptcy Code, in such manner as may be necessary or appropriate to
 consummate the Plan;

               (i)    to adjudicate, decide or resolve any matters relating to COFINA’s
 compliance with the Plan and the Confirmation Order consistent with section 945 of the
 Bankruptcy Code;

                 (j)    to determine any other matters that may arise in connection with or relate
 to the Plan, the Disclosure Statement, the Confirmation Order or any contract, instrument,
 release or other agreement or document entered into or delivered in connection with the Plan, the
 Disclosure Statement or the Confirmation Order, in each case, solely to the extent that any such
 document does not provide for another court or courts to have exclusive jurisdiction;

                (k)    to enter and implement other orders, or take such other actions as may be
 necessary or appropriate to restrain interference by any Entity with consummation or
 enforcement of the Plan or the Confirmation Order;

                 (l)     to adjudicate any and all controversies, suits or issues that may arise
 regarding the validity of any actions taken by any Entity pursuant to or in furtherance of the Plan
 or Confirmation Order, including, without limitation, issuance of the COFINA Bonds or
 COFINA Parity Bonds, and enter any necessary or appropriate orders or relief in connection with
 such adjudication; to determine any other matters that may arise in connection with or relate to
 the Plan, the Disclosure Statement, the Confirmation Order, the Settlement Agreement, or any
 contract, instrument, release, or other agreement or document created in connection with the
 Plan, in each case, solely to the extent that any such document does not provide for another court
 or courts to have exclusive jurisdiction;

               (m)    to enter and implement such orders as are necessary or appropriate if the
 Confirmation Order is for any reason modified, stayed, reversed, revoked, or vacated;



                                                 67
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                     Desc: Main
                          Document Page 79 of 92



                (n)    to enter an order or final decree concluding or closing the Title III Case
 pursuant to section 945(b) of the Bankruptcy Code;

                  (o)   to enforce and clarify any orders previously entered by the District Court
 in the Title III Case;

                (p)     in connection with the Interpleader Action, to hear and determine any and
 all non-released and non-dismissed Claims and Causes of Action asserted or that could have
 been asserted by BNYM against Ambac or Whitebox in the Interpleader Action or the Ambac
 Action and the Whitebox Actions, respectively, and by Ambac and Whitebox against BNYM for
 gross negligence, willful misconduct or intentional fraud in the Interpleader Action or the Ambac
 Action and the Whitebox Actions, respectively; and

               (q)    to hear any other matter over which the Title III Court has jurisdiction
 under Sections 305 and 306 of PROMESA.

                                         ARTICLE XXX

                               MISCELLANEOUS PROVISIONS

         30.1 Title to Assets: Except as provided in the Confirmation Order, on the Effective
 Date, title to all Assets and properties of COFINA encompassed by the Plan shall vest in
 Reorganized COFINA, free and clear of all Liens (except the Liens securing repayment of the
 COFINA Bonds and the COFINA Parity Bonds), and the Confirmation Order shall be a judicial
 determination of discharge of the liabilities of COFINA except as provided in the Plan.

        30.2    Discharge and Release of Claims and Causes of Action:

                  (a)    Except as expressly provided in the Plan or the Confirmation Order, all
 distributions and rights afforded under the Plan shall be, and shall be deemed to be, in exchange
 for, and in complete satisfaction, settlement, discharge and release of, all Claims or Causes of
 Action against COFINA that arose, in whole or in part, prior to the Effective Date, relating to
 COFINA or Reorganized COFINA or any of its Assets, property, or interests of any nature
 whatsoever, including any interest accrued on such Claims from and after the Petition Date, and
 regardless of whether any property will have been distributed or retained pursuant to the Plan on
 account of such Claims or Causes of Action. Upon the Effective Date, COFINA and
 Reorganized COFINA shall be deemed discharged and released from any and all Claims, Causes
 of Action and any other debts that arose, in whole or in part, prior to the Effective Date
 (including prior to the Petition Date), and all debts of the kind specified in sections 502(g),
 502(h) or 502(i) of the Bankruptcy Code, whether or not (a) a proof of claim based upon such
 debt is filed or deemed filed under section 501 of the Bankruptcy Code, (b) a Claim based upon
 such debt is allowed under section 502 of the Bankruptcy Code (or is otherwise resolved), or (c)
 the holder of a Claim based upon such debt voted to accept the Plan.

                 (b)     Except as provided in Section 30.11 of the Plan or the Confirmation
 Order, all Entities shall be precluded from asserting any and all Claims against COFINA and
 Reorganized COFINA, and each of their respective Assets, property and rights, remedies, Claims
 or Causes of Action or liabilities of any nature whatsoever, relating to COFINA or Reorganized

                                                 68
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                      Desc: Main
                          Document Page 80 of 92



 COFINA or any of their respective Assets and property, including any interest accrued on such
 Claims from and after the Petition Date, and regardless of whether any property will have been
 distributed or retained pursuant to the Plan on account of such Claims or other obligations, suits,
 judgments, damages, debts, rights, remedies, causes of action or liabilities. In accordance with
 the foregoing, except as expressly provided in the Plan or the Confirmation Order, the
 Confirmation Order shall constitute a judicial determination, as of the Effective Date, of the
 discharge and release of all such Claims, Causes of Action or debt of or against COFINA
 pursuant to sections 524 and 944 of the Bankruptcy Code, applicable to the Title III Case
 pursuant to Section 301 of PROMESA, and such discharge shall void and extinguish any
 judgment obtained against COFINA or Reorganized COFINA and their respective Assets, and
 property at any time, to the extent such judgment is related to a discharged Claim, debt or
 liability. As of the Effective Date, and in consideration for the value provided under the Plan
 and the Settlement Agreement, each holder of a Claim in any Class under this Plan shall be and
 hereby is deemed to release and forever waive and discharge as against COFINA and
 Reorganized COFINA, and their respective Assets and property and all such Claims.

                  (c)   Notwithstanding any other provisions of this Section 30.2, in accordance
 with the provisions of the Plan Support Agreement, each of the PSA Creditors and their
 respective Related Persons, solely in their capacity as Creditors of COFINA, shall (i) be deemed
 to have released and covenanted not to sue or otherwise pursue or seek to recover damages or to
 seek any other type of relief against any of the Government Releasees based upon, arising from
 or relating to the Government Released Claims or any of the claims or causes of action asserted
 or which could have been asserted in the Actions, (ii) not directly or indirectly aid any person in
 taking any action with respect to the Government Released Claims that is prohibited by this
 Section 30.2(c) and (iii) be deemed to have released and covenanted not to sue or otherwise
 pursue or seek to recover damages or to seek any other type of relief against BNYM and each of
 its Related Persons from any and all Claims and causes of action arising from or related to the
 Existing Securities, the Bond Claims and the Bond Resolution; provided, however, that the
 release provided pursuant to clause (iii) above shall not extend to any and all Claims and Causes
 of Action for gross negligence, willful misconduct and intentional fraud asserted or which can be
 asserted by Ambac or Whitebox in the Ambac Action and Whitebox Actions, respectively.

                 (d)    On the Effective Date, and in consideration of the Commonwealth-
 COFINA Dispute Settlement and the compromise and settlement of Bond Claims pursuant to the
 terms and provisions of the Plan (including, without limitation, the distributions to be made on
 account of “Senior” and “First Subordinate” Existing Securities), the resolution of the
 Interpleader Action and the terms and provisions of Section 19.5 hereof regarding the Ambac
 Action and the Whitebox Actions, to the fullest extent permissible under applicable law, BNYM
 and each holder and beneficial holder of Existing Securities and their transferrees, successors or
 assigns shall be released from liability for all Claims and Causes of Action arising from or
 related to the payment by BNYM to beneficial holders of Existing Securities of regularly
 scheduled payments of principal and interest; provided, however, that the foregoing release of
 BNYM shall not extend, nor shall it be construed to extend, to acts of gross negligence,
 intentional fraud, or willful misconduct of BNYM, including, without limitation, any acts which
 have been asserted, or which could have been asserted in the Ambac Action and the Whitebox
 Actions.


                                                 69
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                        Desc: Main
                          Document Page 81 of 92



                  (e)    On the Effective Date, (i) the COFINA Agent and its agents, attorneys,
 affiliates, advisors, consultants and attorneys, solely in such capacities, and (ii) in the event that
 the Creditors’ Committee and the Commonwealth Agent (1) do not object to approval of the
 Settlement Motion, approval of the Disclosure Statement and confirmation of the Plan and do not
 file the Motion to Enforce or (2) subject to the provisions of decretal paragraph 4 of the
 Abeyance Stipulation, file the Motion to Enforce or an objection to approval of the merits of the
 Settlement Motion, approval of the Disclosure Statement and confirmation of the Plan by the
 Title III Court, and unless the Title III Court determines that any such objection and the Motion
 to Enforce was filed in bad faith, the Commonwealth Agent and the Creditors’ Committee, its
 members and each of their respective current and former officers, directors, agents, attorneys,
 employees, affiliates, advisors, and consultants, solely in such capacities (collectively, the
 “Commonwealth Agent Releasees”), shall be released from liability for all Claims and Causes of
 Action (as if such Causes of Action were against the Commonwealth Agent Releasees) with
 respect to the Adversary Proceeding, the Agreement in Principle, the Settlement Agreement, the
 Settlement Motion and the Settlement Order.

                  (f)    On the Effective Date, and in consideration of the Commonwealth-
 COFINA Dispute Settlement and the resolution of the Interpleader Action, to the fullest extent
 permissible under applicable law, the Commonwealth shall be released from all liability from all
 Claims and Causes of Action held by any Creditor, solely in such capacity, arising from or
 relating to the relationship of the Commonwealth and COFINA, including, without limitation,
 any Claim or Cause of Action arising from or relating to the commencement of the Adversary
 Proceeding and pendency and the compromise and settlement of the Interpleader Action and the
 allocation of funds in accordance with Section 2.1 of the Plan.

         30.3 Injunction on Claims: Except as otherwise expressly provided in Section 30.11
 of the Plan, the Confirmation Order or such other Final Order of the Title III Court that may be
 applicable, all Entities who have held, hold or may hold Claims or any other debt or liability that
 is discharged or released pursuant to Section 30.2 hereof or who have held, hold or may hold
 Claims or any other debt or liability that is discharged or released pursuant to Section 30.2 hereof
 are permanently enjoined, from and after the Effective Date, from (a) commencing or continuing,
 directly or indirectly, in any manner, any action or other proceeding (including, without
 limitation, any judicial, arbitral, administrative or other proceeding) of any kind on any such
 Claim or other debt or liability that is discharged pursuant to the Plan against any of the Released
 Parties or any of their respective assets or property, (b) the enforcement, attachment, collection
 or recovery by any manner or means of any judgment, award, decree or order against any of the
 Released Parties or any of their respective assets or property on account of any Claim or other
 debt or liability that is discharged pursuant to the Plan, (c) creating, perfecting, or enforcing any
 encumbrance of any kind against any of the Released Parties or any of their respective assets or
 property on account of any Claim or other debt or liability that is discharged pursuant to the Plan,
 and (d) except to the extent provided, permitted or preserved by sections 553, 555, 556, 559, or
 560 of the Bankruptcy Code or pursuant to the common law right of recoupment, asserting any
 right of setoff, subrogation or recoupment of any kind against any obligation due from any of the
 Released Parties or any of their respective assets or property, with respect to any such Claim or
 other debt or liability that is discharged pursuant to the Plan. Such injunction shall extend to all
 successors and assigns of the Released Parties and their respective assets and property.


                                                  70
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                        Desc: Main
                          Document Page 82 of 92



        30.4 Integral to Plan: Each of the discharge, injunction, exculpation and release
 provisions provided in this Article XXX is an integral part of the Plan and is essential to its
 implementation. Each of the Released Parties shall have the right to independently seek the
 enforcement of the discharge, injunction and release provisions set forth in this Article XXX.

          30.5 Releases by COFINA and Reorganized COFINA: Except as otherwise
 expressly provided in the Plan, the Confirmation Order, or the Settlement Agreement, on the
 Effective Date, and for good and valuable consideration, each of COFINA and Reorganized
 COFINA, the Disbursing Agent and each of COFINA’s and Reorganized COFINA’s Related
 Persons shall be deemed to have and hereby does irrevocably and unconditionally, fully, finally
 and forever waive, release, acquit, and discharge the Released Parties from any and all Claims or
 Causes of Action that COFINA, Reorganized COFINA, and the Disbursing Agent, or any of
 them, or anyone claiming through them, on their behalf or for their benefit, have or may have or
 claim to have, now or in the future, against any Released Party that are Released Claims or
 otherwise are based upon, relate to, or arise out of or in connection with, in whole or in part, any
 act, omission, transaction, event or other circumstance relating to COFINA taking place or
 existing on or prior to the Effective Date, and/or any Claim, act, fact, transaction, occurrence,
 statement, or omission in connection with or alleged or that could have been alleged in the
 Actions, the Related Actions, including, without limitation, any such Claim, demand, right,
 liability, or cause of action for indemnification, contribution, or any other basis in law or equity
 for damages, costs or fees.

         30.6 Injunction Related to Releases: As of the Effective Date, all Entities that hold,
 have held, or may hold a Released Claim that is released pursuant to Section 30.5 of the Plan,
 are, and shall be, permanently, forever and completely stayed, restrained, prohibited, barred and
 enjoined from taking any of the following actions, whether directly or indirectly, derivatively or
 otherwise, on account of or based on the subject matter of such discharged Released Claims: (i)
 commencing, conducing or continuing in any manner, directly or indirectly, any suit, action or
 other proceeding (including, without limitation, any judicial, arbitral, administrative or other
 proceeding) in any forum; (ii) enforcing, attaching (including, without limitation any
 prejudgment attachment), collecting, or in any way seeking to recover any judgment, award,
 decree, or other order; (iii) creating, perfecting or in any way enforcing in any matter, directly or
 indirectly, any Lien; (iv) setting off, seeking reimbursement or contributions from, or
 subrogation against, or otherwise recouping in any manner, directly or indirectly, any amount
 against any liability or obligation owed to any Entity released under Section 30.5 hereof; and (v)
 commencing or continuing in any manner, in any place of any judicial, arbitration or
 administrative proceeding in any forum, that does not comply with or its inconsistent with the
 provisions of the Plan or the Confirmation Order.

        30.7    Exculpation:

                (a)     Government Parties: The Oversight Board, the Commonwealth,
 AAFAF, COFINA and each of their respective Related Persons, solely acting in its capacity as
 such at any time up to and including the Effective Date, shall not have or incur any liability to
 any Entity for any act taken or omitted to be taken in connection with the Title III Case, the
 formulation, preparation, dissemination, implementation, confirmation or approval of the Plan or
 any compromises or settlements contained therein, the Disclosure Statement, the Settlement

                                                  71
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                      Desc: Main
                          Document Page 83 of 92



 Agreement, or any contract, instrument, release or other agreement or document provided for or
 contemplated in connection with the consummation of the transactions set forth in the Plan and
 the Settlement Agreement; provided, however, that the foregoing provisions of this Section 30.7
 shall not affect the liability of any Entity that otherwise would result from any such act or
 omission to the extent that such act or omission is determined in a Final Order to have
 constituted intentional fraud or willful misconduct. Nothing in the foregoing provisions of this
 Section 30.7(a) shall prejudice the right of any of the Government Parties, and the Government
 Parties’ officers and directors serving at any time up to and including the Effective Date, and
 each of their respective professionals to assert reliance upon advice of counsel as a defense with
 respect to their duties and responsibilities under the Plan.

                 (b)     Monoline Insurers: Each of Ambac, Assured and National and their
 respective Related Persons shall not have or incur any liability to any Entity for any act taken or
 omitted to be taken consistent with the Plan in connection with the formulation, preparation,
 dissemination, implementation, acceptance, confirmation or approval of the Plan, including,
 without limitation, in connection with the structure of the Trusts, commutation, the treatment of
 Senior COFINA Bond Claims (Ambac), the treatment of Junior COFINA Bond Claims
 (Assured), the National Election, the voting procedures, the election procedures, and any release
 of obligations under the applicable Insurance Policies; provided, however, that, notwithstanding
 anything contained herein to the contrary, the terms and provisions of the Plan shall not, and
 shall not be construed to, release or exculpate: (1) with respect to any beneficial holder of the
 Ambac Insured Bonds that receives Ambac Certificates in accordance with the Plan, any claim
 against Ambac with respect to Ambac’s payment obligations under the Ambac Insurance Policy
 (which claim shall only be asserted by the trustee of the Ambac Trust), as adjusted to account for
 any distributions from the Ambac Trust (and any claims or defenses that Ambac may have
 against a beneficial holder of such Ambac Insured Bonds with respect to Ambac’s obligations
 under the Ambac Insurance Policy); (2) with respect to any beneficial holder of National Insured
 Bonds that received National Certificates in accordance with the Plan, any claim against National
 with respect to National’s obligations under the National Insurance Policies (which claim shall
 be asserted in accordance with the terms of the National Insurance Policies), as adjusted to
 account for any distributions from the National Trust (and any claims that National may have
 against a beneficial holder of such National Insured Bonds with respect to National’s obligations
 to such beneficial holder under the National Insurance Policies); or (3) with respect to any
 beneficial holder of Assured Insured Bonds, any payment obligation under the applicable
 Assured Insurance Policy in accordance with its terms solely to the extent of any failure by
 Assured to pay the applicable Acceleration Price in full (or any claims that Assured may have
 against a beneficial holder of Assured Insured Bonds with respect to Assured’s obligations under
 the Assured Insurance Policies).

                 (c)     PSA Creditors and Bonistas: Each of the PSA Creditors and Bonistas,
 solely in its capacity as a party to the Plan Support Agreement and a Creditor, as applicable,
 from the Petition Date up to and including the Effective Date and each of their respective Related
 Persons shall not have or incur any liability to any Entity for any act taken or omitted to be taken
 in connection with the Title III Case, the formation, preparation, dissemination, implementation,
 confirmation or approval of the Plan or any compromises or settlements contained therein, the
 Disclosure Statement, the Settlement Agreement, or any contract, instrument, release or other
 agreement or document provided for or contemplated in connection with the consummation of

                                                 72
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 84 of 92



 the transaction set forth in the Plan and the Settlement Agreement; provided, however, that the
 foregoing provisions of this Section 30.7(c) shall not affect the liability of any Entity that
 otherwise would result from any such act or omission to the extent that such act or omission is
 determined in a Final Order to have constituted intentional fraud or willful misconduct.

                 (d)    Agents: Each of (i) the COFINA Agent and (ii) in the event that the
 Creditors’ Committee and the Commonwealth Agent (1) do not object to approval of the
 Settlement Motion, approval of the Disclosure Statement and confirmation of the Plan and do not
 file the Motion to Enforce or (2) subject to the provisions of decretal paragraph 4 of the
 Abeyance Stipulation, file the Motion to Enforce or an objection to approval of the merits of the
 Settlement Motion, approval of the Disclosure Statement and confirmation of the Plan by the
 Title III Court, and unless the Title III Court determines that any such objection and the Motion
 to Enforce was filed in bad faith, the Commonwealth Agent, solely in its capacity as agent of the
 Oversight Board with respect to the Commonwealth, to litigate and/or settle the Commonwealth-
 COFINA Dispute, respectively, shall not have or incur any liability to any Entity for any act
 taken or omitted to be taken in connection with the Title III Case, the Commonwealth-COFINA
 Dispute, including, without limitation, the Commonwealth-COFINA Dispute Order, the
 Adversary Proceeding, the Commonwealth-COFINA Dispute Settlement, the Settlement
 Agreement, the Settlement Motion and the Settlement Order.

         30.8 Appointments Related Litigation: Notwithstanding anything contained herein
 to the contrary, in the event that a Final Order is entered in connection with the Appointments
 Related Litigation subsequent to entry of the Settlement Order and the Confirmation Order, in
 consideration of the distributions made, to be made, or deemed to be made in accordance with
 the terms and provisions of the Plan and documents and instruments related hereto, all Creditors
 or such other Entities receiving, or deemed to have received, distributions pursuant to or as a
 result of the Plan, consent and agree that such Final Order shall not in any way or manner
 reverse, affect or otherwise modify the transactions contemplated in the Plan, the Settlement
 Agreement, the Confirmation Order and the Settlement Order, including, without limitation, the
 compromise and settlement of the Commonwealth-COFINA Dispute and the releases,
 exculpations and injunctions provided pursuant to Article XXX of the Plan.

         30.9 Bar Order: To the limited extent provided in the Plan, each and every Entity is
 permanently enjoined, barred and restrained from instituting, prosecuting, pursuing or litigating
 in any manner any and all claims, demands, rights, liabilities, or causes of action of any and
 every kind, character or nature whatsoever, in law or in equity, known or unknown, direct or
 derivative, whether asserted or unasserted, against any of the Released Parties, based upon,
 related to, or arising out of or in connection with any of the Released Claims, confirmation and
 consummation of the Plan, the negotiation and consummation of the Settlement Agreement, or
 any claim, act, fact, transaction, occurrence, statement or omission in connection with or alleged
 or that could have been alleged in the Related Actions, including, without limitation, any such
 claim, demand, right, liability or cause of action for indemnification, contribution, or any other
 basis in law or equity for damages, costs or fees incurred arising directly or indirectly from or
 otherwise relating to the Related Actions, either directly or indirectly by any Person for the direct
 or indirect benefit of any Released Party arising from or related to the claims, acts, facts,
 transactions, occurrences, statements or omissions that are, could have been or may be alleged in
 the related Actions or any other action brought or that might be brought by, through, on behalf

                                                  73
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 85 of 92



 of, or for the benefit of any of the Released Parties (whether arising under federal, state or
 foreign law, and regardless of where asserted).

         30.10 No Waiver: Notwithstanding anything to the contrary contained in Sections
 30.5 and 30.6 hereof, the releases and injunctions set forth in such sections shall not, and shall
 not be deemed to, limit, abridge or otherwise affect the rights of the Oversight Board, AAFAF,
 Reorganized COFINA or the PSA Creditors to enforce, sue on, settle or compromise the rights,
 claims and other matters expressly retained by any of them.

         30.11 Supplemental Injunction: Notwithstanding anything contained herein to the
 contrary, except to the limited extent provided in the Plan, all Entities, including Entities acting
 on their behalf, who currently hold or assert, have held or asserted, or may hold or assert, any
 Released Claims against any of the Released Parties based upon, attributable to, arising out of or
 relating to any Claim against COFINA, whenever and wherever arising or asserted, whether in
 the U.S. or anywhere else in the world, whether sounding in tort, contract, warranty, statute, or
 any other theory of law, equity or otherwise, shall be, and shall be deemed to be, permanently
 stayed, restrained and enjoined from taking any action against any of the Released Parties for the
 purpose of directly or indirectly collecting, recovering or receiving any payment or recovery with
 respect to any Released Claims arising prior to the Effective Date (including prior to the Petition
 Date), including, but not limited to:

                (a)     Commencing or continuing in any manner any action or other proceeding
 of any kind with respect to any such Released Claim against any of the Released Parties or the
 assets or property of any Released Party;

               (b)     Enforcing, attaching, collecting or recovering, by any manner or means,
 any judgment, award, decree or order against any of the Released Parties or the assets or property
 of any Released Party with respect to any such Released Claim;

                (c)     Creating, perfecting or enforcing any Lien of any kind against any of the
 Released Parties or the assets or property of any Released Party with respect to any such
 Released Claim;

                (d)    Except as otherwise expressly provided in the Plan, the Confirmation
 Order, or the Settlement Agreement, asserting, implementing or effectuating any setoff, right of
 subrogation, indemnity, contribution or recoupment of any kind against any obligation due to
 any of the Released Parties or against the property of any Released Party with respect to any
 such Released Claim; and

                (e)    Taking any act, in any manner, in any place whatsoever, that does not
 conform to, or comply with, the provisions of the Plan, the Confirmation Order, or the
 Settlement Agreement relating to such Released Claim; provided, however, that the Debtors’
 compliance with the formal requirements of Bankruptcy Rule 3016 shall not constitute an
 admission that the Plan provides for any injunction against conduct not otherwise enjoined under
 the Bankruptcy Code.




                                                  74
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                        Desc: Main
                          Document Page 86 of 92



          30.12 Preservation of Certain Claims and Causes of Action: Notwithstanding
 anything contained in the Plan to the contrary, including, without limitation, the provisions of
 this Article XXX, Ambac and Whitebox shall retain, and shall not be enjoined or otherwise
 barred from pursuing, any and all claims and causes of action, whether sounding in contract or
 tort, solely for gross negligence, willful misconduct or intentional fraud that were asserted, or
 could have been asserted, against BNYM in the Ambac Action, the Whitebox Actions or the
 Interpleader Action, and BNYM shall retain, and shall not be enjoined or otherwise barred from
 pursuing, any and all claims and causes of action and asserting any rights and defenses against
 Ambac and Whitebox arising from or related to the Bond Resolution.
        30.13 Post-Effective Date Fees and Expenses: From and after the Effective Date,
 Reorganized COFINA shall, in the ordinary course of business and without the necessity for any
 approval by the Title III Court, retain professionals and pay the reasonable professional fees and
 expenses incurred by Reorganized COFINA related to implementation and consummation of the
 Plan without further approval from Title III Court.
         30.14 Securities Act Exemption: Pursuant to section 1145 of the Bankruptcy Code
 (other than an underwriter as defined in section 1145(b) of the Bankruptcy Code) and/or Section
 3(a)(2) of the Securities Act, the offering, issuance, and distribution of the COFINA Bonds,
 Ambac Certificates and National Certificates pursuant to the terms hereof shall be exempt from
 registration under the Securities Act and any state or local law requiring registration for the offer,
 issuance or distribution of securities, including, but not limited to, the registration requirements
 of Section 5 of the Securities Act and any other applicable state or federal law requiring
 registration and/or prospectus delivery or qualification prior to the offering, issuance,
 distribution, or sale of securities.

          30.15 Severability: Subject to the terms and provisions of the Plan Support Agreement,
 if, prior to the Confirmation Date, any term or provision of the Plan shall be held by the Title III
 Court to be invalid, void or unenforceable, the Title III Court shall, with the consent of the
 Government Parties, have the power to alter and interpret such term or provision to make it valid
 or enforceable to the maximum extent practicable, consistent with the original purpose of the
 term or provision held to be invalid, void or unenforceable, and such term or provision shall then
 be applicable as altered or interpreted. Notwithstanding any such holding, alteration or effect
 and shall in no way be affected, impaired or invalidated by such holding, alteration or
 interpretation.

         30.16 Governing Law: Except to the extent that other federal law is applicable, or to
 the extent that an exhibit hereto or any document to be entered into in connection herewith
 provides otherwise, the rights, duties, and obligations arising under this Plan shall be governed
 by, and construed and enforced in accordance with, PROMESA (including the provisions of the
 Bankruptcy Code made applicable under Section 301 of PROMESA) and, to the extent not
 inconsistent therewith, the laws of the Commonwealth of Puerto Rico giving effect to principles
 of conflicts of laws.

         30.17 Closing Case: The Oversight Board shall, promptly upon the full administration
 of the Title III Case, file with the Title III Court all documents required by Bankruptcy Rule
 3022 and any applicable order of the Title III Court. Notwithstanding the closing of the Title III


                                                  75
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                         Desc: Main
                          Document Page 87 of 92



 Case, the Title III Court shall retain jurisdiction of all of the matters set forth in Article XXIX of
 the Plan.

        30.18 Section Headings: The section headings contained in this Plan are for reference
 purposes only and shall not affect in any way the meaning or interpretation of the Plan.

        30.19 Inconsistencies: To the extent of any inconsistency between (a) the information
 contained in the Disclosure Statement and the terms and provisions of the Plan, the terms and
 provisions contained herein shall govern and (b) the terms and provisions of the Plan and the
 terms and provisions of the Confirmation Order, the terms and provisions of the Confirmation
 Order shall govern and be deemed a modification of the Plan; provided, however, that under no
 circumstances shall the Confirmation Order modify the economic terms set forth herein.

         30.20 Document Retention: From and after the Effective Date, COFINA may
 maintain documents in accordance with their standard document retention policy, as may be
 altered, amended, modified, or supplemented by COFINA.

         30.21 Immediate Binding Effect: Pursuant to section 944(a) of the Bankruptcy Code,
 applicable to the Title III Case pursuant to Section 301 of PROMESA, and notwithstanding
 Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise, upon the occurrence of the Effective
 Date, the terms of the Plan and the Plan Supplement shall be immediately effective and
 enforceable and deemed binding on any and all holders of Claims and their respective successors
 and assigns, whether or not the Claim of any such holder is impaired under the Plan and whether
 or not such Holder has accepted the Plan. The releases, exculpations, and settlements effected
 under the Plan will be operative, and subject to enforcement by the Title III Court, from and after
 the Effective Date, including pursuant to the injunctive provisions of the Plan. Once approved,
 the compromises and settlements embodied in the Plan, along with the treatment of any
 associated Allowed Claims, shall not be subject to collateral attack or other challenge by any
 Entity in any court or other forum. As such, any Entity that opposes the terms of any
 compromise and settlement set forth in the Plan must (a) challenge such compromise and
 settlement prior to confirmation of the Plan and (b) demonstrate appropriate standing to object
 and that the subject compromise and settlement does not meet the standards governing
 settlements under Bankruptcy Rule 9019 and other applicable law.

         30.22 Additional Documents: On or before the Effective Date, the Oversight Board
 may file with Clerk of the Title III Court such agreements and other documents as may be
 necessary or appropriate to effectuate and further evidence the terms and conditions of the Plan.
 COFINA and all holders of Claims receiving distributions pursuant to the Plan and all other
 parties in interest, from time to time, may prepare, execute, and deliver any agreements or
 documents and take any other actions as may be necessary or advisable to effectuate the
 provisions and intent of the Plan.

         30.23 Reservation of Rights: Except as expressly set forth herein, the Plan shall have
 no force or effect unless the Title III Court shall enter the Confirmation Order. None of the
 filing of the Plan, any statement or provision contained in the Plan, or the taking of any action by
 COFINA with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or
 shall be deemed to be an admission or waiver of any rights of COFINA with respect to the


                                                   76
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                     Desc: Main
                          Document Page 88 of 92



 holders of Claims prior to the Effective Date. Except as expressly set forth herein, the rights and
 powers of the government of Puerto Rico under the Puerto Rico Constitution and PROMESA,
 including, without limitation, under Sections 303 and 305 of PROMESA, are expressly reserved
 (subject to any limitation thereon imposed by the Puerto Rico Constitution, the U.S. Constitution
 or PROMESA), and nothing herein shall be deemed a waiver of any such rights and powers.

         30.24 Termination of the Oversight Board: Upon the termination or dissolution of
 the Oversight Board pursuant to Section 209 of PROMESA or otherwise, all rights, powers and
 authorities of the Oversight Board to implement and perform under the Plan shall vest in
 COFINA or Reorganized COFINA, as applicable, without the need for any notice to, or action
 by, the Title III Court, the Oversight Board, COFINA, Reorganized COFINA or any other
 Entity. Neither COFINA nor Reorganized COFINA shall be, or be deemed to be, a successor to
 the Oversight Board by reason of any theory of law or equity, and neither COFINA nor
 Reorganized COFINA shall assume or be responsible for any liability or obligation of the
 Oversight Board of any kind or nature whatsoever.

         30.25 Successors and Assigns: Except as expressly provided otherwise in the Plan, the
 rights, benefits, and obligations of any Entity named or referred to in the Plan or the
 Confirmation Order shall be binding on, and shall inure to the benefit of any heir, executor,
 administrator, successor or assign, Affiliate, officer, director, agent, representative, attorney,
 beneficiaries, or guardian, if any, of each Entity.

         30.26 Notices: All notices, requests to, demands or other document(s) required by the
 Plan or the Confirmation Order to be served on or delivered to the Oversight Board, COFINA or
 AAFAF to be effective shall be in writing including by facsimile transmission and unless
 otherwise expressly provided herein, shall be deemed to have been duly given or made when
 actually delivered or, in the case of notice by facsimile transmission, when received and
 telephonically confirmed, addressed as follows:



 If to the Oversight Board, to:     Financial Oversight and Management Board for Puerto Rico
                                    250 Muñoz Rivera Ave, Suite 800
                                    San Juan, PR 00918-1813
                                    Attn: Natalie A. Jaresko, Executive Director

                                         – with a copy to –

                                    PROSKAUER ROSE LLP
                                    Eleven Times Square
                                    New York, NY 10036
                                    Attn: Martin J. Bienenstock, Esq.
                                           Brian S. Rosen, Esq.
                                    Tel: (212) 969-3000
                                    Fax: (212) 969-2900

                                         – with a copy to –

                                                 77
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                     Desc: Main
                          Document Page 89 of 92




 If to COFINA, to:                  Puerto Rico Sales Tax Financing Corporation
                                    c/o Fiscal Agency and Financial Advisory Authority
                                    Roberto Sánchez Vilella (Minillas) Government Center
                                    De Diego Ave. Stop 22
                                    San Juan, Puerto Rico 00907
                                    Attn: Christian Sobrino Vega, Executive Director

                                         – with a copy to –

                                   O’MELVENY & MYERS LLP
                                   Seven Times Square
                                   New York, NY 10036
                                   Attn: John Rapisardi, Esq.
                                          Suzzanne Uhland, Esq.
                                   Tel: (212) 326-2000
                                   Fax: (212) 326-2061

 If to AAFAF, to:                   Fiscal Agency and Financial Advisory Authority
                                    Roberto Sánchez Vilella (Minillas) Government Center
                                    De Diego Ave. Stop 22
                                    San Juan, Puerto Rico 00907
                                    Attn: Christian Sobrino Vega, Executive Director

                                         – with a copy to –

                                   O’MELVENY & MYERS LLP
                                   Seven Times Square
                                   New York, NY 10036
                                   Attn: John Rapisardi, Esq.
                                          Suzzanne Uhland, Esq.
                                   Tel: (212) 326-2000
                                   Fax: (212) 326-2061

        30.27 Term of Injunctions or Stays: Unless otherwise provided herein or in the
 Confirmation Order, all injunctions or stays in effect in the Title III Case (pursuant to sections
 105, 362, or 922 of the Bankruptcy Code or any order of the Title III Court) and existing on the
 Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation
 Order) shall remain in full force and effect until the Effective Date. All injunctions or stays
 contained in the Plan or the Confirmation Order shall remain in full force and effect in
 accordance with their terms.

        30.28 Entire Agreement: Except as otherwise indicated, the Plan supersedes all
 previous and contemporaneous negotiations, promises, covenants, agreements, understandings,
 and representations on such subjects, all of which have become merged and integrated into the
 Plan.


                                                 78
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                       Desc: Main
                          Document Page 90 of 92



         30.29 Plan Supplement: All documents included in the Plan Supplement are
 incorporated into and are a part of the Plan as if set forth in full in the Plan. Upon the filing of
 the Plan Supplement with the Clerk of the Title III Court, copies of the documents contained
 therein shall be made available upon written request to the Oversight Board’s counsel at the
 address above or by downloading such documents from [https://cases.primeclerk.com/
 puertorico/] or the Title III Court’s website, available via PACER. Unless otherwise ordered by
 the Title III Court, to the extent any document in the Plan Supplement is inconsistent with the
 terms of any part of the Plan that does not constitute the Plan Supplement, such part of the Plan
 that does not constitute the Plan Supplement shall control; provided, however, that, with respect
 to matters governed by the New Bond Indenture, to the extent that any provisions of the Plan are
 inconsistent with the New Bond Indenture, the New Bond Indenture shall control.



 Dated: San Juan, Puerto Rico
        January 9, 2019


                                               PUERTO RICO SALES TAX FINANCING
                                               CORPORATION, by and through the Financial
                                               Oversight and Management Board for Puerto Rico
                                               as its representative

                                               By:       /s/ Natalie A. Jaresko
                                               Name:     Natalie A. Jaresko
                                               Title:    Executive Director




                                                  79
 104749481v5
Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40   Desc: Main
                          Document Page 91 of 92



                                    EXHIBIT A

                      Schedule of Amortization of COFINA Bonds




                                        A-1
 104749481v5
          Case:17-03283-LTS Doc#:4652 Filed:01/09/19 Entered:01/09/19 15:57:40                                                                                                                  Desc: Main
                                    Document Page 92 of 92



                                                                           Exhibit A: Coupons and Maturity Dates
                           Current Interest Bond Terms                                                                                        Capital Appreciation Bond Terms
(7/1) Year                                        Par                          Cpn/Yld    (7/1) Year                Yield         Initial Price             Initial Value      Accreted Value                       Future Value
Total/Avg                         $9,119,420,000.00                             4.792%    Total/Avg               5.048%               27.010        $2,901,901,817.35      $9,638,250,976.35                 $10,743,910,000.00
 2034                                 375,090,000.00                            4.500%      2024                  4.250%               77.971           166,818,954.50         201,537,898.10                     213,950,000.00
2040**                              2,996,115,000.00                            4.550%      2027                  4.375%               67.983           246,346,597.95         348,676,228.60                     362,365,000.00
 2053                               1,451,135,000.00                            4.750%      2029                  4.375%               62.346           220,190,485.50         346,050,471.60                     353,175,000.00
 2058                               4,297,080,000.00                            5.000%      2031                  4.500%               56.281           256,162,971.50         445,599,082.70                     455,150,000.00
Call P ro visio ns: 2034 Term - P ar call co mmencing 2025 (7-year call)                    2033                  4.500%               51.488           263,752,428.80         500,306,662.00                     512,260,000.00
Call P ro visio ns: 2040, 2053 & 2058 Terms - P ar call co mmencing 2028 (10-year call)     2046                  5.375%               22.747         1,108,991,315.10       4,252,407,026.55                   4,875,330,000.00
                                                                                            2051                  5.625%               16.105           639,639,064.00       3,543,673,606.80                   3,971,680,000.00
                                                                                          Call P ro visio ns: 2024 & 2027 Term - no n-call; 2029 Term - Callable 103% A ccreted Value ("A V" ) 2028; 100% A V 2029
                                                                                          2031Term - Callable at 105% A V 2028; 103% A V 2029-2030; 100% A V 2031
                                                                                          2033 Term - Callable at 107.5% A V 2028-2030; 105% A V 2031; 103% A V 2032, 100% A V 2033
                                                                                          Call P ro visio ns: 2046 & 2051Terms - Callable at 107.5% A V 2028-32, 105% A V 2033-37, 103% A V 2038-42, 100% A V 2043-Final M aturity
                                                                                          A ll Capital A ppreciatio n B o nds: Sinking Fund Redemptio ns wo uld be 100% o f A V

                  Current Interest Bond Sinking Fund Schedule                                                                     Capital Appreciation Bond Sinking Fund Schedule
 (7/1)                                                                         Term          (7/1)                                     Initial                 Initial          Accreted                            Future Value
 Year      Yr#           CPN                       Par                           Par         Year      Yr#           Yld.              Price                  Value                 Value                            Redemption
 Total                               $9,119,420,000.00             $9,119,420,000.00                                                             $2,901,901,817.35      $9,638,250,976.35                     $10,743,910,000.00
 2019         1             -                      -                             -           2019         1       4.250%            77.971           $18,865,083.45        $19,606,660.20                          24,195,000.00
 2020         2             -                      -                             -           2020         2                                                      -                    -                                      -
 2021         3             -                      -                             -           2021         3       4.250%            77.971            15,461,649.30         17,479,550.10                          19,830,000.00
 2022         4             -                      -                             -           2022         4       4.250%            77.971            30,244,950.90         35,660,810.70                          38,790,000.00
 2023         5             -                      -                             -           2023         5       4.250%            77.971            44,373,296.10         54,565,877.10                          56,910,000.00
 2024         6             -                      -                             -           2024         6       4.250%            77.971            57,873,974.75         74,225,000.00                          74,225,000.00
 2025         7             -                      -                             -           2025         7       4.375%            67.983            70,182,250.05         94,674,753.80                         103,235,000.00
 2026         8             -                      -                             -           2026         8       4.375%            67.983            82,307,018.10        115,941,474.80                         121,070,000.00
 2027         9             -                      -                             -           2027         9       4.375%            67.983            93,857,329.80        138,060,000.00                         138,060,000.00
 2028        10             -                      -                             -           2028        10       4.375%            62.346           104,859,737.40        161,065,471.60                         168,190,000.00
 2029        11             -                      -                             -           2029        11       4.375%            62.346           115,330,748.10        184,985,000.00                         184,985,000.00
 2030        12             -                      -                             -           2030        12       4.500%            56.281           123,486,142.10        209,859,082.70                         219,410,000.00
 2031        13             -                      -                             -           2031        13       4.500%            56.281           132,676,829.40        235,740,000.00                         235,740,000.00
 2032        14             -                      -                             -           2032        14       4.500%            51.488           141,386,048.00        262,646,662.00                         274,600,000.00
 2033        15       4.500%             52,970,000.00                           -           2033        15       4.500%            51.488           122,366,380.80        237,660,000.00                         237,660,000.00
 2034        16       4.500%            322,120,000.00                375,090,000.00         2034        16                                                      -                    -                                      -
 2035        17       4.550%            366,885,000.00                           -           2035        17                                                      -                    -                                      -
 2036        18       4.550%            415,060,000.00                           -           2036        18                                                      -                    -                                      -
 2037        19       4.550%            466,685,000.00                           -           2037        19                                                      -                    -                                      -
 2038        20       4.550%            521,965,000.00                           -           2038        20                                                      -                    -                                      -
 2039        21       4.550%            581,125,000.00                           -           2039        21                                                      -                    -                                      -
 2040        22       4.550%            644,395,000.00              2,996,115,000.00         2040        22                                                      -                    -                                      -
 2041        23             -                      -                             -           2041        23       5.375%            22.747           210,176,593.25        708,735,023.75                         923,975,000.00
 2042        24             -                      -                             -           2042        24       5.375%            22.747           199,320,587.50        708,737,287.50                         876,250,000.00
 2043        25             -                      -                             -           2043        25       5.375%            22.747           189,023,020.60        708,734,532.20                         830,980,000.00
 2044        26             -                      -                             -           2044        26       5.375%            22.747           179,257,733.50        708,732,767.50                         788,050,000.00
 2045        27             -                      -                             -           2045        27       5.375%            22.747           169,997,429.80        708,732,415.60                         747,340,000.00
 2046        28             -                      -                             -           2046        28       5.375%            22.747           161,215,950.45        708,735,000.00                         708,735,000.00
 2047        29             -                      -                             -           2047        29       5.625%            16.105           142,499,455.75        708,736,815.00                         884,815,000.00
 2048        30             -                      -                             -           2048        30       5.625%            16.105           134,809,318.25        708,734,564.85                         837,065,000.00
 2049        31             -                      -                             -           2049        31       5.625%            16.105           127,535,495.00        708,734,662.00                         791,900,000.00
 2050        32             -                      -                             -           2050        32       5.625%            16.105           120,653,023.25        708,732,564.95                         749,165,000.00
 2051        33             -                      -                             -           2051        33       5.625%            16.105           114,141,771.75        708,735,000.00                         708,735,000.00
 2052        34       4.750%            708,735,000.00                           -           2052        34                                                      -                    -                                      -
 2053        35       4.750%            742,400,000.00              1,451,135,000.00         2053        35                                                      -                    -                                      -
 2054        36       5.000%            777,665,000.00                           -           2054        36                                                      -                    -                                      -
 2055        37       5.000%            816,545,000.00                           -           2055        37                                                      -                    -                                      -
 2056        38       5.000%            857,375,000.00                           -           2056        38                                                      -                    -                                      -
 2057        39       5.000%            900,240,000.00                           -           2057        39                                                      -                    -                                      -
 2058        40       5.000%            945,255,000.00              4,297,080,000.00         2058        40                                                      -                    -                                      -

              *Due to rounding of bonds into $5,000 denominations per term, debt service on Bonds will be slightly below the 53.65% PSTBA.
              **Current Interest Bonds may include both Tax-Exempt and Taxable Bonds.




                                                                                                              2
              104749481v5
